UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

Civil Action No.: 1:19-cv-00593-LCB-JLW

ZION WILLIAMSON,
Plaintiff, DEFENDANTS’ ANSWER TO
PLAINTIFF’S FIRST AMENDED
v. COMPLAINT WITH AFFIRMATIVE
DEFENSES AND COUNTERCLAIMS
PRIME SPORTS MARKETING, LLC, AGAINST PLAINTIFF
and GINA FORD,
Defendants.

 

 

Defendants PRIME SPORTS MARKETING, LLC and GINA FORD, by and through
their undersigned counsel, hereby respond to and Answer the First Amended Complaint of
Plaintiff, ZION WILLIAMSON, (hereinafter “Plaintiff’) as follows:

1. Admit only that Ms. Ford is a domiciliary/residence of the State of Florida and
further admitted that Prime Sports Marketing, LLC’s has its principal place of business is in the
State of Florida. It is expressly denied that Ms. Gina Ford and/or Prime Sports Marketing, LLC
came to North Carolina beginning in approximately early January 2019, seeking to cash in on a
supremely talented collegiate “student athlete’ ZION WILLIAMSON. It is further expressly
denied that Ms. Ford and/or Prime Sports Marketing, LLC initiated any contacts with Plaintiff
and/or with Plaintiff's family. It is further expressly denied that Plaintiff ZION WILLIAMSON
was a student athlete in approximately early January 2019. It is admitted that on April 20, 2019,

Plaintiff voluntarily, knowingly and intelligently entered into-a Marketing Agent Agreement with
Defendants. It is expressly denied that Ms. Ford and/or Prime Sports Marketing, LLC initiated

multiple contacts with Plaintiff and his family and it is further expressly denied that Ms. Ford

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and/or Prime Sports Marketing, LLC entered the State of North Carolina for the sole purpose of
signing Plaintiff to a marketing agent agreement, (hereinafter “the Contractual Agreement’).

Plaintiff's allegation that the Contract Agreement contained draconian terms, such as that
it purports not to be terminable for any reason for five years, and thereafter is terminable by
Plaintiff only for cause, states legal conclusions to which no response is necessary. To the extent
a response is deemed necessary, it is expressly denied by Ms. Ford and Prime Sports Marketing,
LLC that the Contractual Agreement between Gina Ford, Prime Sports Marketing, LLC and
Plaintiff contains draconian terms, but, it is admitted that one of the terms of same Contractual
Agreement between Ms, Ford, Prime Sports Marketing, LLC and Plaintiff is that same Contract
is not terminable for any reason for five years and is thereafter only terminable for cause.

The allegations that Ms. Ford and Prime Sports Marketing, LLC flagrantly disregard
clear obligations under North Carolina Law, that the Contractual Agreement contains draconian
terms and that Plaintiff had remaining eligibility as a collegiate athlete are argumentative and
statements of Plaintiff's alleged and purported legal conclusions to which no response is
necessary. To the extent a response is deemed necessary, it is expressly denied that Ms. Ford
and Prime Sports Marketing, LLC flagrantly or otherwise disregarded any obligations under
North Carolina law. It is further expressly denied that Contractual Agreement between the Ms.
Ford, Prime Sports Marketing, LLC and the Plaintiff, which was signed by Plaintiff, an adult, in
Plaintiffs home in North Carolina and in the presence of the Plaintiff's mother and father,
contains draconian terms. It is further expressly denied that Plaintiff had remaining eligibility as

a college athlete before and at the time the Plaintiff entered into the Contractual Agreement with

 

Ms. Ford and Prime Sports Marketing, LLC, and, it is expressly denied that Ms. Ford and Prime

Sports Marketing, LLC did not inform Plaintiff that by signing the April 20, 2019 Contract,

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Plaintiff would immediately forfeit his alleged and purported remaining eligibility as a collegiate
athlete. Except as expressly admitted, all allegations contained in this paragraph are denied.

2. Admit that Ms. Ford and Prime Sports Marketing, LLC were/are a successful and
experienced Marketing Agent/Marketing Agency with the requisite expertise to maximize Mr.
Williamson’s brand and further admit that Ms. Ford and Prime Sports Marketing, LLC was/is/are
a Marketing Agent/Agency for/of Olympic Athlete Usain Bolt, and, admit that Ms. Ford and
Prime Sports Marketing, LLC have served and are serving as Marketing Agent/Agency for other
highly successful athletes. Except as expressly admitted, all allegations contained in this
paragraph are denied.

3. The allegations of paragraph no. 3 state arguments and Plaintiff's alleged and
purported legal conclusions to which no response is necessary. To the extent a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC are without knowledge or
information sufficient to form a belief as to the foresight of North Carolina General Assembly
and particularly in 2003. To the extent that a response is deemed necessary, Ms. Ford and Prime
Sports Marketing, LLC admit that the North Carolina General Assembly enacted the North
Carolina Uniform Athlete Agent Act, N.C. Gen. Stat. 78C-85 et seq. (the “UAAA”) and that the
statue cited by Plaintiff speaks for itself. Ms. Gina Ford and Prime Sports Marketing, LLC
admit that North Carolina’s “UAAA” statute establishes a process by which student athletes are
protected, not non-student athletes like Plaintiff herein. It is expressly denied that Ms. Ford and
Prime Sports Marketing, LLC exploited or sought to exploit the Plaintiff and it is further

expressly denied that the North Carolina General Assembly enacted any Statute/Law that

 

prohibited any acts performed by Ms. Gina Ford and/or Prime Sports Marketing, LLC in entering

into the Contractual Agreement with Plaintiff, an adult, who was not a student athlete covered by

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the UAAA and who knowingly, intelligently and voluntarily entered into a valid and enforceable
Contractual Agreement with Ms. Gina ford and Prime Sports Marketing, LLC.

It is further expressly denied that the General Assembly enacted legislation to protect the
Plaintiff, an adult and who was not a student athlete and it is further expressly denied that Ms.
Ford and Prime Sports Marketing, LLC engaged in any unscrupulous behavior that gives rise to
the within action relative to the Plaintiff, an adult, who knowingly, intelligently and voluntarily
entered into the Contractual Agreement. It is specifically denied that the UAAA forbids an
individual from acting as an athlete agent without holding a certificate of registration from the
Athlete Agent Registration Office of the North Carolina Secretary of State and further deny that
any purported agency contract resulting from actions taken without registration is void, but, it is
admitted that the UAAA forbids an individual from acting as a “[s]tudent [a]thlete” agent. It is
further admitted that the UAAA is applicable only to the State of North Carolina.

It is further admitted that Ms. Ford is not registered as an agent in North Carolina and that
Ms. Ford and Prime Sports Marketing, LLC are without knowledge or information sufficient to
form a belief as to Plaintiff's allegation that no one associated with Prime Sports Marketing,
LLC is registered as an agent in North Carolina. Plaintiff's allegation in paragraph 3 that, as a
matter of law, the Contractual Agreement between Ms. Ford, Prime Sport Marketing, LLC and
Plaintiff is null, void and has no legal effect states arguments and Plaintiffs alleged and
purported legal conclusions to which no response is necessary. To the extent a response is
deemed necessary, it is expressly denied herein. Except as expressly admitted, all allegations

contained in paragraph 3 are denied.

 

4. The allegations of paragraph no. 4 state states arguments and Plaintiff's alleged

and purported legal conclusions to which no response is necessary. To the extent a response is

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deemed necessary, Ms. Ford and Prime Sports Marketing, LLC deny the allegations set forth in
paragraph no. 4, except admit that the UAAA applies and governs the State of North Carolina,
the UAAA only applies and governs contracts with “[s]tudent [a]thletes” and not an “athlete”,
and, that the April 20, 2019 Contractual Agreement between Ms. Ford, Prime Sports Marketing,
LLC and the Plaintiff is not a contact with a “[s]tudent [a]thlete” requiring adherence to the
notice provision because Plaintiff was not a “student athlete”. Except as expressly admitted, all
allegations contained in paragraph 4 are denied.

5. The allegations of paragraph no. 5 state legal conclusions to which no response is
necessary. To the extent a response is deemed necessary, Ms. Ford and Prime Sports Marketing,
LLC deny the allegations set forth in paragraph no. 5, except admit that the “UAAA” Statute
cited by the Plaintiff speaks for itself and further admits that same Statute outlines “code of
conduct” for agents in the State of North Carolina in communicating with “[s]tudent [a]thletes”’.
Except as expressly admitted, all allegations contained in paragraph 5 are denied.

6. The allegations of paragraph no. 6 state legal conclusions to which no response is
necessary. To the extent a response is deemed necessary, Ms. Ford and Prime Sports Marketing,
LLC deny the allegations set forth in paragraph no. 5, except admit after Gina Ford and Prime
Sports Marketing, LLC performed and demonstrated potential performance under the April 20,
2019, Contractual Agreement, after Plaintiff accepted money from Ms. Ford and Prime Sports
Marketing, LLC and after Plaintiff had fraudulently induced Ms. Ford and Prime Sports
Marketing to provide Plaintiff with Ms. Ford’s and Prime Sports Marketing, LLC’s Marketing

Plan, Plaintiff and/or someone acting on Plaintiff's behalf did send communication to Ms. Ford

 

and Prime Sports Marketing, LLC in the State of Florida not only seeking to avoid his lawful

obligations to Ms. Ford and Prime Sports Marketing, LLC under the April 20, 2019 Contractual

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Agreement, but expressly stated that he would keep the monies that he demanded as an
advancement from Ms. Ford and Prime Sports Marketing, LLC which was sent to him from
Florida to Plaintiff as an advancement and further threatened to take legal action against Ms.
Ford and Prime Sports Marketing, LLC, not only to avoid his lawful obligation under the terms
and conditions of the April 20, 2019 Agreement, but also of his intent of keeping monies that he
demanded of Ms. Ford and Primes Sports Marketing, LLC as an advancement on the April 19,
2020 Contract. Ms. Ford and Prime Sports Marketing, LLC further admit that upon receipt of
the Plaintiffs threatening communication, Ms. Ford and Prime Sports Marketing, LLC
responded to the Plaintiff and that response included advising the Plaintiff that, based upon Ms.
Ford’s and Prime Sports Marketing, LLC’s performance under the Contract Agreement and the
anticipated performance from Ms. Ford and Prime Sports Marketing, LLC, Plaintiff's unlawful
breach of the April 20, 2019 Contract will cause Ms. Ford and Prime Sports Marketing, LLC to
sustain loss of earnings which will exceed One Hundred Million Dollars, ($100,000,000.00).
Except as expressly admitted, all allegations contained in paragraph 6 are denied.

re Ms. Ford and Prime Sports Marketing, LLC deny the allegations set forth in
paragraph no. 7, specifically it is expressly denied that Ms. Ford and Prime Sports Marketing,
LLC threatened the Plaintiff and it further expressly denied that any perceived threat form any
basis and/or necessitated Plaintiff bringing the within action as the Plaintiff in written
correspondence which preceded any communication from Ms. Ford and Prime Sports Marketing,
LLC first threatened to bring suit against Ms. Ford and Prime Sports Marketing, LLC. It is

further expressly denied that the Plaintiff was induced and/or fraudulent induced to sign the April

 

20, 2019 Contractual Agreement and that same contract , which was signed in the comfort of the

Plaintiff's home by the Plaintiff, in the presence of both of his parents, who, as Plaintiff, are well

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informed relative to the NCAA regarding “student athletes”, its rules and regulations, the
UAAA, its rules and regulations regarding “student athletes” and who had years of experience
and knowledge in making informed strategic decisions relative to Plaintiff and their collective
goal and objective from the very early years of Plaintiffs life to one day play professional
basketball in the NBA, was signed and/or negotiated in total regards and/or in lack of regard to
Plaintiff's legal rights. Ms. Ford and Prime Sports Marketing, LLC admit that the Plaintiff
knowing, voluntarily and intelligently signed the April 20, 2019 contract with full knowledge of
all his rights, including full knowledge of his own prior conduct that voided his eligibility to be a
“student athlete”. Except as expressly admitted, all allegations contained in paragraph 7 are
denied.
THE PARTIES

8. Ms. Gina Ford and Prime Sports Marketing, LLC are without knowledge or
information sufficient to form a belief as to the truth of the allegations contained within
paragraph no. 8 of Plaintiffs complaint, and these allegations are therefore deemed denied.

9. Admit that Prime Sports Marketing, LLC is a Florida limited liability company
with its principal place of business in Miami, Florida. Denied that Prime Sports Marketing, LLC
members only include Ms. Gina Ford.

10. Admit.

JURISDICTION AND VENUE

LL. Admit.

12. The allegations of paragraph no. 12 state arguments and Plaintiff's alleged and

 

purported legal conclusions to which no response is necessary. To the extent a response is

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deemed necessary, Ms. Ford and Prime Sports Marketing, LLC deny the allegations set forth in
paragraph no 12.
AS TO PLAINTIFF’S CLAIMED FACTUAL ALLEGATIONS

I. As to the claimed background on Plaintiff:

13. Ms. Ford and Prime Sports Marketing, LLC admit that over the past year, Plaintiff
was a standout basketball athlete, that the Plaintiff has become a household name and further
admit that the Plaintiff was selected as the number one draft pick in the 2019 NBA draft. Ms.
Ford and Prime Sports Marketing, LLC specifically deny the allegations set forth in paragraph
no. 13 that Plaintiff was a “student athlete”. Ms. Ford and Prime Sports Marketing, LLC are
without knowledge or information sufficient to form a belief as to the allegation that Plaintiff is
known [b]est for his electrifying slam dunks and abounding energy, and admit that the Plaintiff is
known nationally and internationally for his ability to play basketball, as well as other
marketable qualities. Except as expressly admitted, all allegations contained in paragraph 13 are
denied.

14. Ms. Gina Ford and Prime Sports Marketing, LLC are without knowledge or
information sufficient to form a belief as to the truth of the allegations contained within
paragraph no. 8 of Plaintiffs complaint, and these allegations are therefore deemed denied.

15. The allegations of paragraph no.15, that specifically allege that at the time the
Plaintiff enrolled at Duke University in 2018 he was a “student athlete” states arguments and
Plaintiff's alleged and purported legal conclusions to which no response is necessary. To the

extent a response is deemed necessary, Ms. Ford and Prime Sports Marketing, LLC deny the

 

allegations set forth in paragraph no. 15 that allege that at the time the Plaintiff enrolled at Duke

University in 2018 he was a “student athlete” as defined by the NCAA and/or the UAAA, and

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more specifically, it is expressly denied that at the time Plaintiff enrolled at Duke University in
2018 he was a student athlete as the term student athlete is defined by the NCAA and/or the
UAAA. Ms. Ford and Prime Sports Marketing, LLC admits the other remaining aspects of
paragraph 15 as to the Plaintiffs basketball accomplishments while playing for Duke University.

I. As to Ms. Ford and Prime Sports Marketing, LLC:

16. Admit that Prime Sports Marketing, is a Florida Limited Liability Company and
further admit that Prime Sports Marketing, LLC filed on March 21, 2018 an Electronic Article of
Organization for Florida Limited Liability Company with the Secretary of State of the State of
Florida which were deemed effective by the Florida Secretary of State on April 1, 2018. Ms.
Ford and Prime Sports Marketing further admits that Ms. Gina Ford is the President, Manager
and Registered Agent for service of process for Prime Sports Marketing, LLC and is not a
registered athlete in the State of North Carolina, an agent certified by the National Basketball
Players Association or a registered athlete agent in her home state of Florida. Except as
expressly admitted, all allegations contained in paragraph 16 are denied.

Ill. Ms. Ford and Prime Sports Marketing did not initiate contact with Plaintiff:

17. Denied.

18. Ms. Ford and Prime Sports Marketing, LLC deny all of the allegations set forth in
paragraph no. 18 except admit that text messages by and between Defendants and Plaintiff's
mother and/or stepfather exist, except admit that Defendants have been in Durham, North
Carolina in 2019, except admit that Ms. Ford was in attendance at a Duke Basketball game in the

year 2019. Except as expressly admitted, all allegations contained in paragraph 18 are denied.

 

19. Ms. Gina Ford and Prime Sports Marketing, LLC are without knowledge or

information sufficient to form a belief as to the truth of the allegations contained within

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paragraph no. 19 as to the date that Plaintiff posted a video on Instagram, but admits that
Plaintiff did at some point prior to signing the Contractual Agreement with Ms. Ford and Prime
Sports Marketing, LLC posted a video on Instagram expressing his gratitude to, thanking his
teammates and coach and further announcing that he would not be returning to Duke
University—"as he was one and done”--as he intended to pursue his childhood dream of playing
in the NBA and as such, he would be declaring his eligibility for the 2019 draft. The allegations
of paragraph no.19 that alleges that Plaintiffs public statement and posting on Instagram does
not cause a “student athlete” to forgo his ability to return to college and continue playing
collegiate basketball state legal conclusions to which no response is necessary. To the extent a
response is deemed necessary, Ms. Ford and Prime Sports Marketing, LLC deny the allegations
set forth in paragraph no. 19 that alleges and/or seeks to implicitly allege that at the time Plaintiff
posted the video on Instagram, Plaintiff was a “student athlete” as defined by the NCAA and/or
the UAAA. Except as expressly admitted, all allegations contained in paragraph 19 are denied.

20. Deny.

21. Admit that on April 21, 2019, the Plaintiff, an adult, in the comfort of his home,
in the presence of his mother and stepfather affixed his signature to and knowingly, intelligently
and voluntarily entered into the Contractual Agreement with Ms. Ford and Prime Sports
Marketing, LLC. The allegations of paragraph no.21 that alleges that Plaintiff was a “student
athlete” on April 2019, state legal conclusions to which no response is necessary. To the extent
a response is deemed necessary, Ms. Ford and Prime Sports Marketing, LLC deny the allegations

set forth in paragraph no. 21 that alleges at the time Plaintiff signed the Contractual Agreement,

 

the Plaintiff was a “‘student athlete’’.

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IV. North Carolina’s Uniform Athlete Agents Act:

22. The allegations of paragraph no. 22 state arguments and Plaintiff's alleged and
purported legal conclusions to which no response is necessary. To the extent a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC are without knowledge or
information sufficient to form a belief which state if any state, exacted legislature phased and
predicated upon the basis as alleged and stated by the Plaintiff. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC admit that States including the
North Carolina General Assembly, have enacted laws, statutess and/or regulation and that those
laws, statutes and regulations independently, respectively and collectively speak for themselves.
Ms. Gina Ford and Prime Sports Marketing, LLC admit that in 2003, the North Carolina General
Assembly enacted the UAAA and that the UAAA establishes a process that only provides
protection to and for “[s]tudent [a]thletes”so that these “student athletes” can make knowing,
voluntary and intelligent decisions and to inform them of the injurious consequences of engaging
in certain conduct relative to their “[s]tudent [a]thlete” status and eligibility. It is further
admitted that the UAAA prohibits acts of agent’s recruitment and solicitation of “student
athletes” and states agent registration requirements and, to some extent, language that should be
included in a contract only with a “student athlete”. Ms. Ford and Prime Sports Marketing, LLC
further admit that the rights, privileges and benefits of the UAAA is only applicable to a “student
athlete” and not to an “athlete” like Plaintiff herein who was not a “student athlete” at all
relevant times herein. Except as expressly admitted, all allegations contained in paragraph 22 are

denied.

 

23. The allegations of paragraph no. 23 state arguments and Plaintiff's alleged and

purported legal conclusions legal conclusions to which no response is necessary. To the extent

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that a response is deemed necessary, Ms. Ford and Prime Sports Marketing, LLC admit that the
UAAA in all aspects, sections and subsections speaks for itself. Ms. Ford and Primes Sports
Marketing, LLC admit that Section 78C-88 of the UAAA outlines the way one becomes and
engages in the act of becoming an “student athlete’s” agent in the State of North Carolina. It is
further admitted that Section 78C-86 of the UAAA defines an “Athlete Agent” but it is denied as
to any effort by Plaintiff in his allegations to imply or otherwise that the UAAA and/or any
section cited by Plaintiff herein is applicable to the within matter as Plaintiff was not a “student
athlete” at all times relevant herein. Except as expressly admitted, all allegations contained in
paragraph 23 are denied.

24. ‘The allegations of paragraph no. 24 state arguments and Plaintiffs alleged and
purported legal conclusions to which no response is necessary. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports, Marketing, LLC admit that the UAAA in all
aspect, sections and subsections speaks for itself. Ms. Ford and Primes Sports Marketing, LLC
admits that the UAAA defines Agency Contract and Endorsement Contracts but deny any effort
to allege implicitly or otherwise that the UAAA and/or any section cited by Plaintiff herein is
applicable to the within matter, as Plaintiff was not a “student athlete” at all times relevant
herein. The allegations of paragraph no. 24 that state that the Contractual Agreement that
Defendants enticed Mr. Williams to sign state arguments and Plaintiffs alleged and purported
legal conclusions legal conclusions to which no response is necessary. To the extent that a
response is deemed necessary, it is further specifically denied that the Plaintiff, an adult, in the

comfort of his home and in the presence of both his parents was induced by Ms. Ford and/or by

 

Prime Sports Marketing, LLC to affix his signature to the April 20, 2019 Contractual Agreement

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between Ms. Ford, Prime Sports Marketing, LLC and the Plaintiff. Except as expressly
admitted, all allegations contained in paragraph 24 are denied.

25. Deny.

26. Deny.

27. The allegations of paragraph no. 27 state arguments and Plaintiffs alleged and
purported legal conclusions to which no response is necessary. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC admit that the UAAA in all
aspect, sections and subsections speaks for itself. Ms. Ford and Prime Sports Marketing, LLC
admit that Plaintiff accurately quotes Section 78C-88 of the UAAA in paragraph 27 of Plaintiff's
complaint. Ms. Ford and Sports Marketing, LLC specifically deny the allegations that the
Contractual Agreement between Ms. Ford, Prime Sports Marketing, LLC and the Plaintiff is void
for any reason including that Ms. Ford and Prime Sports Marketing, LLC were not permitted
under the law to enter into an agency agreement with the Plaintiff. Ms. Ford and Prime Sports
Marketing, LLC further specifically deny any effort to allege implicitly or otherwise that the
UAAA and/or any section cited by Plaintiff herein is applicable to the within matter, as Plaintiff
was not a “student athlete” at all times relevant herein. Except as expressly admitted, all
allegations contained in paragraph 27 are denied.

28. The allegations of paragraph no. 28 state arguments and Plaintiff's alleged and
purported legal conclusions to which no response is necessary. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC admit that the UAAA in all

aspect, sections and subsections speaks for itself. Ms. Ford and Prime Sports Marketing, LLC

 

specifically deny engaging in any unlawful conduct and further deny that Ms. Ford and Prime

Sports Marketing, LLC cannot rely upon any exception to the UAAA rule herein and that none

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of the exceptions of the UAAA rules are applicable to Ms. Ford and Prime Sports Marketing,
LLC herein. Ms. Ford and Prime Sports Marketing, LLC admit that the Plaintiff accurately
quotes the first and second prongs of Section 78C-88 of the UAAA in quotations in paragraph 28
of Plaintiff's complaint. Ms. Ford and Prime Sports Marketing, LLC further specifically deny
any effort to allege implicitly or otherwise that the UAAA and/or any section cited by Plaintiff
herein is applicable to the within matter, as Plaintiff was not a “student athlete” at all times
relevant herein. Except as expressly admitted, all allegations contained in paragraph 28 are
denied.

29. Admit.

30. Deny. Ms. Ford and Prime Sports Marketing, LLC further specifically deny any
effort to allege implicitly or otherwise that the UAAA and/or any section cited by Plaintiff herein
is applicable to the within matter, as Plaintiff was not a “student athlete” at all times relevant
herein. Except as expressly admitted, all allegations contained in paragraph 30 are denied.

31. The allegations of paragraph no. 31 state arguments and Plaintiffs alleged and
purported legal conclusions to which no response is necessary. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC admit that the UAAA in all
aspect, sections and subsections speaks for itself. Ms. Ford and Prime Sports Marketing, LLC
admit that the Plaintiff accurately recites/quotes Section 78C-94 of the UAAA. Ms. Ford and
Prime Sports Marketing, LLC further specifically deny any effort to allege implicitly or
otherwise that the UAAA and/or any section cited by Plaintiff herein is applicable to the within

matter, as Plaintiff was not a “student athlete” at all times relevant herein. Except as expressly

 

admitted, all allegations contained in paragraph 3 lare denied.

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32. The allegations of paragraph no. 32 state arguments and Plaintiff's alleged and
purported legal conclusions to which no response is necessary. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC admit that the UAAA in all
aspect, sections and subsections speaks for itself. Ms. Ford and Prime Sports Marketing, LLC
admit that the Plaintiff accurately recites/quotes Section 78C-94 of the UAAA. Ms. Ford and
Prime Sports Marketing, LLC further specifically deny any effort to allege implicitly or
otherwise that the UAAA and/or any section cited by Plaintiff herein is applicable to the within
matter, as Plaintiff was not a “student athlete” at all times relevant herein. Except as expressly
admitted, all allegations contained in paragraph 32 are denied.

33. Deny.

34. The allegations of paragraph no. 34 state arguments and Plaintiff's alleged and
purported legal conclusions to which no response is necessary. To the extent a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC deny the allegations set forth in
paragraph no. 5, except admit that after Gina Ford and Prime Sports Marketing, LLC performed
and demonstrated potential performance under the April 20, 2019 Contractual Agreement, after
Plaintiff accepted money from Ms. Ford and Prime Sports Marketing, LLC and after Plaintiff
had fraudulently induced Ms. Ford and Prime Sports Marketing, LLC to provide Plaintiff with
Ms. Ford’s and Prime Sports Marketing, LLC’s Marketing Plan, Plaintiff and/or someone acting
on Plaintiff's behalf did send communication to Ms. Ford and Prime Sports Marketing, LLC in
the State of Florida not only seeking to avoid his lawful obligations to Ms. Ford and Prime

Sports Marketing, LLC under the April 20, 2019 Contractual Agreement, but expressly stated

 

that he would and intended to keep the monies that he demanded as an advancement from Ms.

Ford and Prime Sports Marketing, LLC which was sent to him from Florida. It is further

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admitted that in same communication Plaintiff threatened to take legal action against Ms. Ford
and Prime Sports Marketing, LLC not only to avoid his lawful obligation under the terms and
conditions of the April 20, 2019 Agreement, but also of his intent of keeping monies that he
demanded of Ms. Ford and Primes Sports Marketing, LLC as an advancement on the April 20,
2019 Contract. Except as expressly admitted, all allegations contained in paragraph 34 are
denied.

35. The allegations of paragraph no. 35 state arguments and Plaintiff's alleged and
purported legal conclusions to which no response is necessary. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC admit that the UAAA in all
aspect, sections and subsections speaks for itself. Ms. Ford and Prime Sports Marketing, LLC
admit that the Plaintiff accurately recites/quotes portions of Section 78C-98 of the UAAA
identified as (1), (2), (3), and (4) in Plaintiff's Amended Complaint. Ms. Ford and Prime Sports
Marketing, LLC denies any effort to allege implicitly or otherwise that the UAAA and/or any
section cited by Plaintiff herein is applicable to the within matter, as Plaintiff was not a “student
athlete” at all times relevant herein. Ms. Ford and Prime Sports Marketing, LLC specifically
deny Plaintiffs allegation that Defendants engaged in all four categories of prohibited conduct
under the UAAA. Except as expressly admitted, all allegations contained in paragraph 35 are
denied.

Vv. Plaintiff's Claims as to the Contractual Agreement:

36. Ms. Ford and Prime Sports Marketing, LLC deny all of the allegations set forth in

paragraph no. 18 except admit that text messages by and between Defendants and Plaintiff's

 

mother and/or stepfather exist, except admit that Ms. Ford and Prime Sports Marketing, LLC did

eventually meet with Plaintiff, Plaintiffs mother and Plaintiff's stepfather to discuss the prospect

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of the Plaintiff, entering into a Marketing Agreement with Ms. Ford and Prime Sports Marketing,
LLC. Except as expressly admitted, all allegations contained in paragraph 32 are denied.

37. The allegations of paragraph no. 37 state states arguments and Plaintiffs alleged
and purported legal conclusions to which no response is necessary. To the extent that a response
is deemed necessary, Ms. Ford and Prime Sports Marketing, LLC specifically deny the
allegations. Except as expressly admitted, all allegations contained in paragraph 37 are denied.

38. Deny.

39. Ms. Ford and Prime Sports Marketing, LLC deny all of the allegations set forth in
paragraph no. 39 except Ms. Ford admits that Ms. Ford was/is a Marketing Agent/Agency of/for
Olympic Athlete Usain Bolt and admit that Ms. Ford and Prime Sports Marketing, LLC have
served and are serving as Marketing Agent/Agency for Mr. Bolt’s electric scooter launched in
London. Ms. Ford and Prime Sports Marketing, LLC admit that Ms. Ford and Prime Sports
Marketing, LLC could and can provide global branding and marketing for the Plaintiff but
expressly deny that Ms. Ford and/or Prime Sports Marketing, LLC promised the Plaintiff and/or
the Plaintiffs family that Ms. Ford and/or Prime Sports Marketing, LLC could provide the
Plaintiff with the same type of global recognition as Usain Bolt. Except as expressly admitted,
all allegations contained in this paragraph are denied.

40. Ms. Ford and Prime Sports Marketing, LLC deny all of the allegations set forth in
paragraph no. 40 except Ms. Ford admits that Ms. Ford may not be the exclusive Marketing
Agent that represents Mr. Bolt, but that Ms. Ford and Prime Sports Marketing, LLC have served

as lead Marketing Agent on some global marketing ventures on behalf of Mr. Bolt. Except as

 

expressly admitted, all allegations contained in this paragraph are denied.

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41. Ms. Ford and Prime Sports Marketing, LLC deny all of the allegations set forth in
paragraph no. 41 except Ms. Ford admits that Ms. Ford and Prime Sports Marketing, LLC have
served as Marketing Agent for other NBA draft picks, including first round and other round draft
picks, Except as expressly admitted, all allegations contained in this paragraph are denied.

42. Ms. Ford and Prime Sports Marketing, LLC deny all of the allegations set forth in
paragraph no. 42 except Ms. Ford admits that on April 20, 2019, the Plaintiff, the Plaintiff's
mother and/or the Plaintiff's stepfather, who are all adults and are very knowledgeable and who
have a demonstrated history of strategically sophisticated decision making as to Plaintiff's
basketball career, knowingly, voluntarily and willingly invited Ms. Ford to their home in North
Carolina and further provided Ms. Ford with the address of their home, knowingly opened the
door and invited Ms. Ford inside their home where Plaintiff knowingly, voluntarily, intelligently
entered into the Contractual Agreement of April 20, 2019 by affixing his signature to same in the
presence of his mother and his step-father after they all individually and collectively reviewed,
discussed, negotiated and deliberated over the terms and conditions of same contract and further
suggested that Plaintiff take pictures of the Plaintiff and Ms. Ford in the Plaintiff's home to
memorialize the execution of the contract and the beginning of their relationship. Ms. Ford and
Prime Sports Marketing, LLC further expressly deny that the April 20, 2019, contract was
unlawful and that Plaintiff at that time was a “student athlete” under the UAAA. Ms. Ford and
Prime Sports Marketing, LLC admits that Paragraph 7(a) of the Contractual Agreement identifies
Ms. Ford as Prime Sports Marketing, LLC designated individual for all purposes” of the

Contractual Agreement between Ms. Ford, Prime Sports Marketing, LLC and the Plaintiff.

 

Except as expressly admitted, all allegations contained in this paragraph are denied.

43. Deny.

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44. The allegations of paragraph no. 44 state arguments and Plaintiff's alleged and
purported legal conclusions to which no response is necessary. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC specifically deny this allegation.
Except as expressly admitted, all allegations contained in this paragraph are denied.

45. The allegations of paragraph no. 45 state arguments and Plaintiffs alleged and
purported legal conclusions to which no response is necessary. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC deny the allegations set forth in
paragraph no. 45 except admit that Ms. Ford never held a UAAA certificate under section 78C-
88 of the UAAA. Ms. Ford and Prime Sports Marketing, LLC further specifically deny that the
agreement is void and/or voidable under Section 78C-88(d) of the UAAA as the Plaintiff at all
relevant times herein was not a “student athlete” and as such, the UAAA does not apply to the
Plaintiff herein. Except as expressly admitted, all allegations contained in this paragraph are
denied.

46. The allegations of paragraph no. 46 state arguments and Plaintiff's alleged and
purported legal conclusions to which no response is necessary. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC deny the allegations set forth in
paragraph no. 46. Ms. Ford and Prime Sports Marketing, LLC further specifically deny that the
agreement is void and/or voidable under Section 78C-94 of the UAAA as the Plaintiff, at all
relevant time herein, was not a “student athlete” and as such, the UAAA does not apply to the
Plaintiff herein.

47. The allegations of paragraph no. 47 state arguments and Plaintiff's alleged and

 

purported legal conclusions to which no response is necessary. To the extent that a response is

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deemed necessary, Ms. Ford and Prime Sports Marketing, LLC deny the allegations set forth in
paragraph no. 47.

VI. =‘ The Plaintiff sought to avoid his lawful duties and obligations under the Contractual
Agreement that he entered into:

48. Deny.
49, Deny.
50. Admit.
51. Admit.

VII. Ms. Ford and Prime Sports Marketing, LLC informed Plaintiff of his rights under
the Contractual Agreement:

52. Admit.

53. Admitted that on June 4, 2019, attorneys for Plaintiff and further admits that the
letter speaks for itself and that the letter sought to inform the Plaintiff that Ms. Ford and Prime
Sports Marketing, LLC are prepared to seek court intervention to enforce the April 20, 2019
Contractual Agreement. Plaintiffs interpretation of the letter that alleges that the letter states
that it was the Plaintiff's declaring his eligibility for the NBA draft that supports a valid contract
between the Ms. Ford, Prime Sports and the Plaintiff is specifically denied. Except as expressly
admitted, all allegations contained in this paragraph are denied.

CLAIMS FOR RELIEF
COUNT I

54. Ms. Ford and Prime Sports Marketing, LLC expressly deny each and every

 

allegation set forth in Paragraphs 1-53 of Plaintiffs First Amended Complaint with exception as

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for those allegations that are specifically admitted by Ms. Ford and/or Prime Sports Marketing,

LLG.
55. Deny.
56. Admit.
Si Deny.
58. Deny.

59. The allegations of paragraph no. 59 state arguments and Plaintiff’s alleged and
purported legal conclusions, legal requests and/or legal relief that the Plaintiff is seeking to
which no response is necessary. To the extent that a response is deemed necessary, Ms. Ford
and Prime Sports Marketing, LLC deny the allegations set forth in paragraph no 59.
Specifically, Ms. Ford and Prime Sports Marketing, LLC expressly deny that Declaratory relief
will resolve the legal issues between the parties pertaining to the enforceability of the
Contractual Agreement and pertaining to allegations of Ms. Ford’s and Prime Sports Marketing,
LLC’s alleged conduct in inducing Plaintiff to sign the Contractual Agreement. Except as
expressly admitted, all allegations contained in this paragraph are denied.

60. The allegations of paragraph no. 60 state arguments and Plaintiffs alleged and
purported legal conclusions, legal requests and/or legal relief that the Plaintiff is seeking to
which no response is necessary. To the extent that a response is deemed necessary, Ms. Ford
and Prime Sports Marketing, LLC deny the allegations set forth in paragraph no. 60 and further
expressly deny that the Plaintiff is entitled lawfully entitled Judicial Declaration that the

Contractual Agreement is void as a matter of law and that Ms. Ford and Prime Sports Marketing,

 

LLC engaged in prohibited conduct by the UAAA. Ms. Ford and Prime Sports Marketing, LLC

further expressly deny that Plaintiff is lawfully entitled to the alternative relief of Judicial

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Declaration that Ms. Ford and Prime Sports Marketing, LLC engaged in conduct prohibited by
the UAAA, that the Agreement fails to meet the required form of contract under the UAAA,
further deny that the Contractual Agreement is voidable, and, further deny that Plaintiff voided
the Contractual Agreement. Except as expressly admitted, all allegations contained in this
paragraph are denied.

COUNT II

Alleged Violation of North Carolina’s Unfair and Deceptive Trade Practices Act
N.C. Gen Stat. Section 75-1.1, sea)

61. Ms. Ford and Prime Sports Marketing, LLC expressly deny each and every
allegation set forth in Paragraphs 1-60 of Plaintiff's First Amended Complaint with exception as
to for those allegations that are specifically admitted by the Ms. Ford and/or Prime Sports
Marketing, LLC.

62. The allegations of paragraph no. 62 state arguments and Plaintiffs alleged and
purported legal conclusions to which no response is necessary. To the extent that a response is
deemed necessary, Ms. Ford and Prime Sports Marketing, LLC admit that the N.C. Gen. Stat.

Section 75-1.1 (the “NC UDTPA”) speaks for itself.

 

63. Deny.
64. Deny.
65. Deny.
66. Deny.
67. Deny
68. Deny.

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69.

COUNTY Il

Alleged Fraudulent Inducement and Rescission

Ms. Ford and Prime Sports Marketing, LLC expressly deny each and every

allegation set forth in Paragraphs 1-68 of Plaintiff's First Amended Complaint with exception as

to for those allegations that are specifically admitted by the Ms. Ford and/or Prime Sports

Marketing, LLC.

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Deny.
Deny.
Deny.
Deny.
Deny.
Deny.
Deny.

Deny.

ALLEGED PRAYER FOR RELIEF.

Ms. Ford and Prime Sports Marketing, LLC deny that the Plaintiff, Zion Williamson is

entitled to any of the relief sought in his prayer for relief, specifically and inclusive of those

listed in the Plaintiffs Prayer for Relief listed and identified as (a)---(g). Each and every

allegation of the Plaintiffs First Amended Complaint not elsewhere responded to is hereby

expressly denied.

 

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AFFIRMATIVE DEFENSES
Pursuant to the Federal Rules of Procedure Civil Procedure (12)(b)(1), 12(b)(2) and Rule
8(c) of the North Carolina Rules of Civil Procedure, Ms. Ford and Prime Sports Marketing, LLC
state the following as affirmative defenses to Plaintiff's claims.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S FIRST
AFFIRMATIVE DEFENSE

At the time Plaintiff registered entered Duke University as a Freshman in 2018, the
Plaintiff was not a “student athlete” as define by the NCAA and/or as defined by UAAA as the
Plaintiff and/or third parties acting on the Plaintiff’s behalf had violated one or more of the
NCAA and/or UAAA rules that voided the Plaintiffs eligibility and rendered him ineligible to
be a “student athlete” and/or further rendered his eligibility voidable under the NCAA and/or the
UAAA tules and regulation.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’D
SECOND AFFIRMATIVE DEFENSE

That prior to ever meeting Ms. Ford and Prime Sports Marketing, LLC and/or having any
discussions with Ms. Ford and/or Prime Sports Marketing, PLLC, and prior to April 20, 2019,
Plaintiff, and/or third parties acting on the Plaintiff's behalf, engaged in conduct that rendered
and renders him ineligible to be or remain a student-athlete including, but not limited to:

(a) He agrees orally or in writing to be represented by any individual other than a NCAA-
certified agent;
(b) He accepts any benefits from an individual other than a NCAA-certified agent; and

(c) He entered the NBA Draft AND did not intend to and did not take the appropriate steps

 

to withdraw and declare any intention of resuming intercollegiate participation and, in

fact, repeatedly and publicly declared and made it abundantly clear that he was not ever

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returning to intercollegiate basketball.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S THIRD
AFFIRMATIVE DEFENSE

THE PAROLE EVIDNECE RULE

Plaintiff's causes of action is/are barred by the Parole Evidence Rule which precludes, as
a matter of law, the Plaintiff from introducing and/or seeking to introduce evidence outside of
the four corners of the contract to undermine and/or contradict the contract, the terms of the
contract where, as in the within matter, the April 20, 2019 Contractual Agreement between the
Ms. Ford, Prime Sports Marketing, LLC and the Plaintiff in Paragraph 13 clearly states right
above the signature line where the Plaintiff executed affixed his signature that:

“13. All prior understandings and negotiations between Firm and Client, both written

and oral, are void. This Agreement represents the final understanding and entire

agreement between the parties. No other representation, inducement or promise has been

made or relied upon by either party. This Agreement may on only be altered or modified

by a written mutually agreed upon and signed by both parties.” See exhibit “B”, supra.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S
FOURTH AFFIRMATIVE DEFENSE

The April 20, 2019 Contract between Ms. Ford, Prime Sports Marketing, LLC and the
Plaintiff is a lawfully binding contract which is not subject to the UAAA Statute and to any
provision thereof that would render the April 20, 2019 Contractual Agreement between Ms.
Ford, Prime Sports Marketing, PLLC and the Plaintiff void and/or voidable.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S FIFTH
AFFIRMATIVE DEFENSE

That, upon information and belief, prior to April 20, 2019, Plaintiff ZION
~ WILLEIAMSON entered the NBA Draft and did not intend to and did not take the appropriate =—~<—<S
steps to withdraw and declare any intention of resuming intercollegiate participation and, in fact,

repeatedly and publicly declared and made it abundantly clear that he was not ever returning to

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intercollegiate basketball in violation of a NCAA March 13, 2019 correspondence, to the NCAA

Division | Directors of Athletics, Senior Compliance Administrators and Men’s Basketball Head

Coaches detailing and highlighting the important NCAA rules related to maintaining NCAA

eligibility while “testing the waters” with the 2019 NBA Draft. That March 13, 2019 NCAA

Memorandum details and highlights the rules governing men’s basketball “student athlete”

eligibility and ineligibility and, in particular, those governing the 2019 NBA Draft, as follows:

‘““A men’s basketball student-athlete will lose his eligibility IF:

Nos. 1-6 below are NEW IN 2019!

I

oo

He enters the NBA Draft without requesting an Undergraduate Advisory
Committee evaluation from the NBA.

He agrees orally or in writing to be represented by any individual other than a
NCAA- certified agent.

. He accepts any benefits from an individual other than a NCAA-certified

agent.

He accepts any benefits from a NCAA-certified agent that are not expressly
permitted by the NCAA legislation or outside of the permissible timeframe
allowed by NCAA legislation.

He participates in a tryout with a NBA team that lasts longer than 48 hours
(exception for the NBA Draft Combine and G League Elite Camp held in
connection with the Combine), which he has not personally financed, or a
NCAA-certified agent has not financed.

He misses class to participate in a tryout, including travel to and from the
tryout (exception for the NBA Draft Combine and G League Elite Camp held
in connection with the Combine).

He enters the NBA Draft AND does not take the appropriate steps to
withdraw and declare his intention to resume intercollegiate participation.

XTD

He enters the NBA Draft AND is drafted by a professional team.
It is important to note that an institution may cancel a student athlete’s

athletic scholarship if he has an agreement with a non-NCAA certified
agent or otherwise jeopardizes his eligibility during this process.”

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AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S SIXTH
AFFIRMATIVE DEFENSE

EQUITABLE ESTOPPEL

The Plaintiff's causes of action are barred by the Doctrine of Equitable Estoppel in that
after executing the April 20, 2019 Contractual Agreement with Ms. Ford, Prime Sports
Marketing, LLC, the Plaintiff and/or third parties acting on Plaintiff's behalf, made false
representation and/or further concealed material facts, including but not limited to those false and
misleading representation that the Plaintiff and/or third parties acting on Plaintiff's behalf made
to M Ms. Ford’s and Prime Sports Marketing, LLC, as detailed below in Ms. Ford’s and Prime
Sports Marketing, LLC’s counterclaims, in order to fraudulent, deceitfully and unlawfully
obtain Ms. Ford’s and Prime Sports Marketing, LLC strategic Marketing Plan/Trade Secret and
to further conceal Plaintiffs true intention to breach the April 20, 2019 Contractual Agreement
which he knew he intended to and actually breached and to further unjustly and deceitfully
obtain monies as advancement from Ms. Ford and Prime Sports Marketing, LLC; monies the
Plaintiff intended and intends to unlawfully keep. Plaintiff, is further equitable estopped as
Plaintiff intended and expected that Ms. Ford and Prime Sports Marketing, LLC to rely and/or
act upon Plaintiff's false representation and/or concealment of material facts, which was
calculated to induced a reasonable prudent person, as Ms. Ford and Prime Sports Marketing,
LLC, to believe that Plaintiff's conduct and/or representation was intended or expected to be
relied and acted upon; which in fact, Ms. Ford and Prime Sports Marketing, LLC did.

Plaintiff is further equitably estopped as Plaintiff and/or third parties acting on Plaintiff's

 

behalf, had and continues have actual knowledge of the real facts behind his conduct and giving
rise to his conduct, including but not limited to, Plaintiff's and third parties acting on Plaintiffs

behalf, provided Ms. Ford’s and Prime Sports Marketing, LLC strategic Marketing Plan/Trade

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Secret to third parties in further of Plaintiff's and/or third parties acting on Plaintiffs behalf true
intention of breaching the April 20, 2019 Contractual Agreement and in furtherance of Plaintiff's
true intention to obtain financial benefits/compensation by utilizing Ms. Ford’s and Prime Sports
Marketing, LLC’s Strategic Marketing Plan/Trade Secret without any intent of compensating
Ms. Ford’s and Prime Sports Marketing, LLC to date.

Plaintiff is further equitably estopped because Gina Ford and Prime Sports Marketing,
LLC lacked knowledge of the truth as to the facts giving rise to the Plaintiffs and/or third parties
acting on Plaintiff's behalf conduct and Ms. Ford and Prime Sports Marketing, LLC, as detailed
below in their counter claims, actually relied upon the Plaintiff's and/or third parties acting on
Plaintiff's behalf false representations and concealment of material facts herein, which in turn
caused Ms. Ford and Prime Sports Marketing, LLC to act in reliance thereof which changed their
position prejudicially.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S
SEVENTH AFFIRMATIVE DEFENSE

UNCLEAN HANDS
Plaintiff seeks the protections accorded by the laws of the State of North Carolina and the
rules and regulations of the NCAA and the UAAA and avails himself to this court with unclean
hands rendering the relief he seeks herein unavailable. Plaintiff has unclean hands herein as
Plaintiff and/or third parties acting on Plaintiff's behalf, as detailed below in Ms. Ford’s and
Prime Sports Marketing, LLC’s counter claims, acted intentionally, maliciously, deceitfully

fraudulently, unethically and/or in bad faith with respect to his dealings with Ms. Ford and Prime

Sports Marketing, LLC in relation to the April 20, 2019 contract, including but not limited to:

L, Making materially false statements to Ford’s and Prime Sports Marketing,

LLC in order to unlawfully obtained Ms. Ford and Prime Sports Marketing, LLC

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Strategic Marketing Plan/Trade Secret and to further conceal Plaintiffs true intention to
breach the April 20, 2019 Contractual Agreement which he knew he intended to and
actually did breach.

De Plaintiff and/or third parties acting on the Plaintiff's behalf after
unlawfully obtaining Ms. Ford’s and Prime Sports Marketing, LLC’s Strategic Marketing
Plan/Trade Secret provided it to third parties in further of Plaintiff's and/or third parties
acting on Plaintiff's behalf true intention of breaching the April 20, 2019 Contractual
Agreement and in furtherance of Plaintiffs true intention to obtain financial
benefits/compensation by utilizing Ms. Ford’s and Prime Sports Marketing, LLC’s
Strategic Marketing Plan/Trade Secret without any intent of compensating Ms. Ford’s
and Prime Sports Marketing, LLC to date.

3. Plaintiff's and/or third parties acting on Plaintiff's behalf demanded and
took monies from Ms. Ford and Prime Sports Marketing, LLC that Plaintiff and/or third
parties acting on Plaintiff's behalf falsely represented to Ms. Ford and Prime Sports
Marketing that same monies would be an advance on the April 20, 2019, contractual
agreement when and while Plaintiff and/or third parties acting on Plaintiffs behalf knew
that Plaintiff's true intent was to breach the Contractual Agreement and keep the monies;
, which in fact, Plaintiff did, and did so without returning and without any intent to
present date of returning same monies to Ms. Ford and/or to Prime Sports Marketing,
PLLC. Ms. Ford and Prime Sports Marketing.

Ms. Ford and Prime Sports Marketing, LLC relied upon the Plaintiffs and/or third parties

 

acting on Plaintiff's behalf, immoral and unconscionable conduct which caused and continues to

cause damages and injuries to Ms. Ford and Prime Sports Marketing, LLC.

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AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S
EIGHTH AFFIRMATIVE DEFENSE

UNJUST ENRICHMENT
Plaintiff has been conferred property and benefits, including but not limited monies and/or the
proprietary information/Trade Secret of Ms. Ford and Prime Sports Marking, LLC and the
benefits from the use thereof has conferred property and benefit on the defendant, who has
knowledge thereof without any compensation to Ms. Ford and to Prime Sports Marketing, LLC
which in turns legally and equitable obligates Plaintiff to account for the benefits he has received
and continues to received to present date. Plaintiff have been unjustly enriched as he has
received the foregoing property and benefits by and through his own improper conduct, as
detailed below in the counterclaims of solicitation and inducement to receive the foregoing and
as he received same not by accident or mistake. The Plaintiff has improperly voluntarily and
intentionally accepted and retains the benefit conferred and the circumstances are such that it

would be inequitable for the defendant to retain the benefit without paying the value thereof to
the Plaintiff.
AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S
NINTH EIGHTH AFFIRMATIVE DEFENSE
FAILURE TO STATE A CAUSE OF ACTION
PlaintifPs Complaint fails to state a claim upon which relief can be granted and is
therefore barred pursuant to Federal Rules of Civil Procedure 12(b)(6) and Rule 12(b)(6) of the

North Carolina Rules of Civil Procedure.

 

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AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S
TENTH AFFIRMATIVE DEFENSE
FAILURE TO JOIN A NECESSARY PARTY
Plaintiff has failed to join a necessary party.

AS AND FOR MS. FORD”S AND PRIME SPORTS MARKETING, LLC’S
ELEVENTH AFFIRMATIVE DEFENSE

Plaintiff's breach of the April 20, 2019 Contractual Agreement and his breach of the
implied duty of good faith and fair dealings bars Plaintiff from any right of recovery herein.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S
TWELFTH AFFIRMATIVE DEFENSE

Plaintiff's damage/recovery, if any, is barred by Plaintiff's failure to mitigate damages, or
in the alternative that Plaintiff's damages/recovery, if any, must be reduced by those damages
that Plaintiff failed to mitigate.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S
THIRTEENTH AFFIRMATIVE DEFENSE

Plaintiff's damages/recovery, if any, is caused in whole by the culpable conduct of the
Plaintiff with no conduct on the part of Ms. Ford and Prime Sports Marketing, LLC contributing
thereto.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S
FOURTEENTH AFFIRMATIVE DEFENSE

Plaintiff is barred from recovery as to all of his claims herein as Plaintiff and/or a third
party acting on Plaintiff's behalf, has committed fraud, as detailed in Ms. Ford and Prime Sports
Marketing, LLC counter claims below.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S

 

FIFTEENTH AFFIRMATIVE DEFENSE
Plaintiff's action is barred as the laws of the State of Florida govern the April 20, 2019

Contract between the parties and the laws of North Carolina do not apply to the within dispute.

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AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S
SIXTEENTH AFFIRMATIVE DEFENSE

RATIFICATION
Assuming arguendo that the April 20, 2019 Contractual Agreement is voidable, Plaintiff
is barred from all recovery, damages, relief and/or remedies herein, including but not limited to
being barred from obtaining declaratory judgment as by Plaintiffs and/or third parties acting on
Plaintiff's behalf acts, word, deeds and/or conduct with full knowledge of the facts surrounding
and relating to the April 19, 2019 Contractual Agreement, Plaintiff intended to and actually gave
validity to the Contractual Agreement and to any and all circumstances and acts, or omissions
surrounding same. The conduct of the Plaintiff that supports Plaintiff being barred from obtain
any relief herein as Plaintiff's acts, word, deeds and/or conduct ratified the April 20, 2019,
includes, but is not limited to:
1. The Plaintiff and/or third party acting on Plaintiffs behalf, after the Plaintiff executed
the contract with full knowledge of the facts surrounding the April 19, 2019,
demanded and received an advancement from Ms. Ford and Prime Sports Marketing,
LLC,
2. Consistent with the terms and conditions of the April 19, 2019, Contractual
Agreement, the Plaintiff travelled to California with Ms. Ford, with Ms. Ford and
Prime Sports Marketing, LCC representing the Plaintiff as the Plaintiff's Marketing
Agent and Marketing Agency, where Plaintiff appeared in a nationally televised

commercial promoting the movie Hobb and Shaw for which payment for Plaintiff's

 

services was tendered to Prime Sports Marketing, LEC and Prime Sports Marketing,
LLC, from Florida, paid Plaintiff and the compensation earned from Plaintiffs

foregoing appearance was distributed to Plaintiff, Ms. Ford and Prime Sports

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Marketing, LLC in a manner consistent with the terms and conditions of the April 20,
2019 contract;

3. Consistent with the terms and conditions of the April 20, 2019, Contractual
Agreement, Ms. Ford and Prime Sports Marketing, LLC, as Plaintiffs Agent and
Marketing Agency, negotiated, finalized and contracted a number of marketing deals
and contracts on behalf of the Plaintiff and after these deals where finalized, Plaintiff
breached the April 20, 2019, contract, but yet still perform, continues to perform and
accept compensation for the very same deals that Ms. Ford and Prime Sports
Marketing, PLLC negotiated on Plaintiff's behalf under the terms and conditions of
the April 20, 2019, contract without tendering any compensation with Ms. Ford and
without seeking to void performing under those contracts.

AS AND FOR MS. FORD’S AND PRIME SPORTS MARKETING, LLC’S
SEVENTEENTH AFFIRMATIVE DEFENSE

Ms. Ford and Prime Sports Marketing, LLC reserve the right further assert any other
affirmative defenses that come to light through further investigation, during discovery or by
proof at trial.

AS AND FOR DEFENDANTS PRIME SPORTS MARKETING, LLC’S AND GINA
FORD’S COUNTERCLAIMS AGAINST PLAINTIFF ZION WILLIAMSON

1. This is an action of counterclaims against Plaintiff ZION WILLIAMSON for
breach of contract, breach of the implied duty of good faith and fail dealings, fraud, tortuous
interference with a contract, civil conspiracy, unjust enrichment, misappropriation, violation of

North Carolina Trade Secrets Protection Act, Declaratory Judgment, Injunction Relief, Punitive

 

Damages, and related counterclaims, for damages in excess of One Hundred Fifty Thousand

Dollars ($150,000.00), exclusive of attorney’s fees and costs.

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PARTIES

2: Defendant PRIME SPORTS MARKETING, LLC is a Florida Limited Liability
Company, with its Principal Place of Business/Principle Office located at 13465 SW, 151
Terrace, Miami, Florida 33186.

a. Defendant GINA FORD is the President of Defendant PRIME SPORTS
MARKETING, LLC and is also a resident of the State of Florida.

4, Plaintiff ZION WILLIAMSON is a resident of the State of South Carolina.

INTERESTED/RELEVANT/RELATED ENTITIES AND INDIVIDUALS

5. CREATIVE ARTISTS AGENCY, LLC (“CAA”) is a limited Liability
Corporation with its Principal Place of Business located at 2000 Avenues of the Stars, Los
Angeles, California, with additional headquarters located at 405 Lexington Avenue, 19" Floor,
New York, New York 10174, with additional offices located at 420 Lincoln Road, Suite 307,
Miami Beach, Florida 33139 and duly organized and existing under and by virtue of the Laws of
the States of New York and/or California.

6. AUSTIN BROWN (“Brown”) is resident of the State of Illinois and is an Agent,
NBA Agent, sports Agent, servant, employee, licensee of CAA. Upon information and belief,
Austin Brown, on behalf of CAA, is Plaintiff ZION WILLIAMSON’S current sports/NBA
Agent.

7. LISA JOSEPHS METELUS (“Metelus”) is a resident of the State of Florida and
is an Agent, marketing Agent, endorsements Agent, branding Agent, servant, employee, licensee

of CAA. Upon information and belief, Lisa Josephs Metelus, on behalf of CAA, is Plaintiff

 

ZION WILLIAMSON’S current marketing/branding/endorsements Agent.

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GENERAL AND FACTUAL ALLEGATIONS.

8. That all relevant times herein mentioned, Plaintiff ZION WILLIAMSON is an
adult male of high intelligence with exceptional business acumen and one who is acutely
cognizant of his value as a basketball superstar and of his branding, marketability and earning
potential.

9. That at all relevant times herein mentioned, upon information and belief, Plaintiff
ZION WILLIAMSON, from a very early stage in his life, dreamed of and aspired to becoming a
professional NBA player.

10.‘ That at all relevant times herein mentioned, upon information and belief, Plaintiff
ZION WILLIAMSON, and those who advise and support him, including but not limited to his
mother and stepfather, have embarked upon years of strategic maneuvering and decision-making
to put Plaintiff ZION WILLIAMSON in the best suited position to achieve, at the earliest
opportunity, his dream of becoming a professional NBA player and star.

11. That at all relevant times herein mentioned, upon information and belief, Plaintiff
ZION WILLIAMSON has been and continues to be strategic in the planning of his collegiate
and professional basketball career including, but not limited to, his intentional and knowing
decision to attend Duke University—a decision which stunned the basketball community and
fans of Clemson University and, as well as, his intentional and knowing decision to be and
declare himself as an early-entrant to/for the 2019 NBA Draft.

12, That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON has

been declared by NBA experts to be one of the most dominant collegiate players in recent history

 

who has received numerous awards for his basketball athleticism and high ranking records and

averages.

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13. That at all relevant times herein mentioned, based upon his performance as the
high-flying dominant forward of Duke University’s male basketball team, many basketball
experts opined and continued to opine that Plaintiff ZION WILLIAMSON, should he declare his
eligibility for the 2019 NBA Draft, would most likely be the No. 1 Draft pick whose
marketability could rival that and/or surpass NBA legends including, but not limited to: LeBron
James, Kobe Bryant and Michael Jordan.

14. That at all relevant times herein mentioned, based upon his exceptional basketball
ability exhibited from when he first started playing with Duke from the early stages of the 2018-
2019 NCAA basketball season, coupled with his personality, his demonstrated intelligence and
his overall presentation, experts opined and continued to opine that Plaintiff ZION
WILLIAMSON potentially, within a short time, would garner financial revenue of
approximately One Billion Dollars from endorsements, deals and an NBA contract.

15. That at all relevant times herein mentioned, in or about before January 2019 and
continuing thereafter, Plaintiff ZION WILLIAMSON, with the support and advice of his mother
and stepfather, started their strategic and analytical assessment as to which NBA team, which
marketing agent/agency, which athletic companies and which associations and/or relationships
would best serve to place Plaintiff ZION WILLIAMSON in the best strategic position to not
only play in the NBA, but, to secure his placement as the 2019 No. 1 Draft pick and to maximize
his monetary potential as an NBA superstar who may realize revenues of One Billion Dollars or
more in the immediate years to come.

16. That at all relevant times herein mentioned, in the early stages of the 2018-2019

 

NCAA season, Plaintiff ZION WILLIAMSON became a national collegiate basketball sensation

and based on this exposure, Plaintiff ZION WILLIAMSON, with his mother and stepfather,

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desired that Plaintiff ZION WILLIAMSON not only become a national sensation, but, that he
become an international, worldwide, marketable and rainmaking superstar in order to attract both
domestic and international/worldwide endorsements and opportunities.

17. That at all relevant times herein mentioned, upon information and belief, Plaintiff
ZION WILLIAMSON, with his mother and stepfather, knowingly, voluntarily, intelligently and
strategically began to research and evaluate which marketing firms and/or agents would best
serve to help propel Plaintiff ZION WILLIAMSON to become this marketable, international and
worldwide rainmaking superstar.

18. That at all relevant times herein mentioned, upon information and belief, Plaintiff
ZION WILLIAMSON with his mother and stepfather, through their research, identified and
learned of Defendants PRIME SPORTS MARKETING, LLC and GINA FORD and of their
proven history of successful domestic and international branding and marketing of athletes.

19. That at all relevant times herein mentioned, in or about February 2019, after
sustaining physical injury while playing for Duke University, upon information and belief,
Plaintiff ZION WILLIAMSON realized that continuing to play at the collegiate level and risking
injury could jeopardize his dream of becoming an NBA player and his dream of becoming not
only a national sensation, but, that he become an international, worldwide, marketable and
rainmaking superstar in order to attract both domestic and international/worldwide endorsements
and opportunities.

20. That at all relevant times herein mentioned, from in or about prior to March 2019

and continuing thereafter, Plaintiff ZION WILIAMSON, having already been publicly declared

 

by experts to be the potential No. 1 2019 NBA Draft pick, and having realized that he risks

sustaining career ending injury while still at the collegiate playing level, repeatedly,

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continuously, publicly and privately stated and declared that he would absolutely be declaring as
an early entrant for the 2019 NBA Draft and that even though he returned post injury to play
with his team out of loyalty, once he declares, he absolutely would not and will not be returning
to play for Duke University nor be returning to play as a collegiate basketball player.

21, That on or about April 15, 2019, Plaintiff ZION WILLIAMSON publicly
declared eligible for the 2019 NBA draft and, at that time and thereafter, he did not intend to
return to Duke University as a “student athlete” as it was his intent to end his collegiate career.

22. That on or before April 15, 2019, and at all relevant times herein mentioned,
Plaintiff ZION WILLIAMSON and his mother and stepfather knew and/or had reasons to know
that he was projected to be and that he would, in fact, be the No. 1 Draft pick for the 2019 NBA
Draft and that, as the No. 1 Draft pick, Plaintiff ZION WILLIAMSON in addition to and
separate and apart from endorsements, would immediately be signing a multi-million dollar
NBA contract once picked.

23. That at all relevant times herein mentioned, unlike other NCAA collegiate
basketball athletes who may be testing the waters by declaring for the 2019 NBA Draft, Plaintiff
ZION WILLIAMSON, with his mother and stepfather, knew and/or had reasons to know that
Plaintiff ZION WILLIAMSON was not testing the waters by declaring for the 2019 NBA Draft
and that, for all intent and purpose, knew that he would be drafted, knew that he would be
drafted as the No. 1 Draft pick, knew that he would be accepting whichever team selected him
and knew that he was never returning to play collegiate basketball ever again.

24. That Plaintiff ZION WILLIAMSON, with his mother and stepfather, continued to

 

publicly declare, in sum and substance, that while playing for Duke University may have been

the best year of his life up until that point, he was not returning to Duke nor to any collegiate

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basketball because the reality in which Plaintiff ZION WILLIAMSON lives is one in which he
wants to realize his ultimate dream of playing in the NBA and taking care of his family.

25. That all relevant times herein mentioned, on or about March 13, 2019, the NCAA
issued a Memorandum to the NCAA Division 1 Directors of Athletics, Senior Compliance
Administrators and Men’s Basketball Head Coaches detailing and highlighting the important
NCAA tules related to maintaining NCAA eligibility while “testing the waters” with the 2019
NBA Draft. Annexed hereto and made a part hereof as Exhibit “A” is a copy of the March 13,
2019 NCAA Memorandum.

26. That the March 13, 2019 NCAA Memorandum details and highlights the rules
governing men’s basketball “student-athlete” eligibility and ineligibility and, in particular, those
governing the 2019 NBA Draft, as follows:

“A men’s basketball student-athlete will lose his eligibility IF:
Nos. 1-6 below are NEW IN 2019!

9. He enters the NBA Draft without requesting an Undergraduate Advisory
Committee evaluation from the NBA.

10. He agrees orally or in writing to be represented by any individual other than a
NCAA-certified agent.

11. He accepts any benefits from an individual other than a NCAA-certified
agent.

12. He accepts any benefits from a NCAA-certified agent that are not expressly
permitted by the NCAA legislation or outside of the permissible timeframe
allowed by NCAA legislation.

13. He participates in a tryout with a NBA team that lasts longer than 48 hours
(exception for the NBA Draft Combine and G League Elite Camp held in

 

connection with the Combine), which he has not personally financed, or a
NCAA-certified agent has not financed.

14. He misses class to participate in a tryout, including travel to and from the
tryout (exception for the NBA Draft Combine and G League Elite Camp held

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in connection with the Combine).

15. He enters the NBA Draft AND does not take the appropriate steps to
withdraw and declare his intention to resume intercollegiate participation.

16. He enters the NBA Draft AND is drafted by a professional team.
It is important to note that an institution may cancel a student-athlete’s
athletic scholarship if he has an agreement with a non-NCAA certified
agent or otherwise jeopardizes his eligibility during this process.”
See Exhibit “A”, supra.

27. That upon information and belief, on or about March 13, 2019 and prior to April
15, 2019, and at all relevant times herein mentioned, the March 13, 2019 NCAA Memorandum
regarding the NCAA rules for the eligibility and ineligibility of the men’s basketball “student-
athletes” for the 2019 NBA Draft, was provided to Duke University and, in particular, to Duke
University’s men’s basketball head Coach who was, at that time, the coach of Plaintiff ZION
WILLIAMSON.

28. That upon information and belief, and at all relevant times herein mentioned, on
or about March 13, 2019 and before April 15, 2019, Duke University and/or its Head Coach,
and/or men’s basketball coaching staff, consistent with the spirit and intent of the NCAA March
13, 2019 Memorandum informed, instructed, advised, discussed, explained, and provided a copy
of the NCAA March 13, 2019 Memorandum to the entire Duke University’s men’s basketball
team and, in particular, to Plaintiff ZION WILLIAMSON.

29, That at all relevant times herein mentioned, upon information and belief, in

addition to other conduct/acts, and as a manifest demonstration that Plaintiff ZION

WILLIAMSON did not, would not and will not return to Duke University or any other collegiate

 

basketball, prior to April 20, 2019 Plaintiff ZION WILLIAMSON engaged in conduct/acts that

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rendered and renders him ineligible to_be_or remain a “student-athlete” including, but not
limited to:
(a) He agrees orally or in writing to be represented by any individual other
than a NCAA-certified agent;
(b) He accepts any benefits from an individual other than a NCAA-
certified agent; and
(c) He entered the NBA Draft AND did not intend to and did not take the
appropriate steps to withdraw and declare any intention of resuming
intercollegiate participation and, in fact, repeatedly and publicly
declared and made it abundantly clear that he was not ever returning to
intercollegiate basketball.

30. That from prior to April 15, 2019 and continuing to on or about April 20, 2019,
and at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON was not a student-
athlete.

31. That, upon information and belief, prior to April 20, 2019, Plaintiff ZION
WILLIAMSON entered the NBA Draft and did not intend to and did not take the appropriate
steps to withdraw and declare any intention of resuming intercollegiate participation.

32. That, upon information and belief, prior to April 20, 2019, Plaintiff ZION
WILLIAMSON, in fact, repeatedly and publicly declared, making it abundantly clear, that he
was not ever returning to intercollegiate basketball.

33. That, at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON with

 

his mother and stepfather, having researched and identified Defendants PRIME SPORTS

MARKETING, LLC and GINA FORD and having assessed Defendants to be the best marketing

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firm/agent for Plaintiff's desire to become a national and international/worldwide marketable
professional athlete, sought out and contacted and/or requested to meet with Defendants in
furtherance of retaining Defendants PRIME SPORTS MARKETING, LLC and GINA FORD to
serve as Plaintiff ZION WILLIAMSON’s exclusive marketing, branding and endorsement firm
and agent to make Plaintiff ZION WILLIAMSON an international and worldwide marketable
and rainmaking superstar in order to attract both domestic and international/worldwide
endorsements and opportunities.

34, That on or about April 19, 2019, and at all relevant times herein mentioned, upon
information and belief, in furtherance of Plaintiff ZION WILLIAMSON’s desire to become a
national and _ international/worldwide marketable professional athlete, Plaintiff ZION
WILLIAMSON with his mother and stepfather contacted, caused to be contacted and invited
and/or caused Defendant GINA FORD to be invited to where Plaintiff ZION WILLIAMSON
then resided to discuss and negotiate Defendants’ exclusive representation of Plaintiff ZION
WILLIAMSON for marketing, branding and endorsement opportunities and further to discuss
and negotiate the contract Agreement setting forth the terms and conditions of same.

35. That on or about April 20, 2019, and at all relevant times herein mentioned, after
due deliberation, negotiation and agreement, with his mother and father present both of whom
were actively involved in same deliberation, negotiation and agreement, Plaintiff ZION
WILLIAMSON with his mother and stepfather again invited and/or caused to be invited
Defendant GINA FORD back to where Plaintiff ZION WILLIAMSON then resided to meet

again with him and his parents during which they all, again, discussed and agreed upon the terms

 

and conditions of Defendants’ representation of Plaintiff ZION WILLIAMSON for marketing,

branding and endorsement opportunities.

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36. That on or about April 20, 2019, and at all relevant times herein mentioned,
Plaintiff ZION WILLIAMSON, as an adult, knowingly, voluntarily and intelligently entered into
a Consulting and Joint Marketing and Branding Agreement with Defendants PRIME SPORTS
MARKETING, LLC and GINA FORD to serve as Plaintiffs exclusive marketing, branding and
endorsement consultant/firm/agent for a term of five (5) years. That upon entering into the April
20, 2019 Contract with Defendants, Plaintiff ZION WILLIAMSON and/or his parents on his
behalf, demanded an immediate Contract advance in the amount of One Hundred Thousand
Dollars ($100,000.00) which, within days after executing and entering into the April 20, 2019
Contract, Defendants tendered to Plaintiff ZION WILLIAMSON by wiring same into Plaintiff's
and/or his mother and/or stepfather’s bank account on Plaintiff's behalf and at Plaintiff ZION
WILLIAMSON’s direction, instruction, permission, knowledge and consent. Annexed hereto
and made a part hereof as Exhibit “B” is a copy of the April 20, 2019 Consulting and Joint
Marketing and Branding Agreement.

at That at all relevant times herein mentioned, in addition to other terms and
conditions of the April 20, 2019 Consulting and Joint Marketing and Branding
Agreement/contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of
his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and
agreed to Defendants PRIME SPORTS MARKETING, LLC and GINA FORD, “...1.6 Giving
advice on the building of client’s brand domestically and internationally...”

38. That at all relevant times herein mentioned, in furtherance of the April 20, 2019

contract/Agreement with Plaintiff ZION WILLIAMSON, Defendant GINA FORD, on behalf of

 

Defendants, agreed for Defendants to serve as the exclusive Global Marketing Firm/Agent for

Plaintiff ZION WILLIAMSON and to decline representation by Defendants, for the first two

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years of the April 20, 2019 five year contract with Plaintiff, of any other basketball player;
thereby agreeing for Defendants to forego and decline representation of and to decline income
from representation of any other basketball player. See Exhibit “B”, supra.

39. That at all relevant times herein mentioned, in addition to other terms and
conditions of the April 20, 2019 Consulting and Joint Marketing and Branding
Agreement/contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of
his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and
agreed that, in exchange for the marketing and branding services provided by the Defendants,
Plaintiff ZION WILLIAMSON agreed to pay/compensate Defendants with Fifteen percent
(15%) of the gross value of any compensation received by him from/by any and all of the
branding/marketing/endorsement deals identified, sought out and/or obtained by Defendants on
Plaintiff's behalf during the tenure of the Agreement and, further, agreed to pay Defendants the
same 15% of his gross earnings in perpetuity for all compensation/consideration/earnings made
and received by him including after the expiration or termination of the Agreement/contract, that
are/were derived from any and all engagements, contracts and/or agreement introduced by
Defendants and/or entered into and/or substantially negotiated by Defendants on Plaintiff ZION
WILLIAMSON’s behalf. See Exhibit “B”, supra.

40. That at all relevant times herein mentioned, in addition to other terms and
conditions of the April 20, 2019 Consulting and Joint Marketing and Branding
Agreement/contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of

his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and

 

agreed that all third marketing deals and/or endorsement opportunities brought to or presented to

Plaintiff ZION WILLIAMSON, that was not obtained or presented to him by Defendants, were

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to be presented to Defendants for Defendants to discuss, negotiate and finalize any and all terms
and conditions for any and all such contracts from any all such third parties deals/opportunities
on behalf of Plaintiff ZION WILLIAMSON and, in exchange for such services, Defendants
would receive compensation.

Al. That at all relevant times herein mentioned, in addition to other terms and
conditions of the April 20, 2019 Consulting and Joint Marketing and Branding
Agreement/contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of
his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and
agreed and covenanted, pursuant to Paragraph 10 of the April 20, 2019 contract/Agreement,
“.,.to keep, protect and hold confidential all information shared between the parties that is
related to the matters of this Agreement. Such information includes but is not limited to, any
trade secrets, business plans, strategies ... concerning the Client...” See Exhibit “B”, supra.

42. That at all relevant times herein mentioned, in addition to other terms and
conditions of the April 20, 2019 Consulting and Joint Marketing and Branding
Agreement/contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of
his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and
agreed that termination of the Consulting and Joint Marketing and Branding Agreement/contract
by any party to same Agreement/contract can only be upon thirty (30) days clear written notice
to the other party and can only be made for cause. See id.

43. That at all relevant times herein mentioned, in addition to other terms and

conditions of the April 20, 2019 Consulting and Joint Marketing and Branding

 

Agreement/contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of

his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and

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agreed that the validity, interpretation and performance of the Agreement is controlled by and
construed under the laws of the State of Florida. See id.

44. That on or about April 20, 2019, and at all relevant times herein mentioned, in
furtherance of same Consulting and Joint Marketing and Branding Agreement/contract, Plaintiff
ZION WILLIAMSON knowingly, voluntarily and intelligently appointed Defendant GINA
FORD, by letter of Authorization dated April 20, 2019, as his Global Marketing Agent. To that
end, Plaintiff ZION WILLIAMSON wrote:

“Letter of Authorization
April 20", 2019
Prime Sports Marketing
Gina Ford
13727 SW 152" Street #319
Miami, Fl 33177

I Zion Williamson effective immediately appoint Gina Ford as my Global
Marketing Agent. I grant full permission to Gina Ford to negotiate and secure
opportunities on my behalf and to work together to determine how to best position our
efforts going forward. I look forward to working with you and believe that your guidance
will be instrumental in assisting me with achieving my long term goals.

Sincerely,
Zion Williamson (Athlete)

ID: Annexed hereto and made a part hereof as Exhibit “C” is a copy of the
April 20, 2019 Letter of Authorization and a copy of a photograph of Plaintiff Zion
Williamson and Defendant Gina Ford taken in/at Plaintiff Zion Williamson’s residence
on April 20, 2019 after the execution of the April 20, 2019 contract/Agreement and Letter
of Authorization.

45, That on April 20, 2019 and at all relevant times herein mentioned, demonstrative
of Plaintiff ZION WILLIAMSON being consciously aware that he, by his own prior conduct,
actions, statements and/or omissions/inactions, was no longer a “student-athlete”, Plaintiff ZION

WILLIAMSON signed both the April 20, 2019 Consulting and Joint Marketing and Branding

 

Agreement and the April 20, 2019 Letter of Authorization appointing Defendant GINA FORD to

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be his Global Marketing Agent stating that he was an “athlete” and not a “student-athlete”. See
Exhibits “B” and “C”, supra.

46. That at all relevant times herein mentioned, upon information and belief, in
furtherance of the duly entered and executed Consulting and Joint Marketing and Branding
Agreement/contract, Defendants performed the contracted services and successfully identified,
sought out, obtained and/or negotiated on Plaintiff ZION WILLIAMSON’s behalf, numerous
potential and actual multi-million dollar endorsement/branding deals, to wit:

a. Defendants successfully identified, sought out and negotiated actual
marketing/branding deals/endorsements on Plaintiff ZION WILLIAMSON’s behalf with:
Activision Publishing/Call of Duty Video Game Franchise; NBA Live/EA Sports, Fanatics
Authentic & Panini America (Sports Memorabilia and Trading Card Brand); NBA 2K and
BioSteel -- all of which Defendants, in performance of the April 20, 2019 contract/Agreement
with Plaintiff ZION WILLIAMSON, had presented to Plaintiff ZION WILLIAMSON for
acceptance; and

b. Defendants, using Defendants’ unique skills set, trade secrets, work product
and/or business relationships sought out and identified, contacted, discussed and was engaged in
ongoing fruitful negotiations on Plaintiff ZION WILLIAMSON’S behalf for additional multi-
million dollar endorsement/branding deals with companies including, but not limited to: PUMA,
General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro, Burger
King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola) and others.

47. That at all relevant times herein mentioned, upon information and belief, in

 

furtherance of the duly entered and executed Consulting and Joint Marketing and Branding

Agreement/contract, Defendants secured for Plaintiff ZION WILLIAMSON a potential

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shoe/sneaker deal by which he would not only have his own sneaker/shoe, but would, based
upon Plaintiffs trade secret and work product, obtain a shoe/sneaker deal that would
revolutionize the professional athlete shoe market, particularly for professional basketball
players.

48. That at all relevant times herein mentioned, upon information and belief, on or
about April 28, 2019, Defendant GINA FORD, with Plaintiff ZION WILLIAMSON’s mother
and stepfather at Plaintiff ZION WILLIAMSON’S direction, permission, authorization and full
knowledge, met with the representative of/for the foregoing potential shoe/sneaker company deal
during which Defendant GINA FORD successfully secured, obtained and negotiated for
Plaintiff, compensation and rights, including, but not be limited to, monetary compensation of an
immediate One Hundred Million Dollars ($100,000,000.00) to be tendered to Plaintiff ZION
WILLIAMSON upon execution of the contract for same shoe/sneaker company deal.

49. That at all relevant times herein mentioned, in furtherance of the duly entered and
executed Consulting and Joint Marketing and Branding Agreement/contract, Defendants
reviewed and negotiated the contract terms for Plaintiff ZION WILLIAMSON, which Plaintiff
ZION WILLIAMSON accepted and agreed to perform, for a photo shoot and interview with
Slam Magazine whereby Plaintiff ZION WILLIAMSON was featured on the cover of Slam
Magazine with a feature spread and interview for the Magazine.

50. That on or about April 28, 2019, and at all relevant times herein mentioned,
Plaintiff ZION WILLIAMSON appeared at Duke University with Defendant GINA FORD and

he performed the Slam Magazine photo shoot and feature spread. Annexed hereto and made a

 

part hereof as Exhibit “D” is a copy of the Slam Magazine interview of Plaintiff Zion

Williamson.

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Sl. That, at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON, in
his Slam Magazine interview, stated: “...I’m just trying to make the most of what I got. I love
Duke...If I didn’t have as much at stake, I probably would stay for another year. But I can’t...So
if I could come back for a second year I would, but unfortunately that’s just not the reality we
live in. The reality we live in is [that] my ultimate dream is the NBA. It’s what I’ve been
dreaming about as a kid so I have to pursue that. And I have to take care of my family.” See
Exhibit “D”, supra.

52, That, at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
interview with Slam Magazine confirms that he had also already informed his fellow Duke
teammates, prior to his declaring for the Draft, that he was declaring for the 2019 NBA Draft and
that was not coming back to play for Duke/collegiate basketball. See id. Plaintiff ZION
WILLIAMSON further told Slam Magazine that, in response, his Duke teammates told him:
**...We know you love this place but you gotta do what’s best for you and your family. Nobody
is going to hate you for this.” See id.

53. That on or about April 28, 2019, and at all relevant times herein mentioned, on the
campus of Duke University and during the time period of the Slam Magazine photo shoot,
Plaintiff ZION WILLIAMSON, upon information and belief, introduced Defendant GINA
FORD, as well as Defendant GINA FORD’S business partner, to Duke University’s men’s
basketball team Head Coach. Annexed hereto and made a part hereof as Exhibit “E” is a copy
of a photograph of Plaintiff Zion Williamson, Defendant Gina Ford and Duke University men’s

basketball coach taken on April 28, 2019 during the time of the Slam Magazine photo shoot.

 

54. That on or about April 28, 2019 and at all relevant times herein mentioned, based

upon information and belief, on the campus of Duke University and during the time period of the

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Slam Magazine photo shoot after the foregoing introduction, Defendant GINA FORD’S business
partner advised and told Duke University Men’s Basketball Head Coach that Defendant GINA
FORD was Plaintiff ZION WILLIAMSON’S marketing agent.

55. That after the April 28, 2019 Slam Magazine photo shoot, on or about April 29,
2019 Plaintiff ZION WILLIAMSON, with his mother and stepfather, again invited and/or caused
to be invited, Defendant GINA FORD to Plaintiff ZION WILLIAMSON’s then residence and
discussed the strategic vision and future marketing/endorsement opportunities for which
Defendants were in the midst of securing offers to present to Plaintiff ZION WILLIAMSON.
During this meeting, Defendant GINA FORD provided and/or caused to be provided to Plaintiff
ZION WILLIAMSON, and/or to his parents, Defendants’ strategic marketing and branding
ideas/plan to make Plaintiff ZION WILLIAMSON an international, worldwide, marketable and
rainmaking superstar and with Defendants’ strategic plans to attract both domestic and
international/worldwide endorsements and opportunities for Plaintiff ZION WILLIAMSON.

56. That, at all relevant times herein mentioned, in furtherance of the duly entered
and executed Consulting and Joint Marketing and Branding Agreement/contract, Defendants
secured and obtained for Plaintiff ZION WILLIAMSON, a nationally televised commercial for
compensation which Plaintiff ZION WILLIAMSON knowingly, intelligently and voluntarily,
and with the advice of his mother and stepfather, accepted and agreed to perform for which
Plaintiff ZION WILLIAMSON knowingly, intelligently and voluntarily entered into and
executed a contract.

57. That on or about May 14, 2019, and at all relevant times herein mentioned,

 

Plaintiff ZION WILLIAMSON and his parents invited and requested that Defendant GINA

FORD appear with them at the 2019 NBA Draft Lottery in Chicago, Illinois and to appear at

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same with him as Plaintiffs exclusive Global Marketing Agent; same lottery would reveal the
team that Plaintiff ZION WILLIAMSON would contract with, as the projected No. 1 Draft pick,
for the 2019 NBA Draft on June 20, 2019.

58. That Defendant GINA FORD did, in fact, appear at Plaintiff's request to the
foregoing 2019 NBA Draft Lottery in Chicago, Illinois, as Plaintiff ZION WILLIAMSON’S
exclusive Global Marketing Agent as he and his parents requested and invited her to attend with
them.

58. That on or about May 14, 2019 at the 2019 NBA Draft Lottery in Chicago,
Illinois, and at all relevant times herein mentioned, upon information and belief, Defendant
GINA FORD and CAA’s Agent Lisa Josephs Metelus discussed that Defendants were
representing Plaintiff ZION WILLIAMSON as Plaintiff ZION WILLIAMSON’s exclusive
Global Marketing Firm/Agent.

59. That at all relevant times herein mentioned, on or about May 14, 2019 at the 2019
NBA Draft Lottery in Chicago, Illinois, where Plaintiff ZION WILLIAMSON personally
appeared, the New Orleans Pelicans won the first draft pick for the 2019 NBA Draft which was
held on June 20, 2019.

60. That at all relevant times herein mentioned, on or about May 14, 2019, and
continuing thereafter to date, after hearing that the New Orleans Pelicans won the first draft pick
for the 2019 NBA Draft, Plaintiff ZION WILLIAMSON and/or his stepfather, made it
abundantly clear that Plaintiff ZION WILLIAMSON had long decided that, irrespective of

which NBA Team secured the number one NBA Draft pick in the Lottery, Plaintiff ZION

 

WILLIAMSON was not and would not return to Duke and/or to collegiate basketball and would,

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in fact, realize his childhood dream of playing in the NBA and securing financial compensation
to take care of himself and his family.

61. That at all relevant times herein mentioned on or about May 15, 2019, Plaintiff
ZION WILLIAMSON’ stepfather during an interview in Baton Rouge, Louisiana with “Off the
Bench” radio show, again declared and emphasized that returning to collegiate basketball and/or
to Duke University was not even a consideration for Plaintiff ZION WILIAMSON. To that end,
based upon information and belief, Mr. Lee Anderson, Plaintiff ZION WILLIAMSON’s
stepfather, stated that returning for a second season with Duke University’s Blue Devils: “is not
something that we have even considered... it is the process of the NBA and certainly we’re
excited about the Crescent City down there in New Orleans... we met with [David Griffin, the
Pelicans Executive Vice President of Basketball Operations] and had a great conversation and
are excited at the prospect of coming down there and getting settle and looking for a place to stay
and all these good things”. Annexed hereto and made a part hereof as Exhibit “F’” is a copy of
the May 16, 2019, article in the Washington Post entitled “Would Zion Williamson Return to
Duke, His Stepfather Says No, Quieting the Speculation. ”.

62. That at all relevant times herein mentioned on or about May 15, 2019, based upon
information and belief, when Plaintiff's ZION WILLIAMSON’s stepfather made the foregoing
statement which, in sum and substance, confirmed and/or demonstrated that Plaintiff ZION
WILLIAMSON’s decision not return to Duke and/or to collegiate basketball had long been made
and that he did so because he knew and/or had reasons to know that Plaintiff ZION

WILLIAMSON had knowingly, voluntarily and intelligently engaged in acts and/or conduct that

 

rendered him ineligible to return to and/or ineligible to reinstate his “student athlete”

status/eligibility.

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63. That at all relevant times herein mentioned, on or about May 15, 2019, Plaintiff
ZION WILLIAMSON’s stepfather, during the same “Off the Bench” radio show interview,
stated that Plaintiff ZION WILLIAMSON and his family accept how the lottery turned out and
further stated that: “One thing that Zion has always been taught is that you accept the things that
you can’t change. You change the things that you can change.”

64. That on or about May 23, 2019, and at all relevant times herein mentioned, in
addition to Plaintiff ZION WILLIAMSON’s intentional conduct preceding his April 20, 2019
contract with Defendants, Plaintiff ZION WILLIAMSON knew that accepting compensation for
any endorsement deals/opportunities would render him ineligible to return to Duke University
and/or to return to collegiate basketball and/or rescinded his “student-athlete” status. Knowing
the foregoing, Plaintiff ZION WILLIAMSON knowingly, intelligently and voluntarily, upon
information and belief, flew with his mother and stepfather to the State of California and
performed in the nationally televised commercial obtained, negotiated and secured by
Defendants for Plaintiff ZION WILLIAMSON, for which Plaintiff received compensation.

65. That on or about May 23, 2019, at the request of Plaintiff ZION WILLIAMSON
and his parents, Defendant GINA FORD met with Plaintiff ZION WILLIAMSON’s stepfather,
on behalf of Plaintiff ZION WILLIAMSON, in California and provided him Defendants’
extensive and comprehensive marketing plan that included the numerous multi-million dollar
strategic branding and marketing endorsements and opportunities that Defendants had obtained
for Plaintiff ZION WILLIAMSON with companies/brands including, but not limited to: PUMA,

General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro, Burger

 

King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola), Biosteel and others.

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66. That at all relevant times herein mentioned, after meeting with Defendant GINA
FORD in California on or about May 23, 2019 after Plaintiff ZION WILLIAMSON’S television
commercial shoot, Plaintiff ZION WILLIAMSON and his parents instructed, directed and
further authorized Defendant GINA FORD to continue to discuss and negotiate the terms and
conditions of the contracts for/with PUMA, General Mills (Wheaties), Beats by Dre, Chase
Bank, Harper Collins, Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft Heinz,
Powerade (Coca-Cola), BioSteel and others on Plaintiff's behalf so that same deals could be
finalized with contracts and financial compensation for Plaintiff ZION WILLIAMSON to enter
into and execute.

67. That at all relevant times herein mentioned, at the NBA Draft Lottery on May 14,
2019 and subsequent thereafter, Plaintiff ZION WILLIAMSON, his stepfather and his mother
advised Defendant GINA FORD that Plaintiff and his parents had been contacted by NBA
Agents for the purpose of securing Plaintiff ZION WILLIAMSON a NBA player’s contract with
a NBA Team.

68. That at all relevant times herein mentioned, subsequent to May 14, 2019 and
prior to May 29, 2019, Plaintiff ZION WILLIAMSON, his stepfather and his mother, advised
Defendant GINA FORD that during this time period they would be meeting with and negotiating
a contract with prospective NBA Agents to discuss Plaintiff ZION WILLIAMSON signing a
NBA Agent for his professional NBA career, and, that they only intended to sign with and
needed a NBA Agent as Defendants already were Plaintiff ZION WILLIAMSON’s exclusive

Global Marketing Firm/Agent.

 

69. That at all relevant times herein mentioned and on or about May 23, 2019,

Plaintiff ZION WILLIAMSON, and/or his parents, requested that Defendant GINA FORD

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provide them with a copy of Defendants’ extensive and comprehensive marketing plan that
included the numerous multi-million dollar strategic branding and marketing endorsements and
opportunities that Defendants had obtained for Plaintiff ZION WILLIAMSON with
companies/brands including, but not limited to: PUMA, General Mills (Wheaties), Beats by Dre,
Chase Bank, Harper Collins, Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft
Heinz, Powerade (Coca-Cola), BioSteel and others.

70. That at all relevant times herein mentioned and on or about May 23, 2019,
Plaintiff ZION WILLIAMSON, and/or his parents, told Defendant GINA FORD that the reason
Plaintiff ZION WILLIAMSON wanted a copy of Defendants’ extensive and comprehensive
marketing plan, that included the numerous multi-million dollar strategic branding and marketing
endorsements and opportunities that Defendants had obtained for Plaintiff ZION WILLIAMSON
with companies/brands including, but not limited to: PUMA, General Mills (Wheaties), Beats by
Dre, Chase Bank, Harper Collins, Monster Hydro, Burger King, Mercedes Benz, T-Mobile,
Kraft Heinz, Powerade (Coca-Cola), BioSteel and others, was to, once Plaintiff ZION
WILLIAMSON signs with a NBA Agent, to establish and/or facilitate a direct working
relationship between Plaintiff ZION WILLIAMSON’s NBA Agent and Defendants as Plaintiff
ZION WILLIAMSON’s exclusive Global Marketing Firm/Agent.

71. That at all relevant times herein mentioned, based upon information and belief,
Duke University’s Men’s Basketball Head Coach, Plaintiff ZION WILLIAMSON’S coach while
he played at/for Duke University, was/is represented by and/or was/is associated with CAA.

72. That at all relevant times herein mentioned, based upon information and belief,

 

Duke University’s Men’s Basketball Head Coach, Plaintiff ZION WILLIAMSON’S coach while

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he played at/for Duke University, was/is in a business relationship/business partnership/company
co-ownership with CAA.

73. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already
contracted with Defendants for Defendants to serve and be Plaintiffs exclusive Global
Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, Plaintiff ZION WILLIAMSON and/or his mother and/or stepfather on his behalf, was
contacted by CAA and/or by CAA Agents Austin Brown and/or Lisa Joseph Metelus, and/or by
their agents/servants/employees to meet with CAA, Brown and/or Metelus to discuss and
negotiate CAA’s, Brown’s and/or Metelus’ representation of Plaintiff ZION WILLIAMSON.

7A. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already
contracted with Defendants for Defendants to serve and be Plaintiffs exclusive Global
Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, when Plaintiff ZION WILLIAMSON, his mother and/or stepfather was contacted by
and/or had communications and/or meetings directly and/or indirectly with CAA, Brown and/or
Metelus, CAA, Brown and/or Metelus had actual knowledge, were aware of and/or had reasons
to know that Plaintiff ZION WILLIAMSON had already entered into a contract with Defendant
PRIME SPORTS MAKETING, LLC on April 20, 2019 for Defendants to serve as Plaintiff
ZION WILLIAMSON’s exclusive Marketing and Branding Firm/Agent.

75. That at all relevant times herein mentioned, based upon information and belief,

 

between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already

contracted with Defendants for Defendants to serve and be Plaintiff's exclusive Global

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Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, when Plaintiff ZION WILLIAMSON, his mother and/or stepfather was contacted by
and/or had communications and/or meetings directly and/or indirectly with CAA, Brown and/or
Metelus, CAA, Brown and/or Metelus had actual knowledge, were aware of and/or had reasons
to know that, pursuant to Plaintiff ZION WILLIAMSON’s April 20, 2019 Contract with
Defendant PRIME SPORTS MAKETING, LLC, Defendant GINA FORD was already Plaintiff
ZION WILLIAMSON’ exclusive Global Marketing/Branding/Endorsements Agent.

76. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019 and continuing, while Plaintiff ZION WILLIAMSON
had already contracted with Defendants for Defendants to serve and be Plaintiff's exclusive
Global Marketing Firm/Agent and while Defendants were already performing under said
Contract with Plaintiff, when Plaintiff ZION WILLIAMSON and/or his parents were contacted
by and were communicating with CAA, Brown and/or Metelus, Plaintiff ZION WILLIAMSON
and/or his parents on his behalf, actually informed CAA, Brown and/or Metelus that Plaintiff
ZION WILLIAMSON had already entered into a Contract with Defendants on April 20, 2019 for
Defendants to serve as Plaintiff ZION WILLIAMSON’s exclusive Marketing and Branding
Firm/Agent and that Defendants were performing under said Contract by securing and obtaining
marketing, branding and/or endorsement deals on his behalf.

El That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already

contracted with Defendants for Defendants to serve and be Plaintiff's exclusive Global

 

Marketing Firm/Agent and while Defendants were already performing under said Contract with

Plaintiff, Plaintiff ZION WILLIAMSON and/or his mother and/or stepfather on his behalf,

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actually met with and/or had communications with CAA, Brown and/or Metelus regarding
CAA’s, Brown’s and/or Metelus’ representation of Plaintiff ZION WILLIAMSON.

78. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019 and continuing, while Plaintiff ZION WILLIAMSON
had already contracted with Defendants for Defendants to serve and be Plaintiff's exclusive
Global Marketing Firm/Agent and while Defendants were already performing under said
Contract with Plaintiff, Plaintiff ZION WILLIAMSON and/or his parents on his behalf, actually
met with and/or had communications with CAA, Brown and/or Metelus and provided, and/or
caused to be provided, to CAA, Brown and/or Metelus a copy of the executed
agreement/Contract between Plaintiff ZION WILLIAMSON and Defendants, a copy of the April
20, 2019 Letter of Authorization from Plaintiff ZION WILLIAMSON appointing Defendant
GINA FORD as Plaintiff's ZION WILLIAMSON’s Global Marketing Agent, and, a copy of
Defendants’ extensive and comprehensive marketing plan for Plaintiff that included the
numerous multi-million dollar strategic branding and marketing endorsements and opportunities
that Defendants had obtained for Plaintiff ZION WILLIAMSON with companies/brands
including, but not limited to: PUMA, General Mills (Wheaties), Beats by Dre, Chase Bank,
Harper Collins, Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade
(Coca-Cola), BioSteel and others.

79. That at all relevant times herein mentioned, Defendants’ strategic, comprehensive
and extensive marketing plan for Plaintiff ZION WILLIAMSON, that included the numerous

multi-million dollar strategic branding and marketing endorsements and opportunities that

 

Defendants had obtained for Plaintiff ZION WILLIAMSON with companies/brands including,

but not limited to: PUMA, General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins,

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Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola),
BioSteel and others, was/is/remains the proprietary work product/trade secrets of Defendants
PRIME SPORTS MARKETING, LLC and GINA FORD.

80. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019 and continuing thereafter to present date, CAA,
Brown and/or Metelus, and/or their agents, servants and employees, induced Plaintiff ZION
WILLIAMSON to break/rescind/seek to end/terminate his contract with Defendants, based upon
information and belief, by including, but not limited to:

a. Intentionally, wrongfully and unlawfully undermining the terms and

conditions of the contract between Plaintiff ZION WILLIAMSON and Defendants

PRIME SPORTS MARKETING, LLC and GINA FORD;

b. Intentionally, wrongfully and unlawfully telling/informing/communicating to

Plaintiff ZION WILLIAMSON, and/or to his mother and/or to his stepfather, that CAA,

Brown and/or Metelus are better suited to gorve as Plaintiff ZION WILLIAMSON’S

marketing and branding firm/agent;

Ci Intentionally, wrongfully and unlawfully telling/informing/communicating to

Plaintiff ZION WILLIAMSON, and/or to his mother and/or to his stepfather, that

Defendants PRIME SPORTS MARKETING, LLC and GINA FORD are not capable of

helping Plaintiff ZION WILLIAMSON achieve his objective of becoming an

international and worldwide marketable and rainmaking superstar capable of attracting

both domestic and international/worldwide endorsements and opportunities for Plaintiff

 

ZION WILLIAMSON and/or that Defendants’ representation of Plaintiff would not serve

Plaintiff in achieving same goals and objectives;

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d. Intentionally, wrongfully and unlawfully promising Plaintiff ZION
WILLIAMSON, and/or his parents, that CAA, Brown and/or Metelus will obtain, secure,
negotiate and/or provide Plaintiff with more, better and/or more financially lucrative
marketing, branding and/or endorsement deals and/or opportunities than Defendants
PRIME SPORTS MARKETING, LLC and GINA FORD can/will;

e. Intentionally, wrongfully and unlawfully promising Plaintiff ZION
WILLIAMSON, and/or his parents, that CAA, Brown and/or Metelus will secure a
higher compensation for Plaintiff ZION WILLIAMSON on/for the very same
deals/opportunities/work product that Defendants PRIME SPORTS MARKETING, LLC
and GINA FORD already secured, identified, obtained, negotiated and/or presented to
Plaintiff ZION WILLIAMSON, and/or to his parents, with companies/brands including,
but not limited to: PUMA, General Mills (Wheaties), Beats by Dre, Chase Bank, Harper
Collins, Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade
(Coca-Cola), Biosteel, and others, than the compensation that Defendants did and/or
could obtain on Plaintiff ZION WILLIAMSON’ behalf; and/or

f. Intentionally, wrongfully and unlawfully telling/informing/communicating to
Plaintiff ZION WILLIAMSON, and/or to his mother and/or to his stepfather, that CAA
and/or Brown would not sign Plaintiff ZION WILLIAMSON to a NBA agency contract,
and that CAA and/or Brown would not represent Plaintiff ZION WILLIAMSON as and
for NBA and/or NBA player’s purposes/services, unless Plaintiff ZION WILLIAMSON

breached his April 20, 2019 contract/Agreement with Defendants and signed a contract

 

with CAA for CAA to serve as his exclusive Global Marketing Firm/Agency, for Metelus

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to serve as his exclusive Global Marketing Agent and/or for Defendants to no longer

serve as his exclusive Global Marketing Firm/Agent.

81. That on or about May 30, 2019, and at all relevant times herein mentioned, CAA,
Brown and/or Metelus publicly announced to the world that they had signed Plaintiff ZION
WILLIAMSON to a contract for all purposes including to serve as Plaintiff ZION
WILLIAMSON’s exclusive Global Marketing Firm/Agent.

82. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’S
signing of a contract with CAA, Brown and/or Metelus for all purposes including for CAA,
Brown and/or Metelus to serve as Plaintiff ZION WILLIAMSON’s Global Marketing
Firm/Agent, knowing that Plaintiff ZION WILLIAMSON had already contracted with
Defendants PRIME SPORTS MARKETING, LLC and GINA FORD for Defendants to serve as
Plaintiff's Global Marketing Firm/Agent, was intentional, willful and deliberate, and,
intentionally, willfully and deliberately interfered with, undermined, contradicted and breached
Plaintiff ZION WILLIAMSON’s April 20, 2019 contract with Defendants and with his April 20,
2019 Letter of Authorization appointing Defendant GINA FORD to serve as his exclusive
Global Marketing and Branding Agent and Firm.

83. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s,
and/or his parents’ on his behalf, conduct including, but not limited to: meeting with, negotiating
with, communicating with, providing and/or causing to be provided a copy of Defendants’

extensive marketing/branding plan for Plaintiff ZION WILLIAMSON to CAA, Brown and/or

Metelus, and/or to their agents, servants and/or employees, and Plaintiffs signing

 

with/contracting with CAA, Brown and/or Metelus for them to serve as his exclusive

Marketing/Branding Firm/Agent, was knowingly, intelligently and voluntarily committed by

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Plaintiff ZION WILLIAMSON, was intentional, willful and deliberate, and, was an intentional,
willful and deliberate breach of his April 20, 2019 Contract with Defendants PRIME SPORTS
MARKETING, LLC and GINA FORD.

84, That at all relevant times herein mentioned, Defendants PRIME SPORTS
MARKETING, LLC and GINA FORD learned of the foregoing unlawful breach by Plaintiff
ZION WILLIAMSON, and learned of the foregoing unlawful interference by CAA, Brown
and/or Metelus with Defendants’ April 20, 2019 Contract Plaintiff ZION WILLIAMSON,
from/by CAA’s, Brown’s and/or Metelus’ public announcement to the world that they had
signed Plaintiff ZION WILLIAMSON to a contract for all purposes including to serve as
Plaintiff ZION WILLIAMSON’s Global Marketing Firm/Agent.

85. That on or about May 31, 2019, one day after CAA, Brown and/or Metelus
publicly announced to the world that they had Plaintiff ZION WILLIAMSON to a contract for
all purposes including to serve as Plaintiff ZION WILLIAMSON’s Global Marketing
Firm/Agent in an intentional and actual breach of and interference with the April 20, 2019
Contract between Plaintiff ZION WILLIAMSON and Defendants PRIME SPORTS
MARKETING, LLC and GINA FORD, at 9:17pm Metelus, on her behalf and on behalf of CAA
and/or Brown, texted Defendant GINA FORD requesting to speak with Defendant GINA FORD,
writing:

“Hi Gina. Hope all is well. Wanted to reach out and talk about
Zion/CAA. Let me know if you have a few minutes to talk tonight or if tomorrow
works.”

Annexed hereto and made a part hereof as Exhibit “G” is a copy of Metelus’s
9:17pm text to Defendant Gina Ford.

 

86. That at all relevant times herein mentioned, the foregoing May 31, 2019 text by

Metelus, made on her behalf and on the behalf of CAA and/or Brown, demonstrates and is an

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admission by CAA, Brown and/or Metelus that they knew of the April 20, 2019 Contract
between Plaintiff ZION WILLIAMSON and Defendants PRIME SPORTS MARKETING, LLC
and GINA FORD.

87. That at all relevant times herein mentioned, the foregoing May 31, 2019 text by
Metelus, made on her behalf and on the behalf of CAA and/or Brown, is an admission that CAA,
Brown and/or Metelus knowingly, intentionally, willfully, unlawfully and deliberately induced
Plaintiff ZION WILLIAMSON to breach his April 20, 2019 Contract with Defendants and that
they knowingly, intentionally, willfully, unlawfully and deliberately interfered with same April
20, 2019 Contract between Defendants and Plaintiff ZION WILLIAMSON.

88. That at all relevant times herein mentioned, the foregoing May 31, 2019 text by
Metelus, made on her behalf and on the behalf of CAA and/or Brown, demonstrates that Plaintiff
ZION WILLIAMSON intentionally, knowingly, intelligently and voluntarily breached his April
20, 2019 Contract with Defendants and unlawfully breached same by entering into contract with
CAA, Brown and/or Metelus for CAA, Brown and/or Metelus to serve as Plaintiff ZION
WILLIAMSON’s exclusive Global Marketing Firm/Agent.

89. That at all relevant times herein mentioned, on or about June 3, 2019, Defendant
GINA FORD received an email communication from EA Entertainment, Inc./EA Sports -- one
of the companies/brands which Defendants identified, obtained, secured, negotiated and/or
presented as an endorsement/marketing/branding deal/opportunity on Plaintiff ZION
WILLIAMSON’s behalf, which was amongst those listed in the Defendants’ strategic and

comprehensive marketing plan/work product for Plaintiff ZION WILLIAMSON, which Plaintiff

 

ZION WILLIAMSON requested and/or caused to be requested of Defendants for Defendants to

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provide Plaintiff ZION WILLIAMSON a copy of same, which, Defendants did provide on or
about May 23, 2019.

90. That at all relevant times herein mentioned, in same June 3, 2019 email
communication to Defendant GINA FORD, EA Entertainment, Inc./EA Sports wrote:

“Hello Gina,

I hope this finds you well.

The representative we work with regularly at CAA called to let us know
that they have exclusive marketing rights for Zion. Due to this, we are _ kindly
rescinding the offer we made through you on May 13, 2019, and will forward an
offer to the CAA representative.

We will let CAA know that the offer was originally sent to you and that
we have formally rescinded this.

I want to thank you for all your efforts and discussions that you have had
with Zion on our behalf.

We are hopeful that we will be working with him this year. Should you
have any questions please let me know.

Best,

Marci

 

Marci Galea EA Entertainment, Inc....”
Annexed hereto and made a part hereof as Exhibit “H’” is a copy of the June 3,

2019 email from EA Entertainment, Inc./EA Sports to Defendant Gina Ford.

91, That at all relevant times herein mentioned, on or about June 4, 2019, Defendant

GINA FORD received an email communication regarding Biosteel -- one of the
companies/brands which Defendants identified, obtained, secured, negotiated and/or presented as

an endorsement/marketing/branding deal/opportunity on Plaintiff ZION WILLIAMSON’ behalf

which was amongst those listed in the Defendants’ strategic and comprehensive marketing

plan/work product for Plaintiff ZION WILLIAMSON, which Plaintiff ZION WILLIAMSON
~——~requested and/or caused to be requested of Defendants for Defendants to provide Plaintiff ZION

WILLIAMSON a copy of same, which, Defendant did provide on or about May 23, 2019.

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92. That at all relevant times herein mentioned, in same June 4, 2019 email
communication to Defendant GINA FORD regarding Biosteel, is an email that Biosteel received
on June 4, 2019 from a Matthew Lacks of/from CAA, which was forwarded to Defendant GINA
FORD, which stated:

“John:

Hope you’re well!

As I am sure you’ve heard, CAA has signed Zion Williamson exclusively
in all areas of representation. We are being very selective in approaching a few
brands we feel might make sense for Zion and wanted to see if Biosteel is
interested. We are having conversations in the category and hope to finalize a
partnership by the week of the NBA draft. If you are interested, let’s connect in
the next day or so.

Best,

Matt

Matthew Lacks CAA Sports...”

Annexed hereto and made a part hereof as Exhibit “I” is a copy of the June 4,
2019 email from Biosteel to Defendant Gina Ford forwarding the June 4, 2019
email from Matthew Lacks and CAA to Biosteel.

93. That at all relevant times herein mentioned, the foregoing emails of June 3, 2019
and June 4, 2019, respectively, demonstrate and are actual acts by Plaintiff ZION
WILLIAMSON, and by CAA, Brown and/or Metelus on behalf of Plaintiff ZION
WILLIAMSON, to breach, interfere with and undermine Defendants’ April 20, 2019 Contract
with Plaintiff ZION WILLIAMSON and to unlawfully use, utilize, usurp and/or unlawfully
take/misappropriate the work product/trade secrets of Defendants PRIME SPORTS

MARKETING, LLC and GINA FORD.

94. That at all relevant times herein mentioned, on or about June 4, 2019, Defendants

PRIME SPORTS MARKETING, LLC and GINA FORD, by and through their legal counsel,

served Plaintiff ZION WILLIAMSON and CAA, Brown and Metelus, who are all represented by

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the very same legal counsel, with a correspondence in which Defendants, among other
advisements, advised that Plaintiff ZION WILLIAMSON, CAA, Brown and/or Metelus
unlawfully breached and interfered with Defendants’ April 20, 2019 Contract with Plaintiff
ZION WILLIAMSON and, relying on the agreed upon terms and conditions of same April 20,
2019 Contract where the parties knowingly, intentionally and voluntarily agreed that the laws of
the State of Florida governed the terms and conditions of same Contract, Defendants rejected any
and all claims by Plaintiff ZION WILLIAMSON, CAA, Brown and/or Metelus that the April 20,
2019 contract is void/voidable, and, further rejected any claims that North Carolina’s UAAA
applies to any dispute between the parties of the April 20, 2019 Contract. Annexed hereto and
made a part hereof as Exhibit “J” is a copy of Defendants’ June 4, 2019 correspondence to
Plaintiff, CAA, Brown and Metelus.

95. That at all relevant times herein mentioned, in same June 4, 2019 correspondence
to Plaintiff, Defendants referred Plaintiff to the further fact, of which Plaintiff was already fully
aware, that Plaintiff ZION WILLIAMSON, in furtherance of the April 20, 2019 Contract,
already performed (for which he _ already received compensation) one
endorsement/marketing/branding deal/opportunity which Defendants had successfully identified,
obtained, negotiated and secured for Plaintiff ZION WILLIAMSON. See Exhibit “I”, supra.

96. That at all relevant times herein mentioned, on or about June 5, 2019, Defendants
PRIME SPORTS MARKETING, LLC and GINA FORD, by and through their legal counsel,
served Plaintiff ZION WILLIAMSON and CAA, Brown and Metelus, who are all represented by

the very same legal counsel, with a Cease and Desist advising Plaintiff, CAA, Brown and

 

Metelus, among other advisements, that CAA, Brown and/or Metelus knew of the valid contract

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between Plaintiff ZION WILLIAMSON and Defendants PRIME SPORTS MARKETING, LLC
and GINA FORD, and despite knowing same, have unlawfully interfered with and undermined:
““’..deals, prospects and relationships which represent our Clients’ work
product to date on behalf of Mr. Williamson...your contacts of, and
representations to, persons and entities with whom our Clients have established
relationships and have pending deals and/or deal opportunities (i.e., the work
product, personal and proprietary business information of our Clients and its
unauthorized use by you) constitute willful, intentional and tortuous interference
and exhibits conscious disregard for law and/or the rights of our Clients, your
actions also severely injure the character and reputation of our Clients in the
marketplace community where they conduct business...”

Annexed hereto and made a part hereof as Exhibit “K’”’, is a copy of Defendants’
June 5, 2019 Cease and Desist correspondence to CAA, Brown and Metelus.

97. That on or about June 20, 2019, Plaintiff ZION WILLIAMSON was the No. 1
Draft Pick of/for the 2019 NBA Draft during which he was drafted by the New Orleans Pelicans
and became a NBA player.

98. That subsequent to Plaintiff ZION WILLIAMSON’s breach of his valid contract
with Defendants PRIME SPORTS MARKETING, LLC and GINA FORD and his signing of a
contract with CAA, Brown and Metelus to serve as Plaintiffs exclusive Global Marketing
Agent/Firm and continuing to present date, Plaintiff ZION WILLIAMSON and CAA, Brown
and/or Metelus, upon information and belief, entered into and executed contracts for, and were
compensated for, marketing, branding and endorsement deals including, but not limited to,
marketing, branding and endorsement deals and/or opportunities that Defendants PRIME
SPORTS MARKETING, LLC and GINA FORD had identified, negotiated and secured for

Plaintiff ZION WILLIAMSON.

 

99. That subsequent to Plaintiff ZION WILLIAMSON’s breach of his valid contract
with Defendants PRIME SPORTS MARKETING, LLC and GINA FORD and his signing of a

contract with CAA, Brown and Metelus to serve as Plaintiff's exclusive Global Marketing

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Agent/Firm and continuing to present date, Plaintiff ZION WILLIAMSON and CAA, Brown
and/or Metelus, upon information and belief, entered into and executed contracts for, and were
compensated for, marketing, branding and endorsement deals including, but not limited to,
marketing, branding and endorsement deals and/or opportunities that Defendants PRIME
SPORTS MARKETING, LLC had identified, negotiated and secured for Plaintiff ZION
WILLIAMSON but, to date, have intentionally failed to compensate Defendants for same and, as
such, to date Plaintiff ZION WILLIAMSON and CAA, Brown and Metelus have been and
continue to be unjustly enriched therefrom.

100. That as a direct and proximate cause of Plaintiff ZION WILLIAMSON’s conduct,
acts, omissions and/or failures, individually and collectively with CAA, Brown and Metelus,
including his intentional breach of his April 20, 2019 Contract with Defendants and his unjust
enrichment from same, Defendants PRIME SPORTS MARKETING, LLC and GINA FORD
have suffered damages and injuries including, but not limited to: loss of income from secured
deals/endorsement and branding deals/opportunities, loss of income from derivative
endorsement/branding deals/opportunities, loss income from lost royalties, loss income from loss
of ownership rights, loss of income from other employment and/or marketing contracts with
other players and/or athletes, damage to business character and reputation and related/other
damages and injuries herein.

AS AND FOR A FIRST COUNTERCLAIM AGAINST
PLAINTIFF ZION WILLIAMSON

BREACH OF CONTRACT
101. Defendants s repeat, re-allege, reiterate and reassert each and every fact and each
and every allegation contained in paragraphs of the Defendants’ Counterclaims numbered “1”

through “100” with the same force and effect as if more fully set forth at length herein.

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102. That on or about April 20, 2019, and at all relevant times herein mentioned,
Plaintiff ZION WILLIAMSON, as an adult, knowingly, voluntarily and intelligently entered into
a Consulting and Joint Marketing and Branding Agreement with Defendants PRIME SPORTS
MARKETING, LLC and GINA FORD to serve as Plaintiff's exclusive marketing, branding and
endorsement consultant for a term of five (5) years. See Exhibit “B”, supra.

103. That at all relevant times herein mentioned, in addition to other terms and
conditions of the April 20, 2019 Consulting and Joint Marketing and Branding
Agreement/contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of
his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and
agreed that Defendant PRIME SPORTS MARKETING, LLC, though and by Defendant GINA
FORD, would be “...1.6 Giving advice on the building of client’s brand domestically and
internationally...” to Plaintiff. See Exhibit “B”, supra.

104. That at all relevant times herein mentioned, in addition to other terms and
conditions of the April 20, 2019 Consulting and Joint Marketing and Branding
Agreement/contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of
his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and
agreed that, in exchange for the marketing and branding services provided by the Defendants,
Plaintiff ZION WILLIAMSON agreed to pay/compensate Defendants with Fifteen percent
(15%) of the gross value of any compensation received by him from/by any and all of the
branding/marketing/endorsement deals identified, sought out and/or obtained by Defendants on

Plaintiff's behalf during the tenure of the Agreement and further agreed to pay Defendants the

 

same 15% of his gross earnings in perpetuity for all compensation/consideration/earnings made

and received by him including after the expiration or termination of the Agreement/contract, that

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are/were derived from any and all engagements, contracts and/or agreement introduced by
Defendants and/or entered into and/or substantially negotiated by Defendants on Plaintiff ZION
WILLIAMSON’s behalf. See Exhibit “B”, supra.

105. That on or about April 20, 2019, and at all relevant times herein mentioned,
Plaintiff ZION WILLIAMSON, as an adult, knowingly, voluntarily and intelligently agreed in in
the April 20, 2019, contract that, Defendants PRIME SPORTS MARKETING, LLC and GINA
FORD would further be entitled to compensation into perpetuity for all
compensation/consideration/earnings made and received by Plaintiff ZION WILLIAMSON,
including after the expiration or termination of the Agreement/contract that are/were derived
from any and all engagements, contracts and/or agreement introduced by Defendants, and/or
entered into and/or substantially negotiated by Defendants on Plaintiff ZION WILLIAMSON’s
behalf,. See Exhibit “B”, supra.

106. That at all relevant times herein mentioned, in addition to other terms and
conditions of the April 20, 2019 | Consulting and Joint Marketing and Branding
Agreement/contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of
his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and
agreed and covenanted, pursuant to Paragraph 10 of the April 20, 2019 Contract/Agreement with
Defendants, “...to keep, protect and hold confidential all information shared between the parties
that is related to the matters of this Agreement. Such information includes but is not limited to,
any trade secrets, business plans, strategies ... concerning the Client...” See Exhibit “B”, supra.

107. That at all relevant times herein mentioned, in addition to other terms and

 

conditions of the April 20, 2019 Consulting and Joint Marketing and Branding

Agreement/Contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of

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his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and
agreed that termination of the April 20, 2019 Consulting and Joint Marketing and Branding
Agreement/Contract by any party to same Agreement/Contract can only be upon thirty (30) days
clear written notice to the other party and can only be made for cause. See id.

108. That at all relevant times herein mentioned, in addition to other terms and
conditions of the April 20, 2019 Consulting and Joint Marketing and Branding
Agreement/Contract, Plaintiff ZION WILLIAMSON, in the presence of and with the advice of
his mother and stepfather, knowingly, intelligently and voluntarily discussed, negotiated and
agreed that the validity, interpretation and performance of the April 20, 2019
Contract/Agreement is controlled by and construed under the laws of the State of Florida. See
id.

109. That on or about April 20, 2019, and at all relevant times herein mentioned, in
furtherance of same Consulting and Joint Marketing and Branding Agreement/Contract, Plaintiff
ZION WILLIAMSON knowingly, voluntarily and intelligently appointed Dicfondant GINA
FORD, by Letter of Authorization dated April 20, 2019, as his exclusive Global Marketing
Agent. See Exhibit “C”’, supra.

110. That at all relevant times herein mentioned, upon information and belief, in
furtherance of the duly entered and executed Consulting and Joint Marketing and Branding
Agreement/Contract, Defendants performed the contracted services and successfully identified,
sought out, obtained and/or negotiated on Plaintiff ZION WILLIAMSON’s behalf, numerous

potential multi-million dollar endorsement/branding deals with including, but not limited to:

 

PUMA, General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro,

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Burger King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola), Biosteel and
others.

111. That at all relevant times herein mentioned, upon information and belief, in
furtherance of the duly entered and executed Consulting and Joint Marketing and Branding
Agreement/Contract, Defendants performed the contracted services and successfully identified,
sought out, obtained and/or negotiated on Plaintiff ZION WILLIAMSON’s behalf, numerous
potential and actual multi-million dollar endorsement/branding deals/contracts, to wit:

a. Defendants successfully negotiated with actual deals/endorsement on Plaintiff
ZION WILLIAMSON’s behalf with: Activision Publishing/Call of Duty Video Game Franchise;
NBA Live/EA Sports; Fanatics Authentic & Panini America (Sports Memorabilia and Trading
Card Brand); NBA 2K and BioSteel -- all of which Defendants, in performance of the April 20,
2019 Contract/Agreement with Plaintiff ZION WILLIAMSON, had presented to Plaintiff ZION
WILLIAMSON for acceptance; and

b. Defendants using Defendants’ unique skills set, trade secrets, work product and/or
business relationships sought out and identified, contacted, discussed and was engaged in
ongoing fruitful negotiations on Plaintiff ZION WILLIAMSON’S behalf for additional multi-
million dollar endorsement/branding deals with companies including, but not limited to: PUMA,
General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro, Burger
King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola) and others.

112. That at all relevant times herein mentioned, upon information and belief, in

furtherance of the duly entered and executed Consulting and Joint Marketing and Branding

 

Agreement/Contract, Defendants secured for Plaintiff ZION WILLIAMSON a potential

shoe/sneaker deal by which he would not only have his own sneaker/shoe, but would, based

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upon Defendants’ trade secrets, business relationships and work product, obtain a shoe/sneaker
deal that would revolutionize the professional athlete shoe market, particularly for professional
basketball players.

113. That at all relevant times herein mentioned, upon information and belief, on or
about April 28, 2019, Defendant GINA FORD, with Plaintiff ZION WILLIAMSON’s mother
and stepfather at Plaintiff ZION WILLIAMSON’S direction, permission, authorization and full
knowledge, met with the representative of/for the foregoing potential shoe/sneaker company deal
during which Defendant GINA FORD successfully secured, obtained and negotiated same to
include, but not be limited to, monetary compensation of an immediate One Hundred Million
Dollars ($100,000,000.00) to be tendered to Plaintiff ZION WILLIAMSON upon execution of
the contract for same shoe/sneaker company deal.

114. That at all relevant times herein mentioned, in furtherance of, in furtherance of the
duly entered and executed Consulting and Joint Marketing and Branding Agreement/Contract,
Defendants reviewed and negotiated the contract terms for Plaintiff ZION WILLIAMSON,
which Plaintiff ZION WILLIAMSON accepted and agreed to perform, for a photo shoot and
interview with Slam Magazine whereby Plaintiff ZION WILLIAMSON was featured on the
cover of Slam Magazine with a feature spread and interview for/in same Magazine.

115. That at all relevant times herein mentioned, in furtherance of, in furtherance of the
duly entered and executed Consulting and Joint Marketing and Branding Agreement/Contract,
Defendants reviewed, further negotiated and established the terms for Plaintiff ZION

WILLIAMSON to be featured on the cover of Slam Magazine and to be interviewed by Slam

 

Magazine on the campus of Duke University which Plaintiff ZION WILLIAMSON did, in fact,

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accept and agreed to, and, did in fact appear for and was featured in/interviewed by Slam
Magazine.

116. That on or about April 28, 2019, and at all relevant times herein mentioned,
Plaintiff ZION WILLIAMSON appeared at Duke University with Defendant GINA FORD and
performed the foregoing Slam Magazine photo shoot and feature spread and interview. See
Exhibit “D”, supra.

117. That on or about April 28, 2019, and at all relevant times herein mentioned, on the
campus of Duke University and during the time period of the Slam Magazine photo shoot,
Plaintiff ZION WILLIAMSON, upon information and belief, introduced Defendant GINA
FORD, as well as Defendant GINA FORD’S business partner, to Duke University’s men’s
basketball team Head Coach who was Plaintiff ZION WILLIAMSON’s head basketball coach at
Duke University.

118. That after the April 28, 2019 Slam Magazine photo shoot and on or about April
29, 2019, Plaintiff ZION WILLIAMSON, with his mother and stepfather, again invited
Defendant GINA FORD to Plaintiff ZION WILLIAMSON’s then residence and discussed the
strategic vision and future marketing /endorsement opportunities that Defendants were in the
midst of securing offers to present to Plaintiff ZION WILLIAMSON. During this meeting,
Defendant GINA FORD provided and/or caused to be provided to Plaintiff ZION
WILLIAMSON, and his parents on Plaintiff's behalf, with Defendants’ strategic marketing and
branding ideas/deals/opportunities/plans to make Plaintiff ZION WILLIAMSON an international

and worldwide marketable and rainmaking superstar and to attract both domestic and

 

international/worldwide endorsements and opportunities for Plaintiff ZION WILLIAMSON.

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119. That, at all relevant times herein mentioned, in furtherance of the duly entered and
executed Consulting and Joint Marketing and Branding Agreement/Contract, Defendants secured
and obtained for Plaintiff ZION WILLIAMSON, a nationally televised commercial for
compensation which Plaintiff knowingly, intelligently and voluntarily, and with the advice of his
mother and stepfather, accepted and agreed to perform for which Plaintiff ZION WILLIAMSON
knowingly, intelligently and voluntarily entered into and executed a contract.

120. That on or about May 23, 2019, and at all relevant times herein mentioned, in
furtherance of his performance of his April 20, 2019 Contract with Defendants, Plaintiff ZION
WILLIAMSON, upon information and belief, knowingly, intelligently and voluntarily flew with
his mother and stepfather to the State of California and performed in the nationally televised
commercial that was identified, obtained, negotiated and secured by Defendants for Plaintiff
ZION WILLIAMSON for which he received compensation.

121. That on or about May 14, 2019, and at all relevant times herein mentioned,
Plaintiff ZION WILLIAMSON and his parents invited and requested that Defendant GINA
FORD appear with them at the 2019 NBA Draft Lottery in Chicago, Illinois and that she appear
at same with Plaintiff ZION WILLIAMSON as his exclusive Global Marketing Agent at/for
which, in fact, Defendant GINA FORD did appear; same lottery which revealed the team that
would have the number one draft pick which, based on all projections at that time, would be the
team that Plaintiff ZION WILLIAMSON would contract with as Plaintiff was projected and, in
fact, actually was, the No. 1 pick for the 2019 NBA Draft that later occurred on June 20, 2019.

122. That on or about May 23, 2019, at the request of Plaintiff ZION WILLIAMSON

 

and his parents, Defendant GINA FORD met with Plaintiff ZION WILLIAMSON’s stepfather

on Plaintiffs behalf in California and provided him with Defendants’ extensive and

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comprehensive marketing plan/work product/trade secrets that included the numerous multi-
million dollar strategic branding and marketing endorsements, deals, contracts and/or
opportunities that Defendants had obtained for Plaintiff ZION WILLIAMSON with
companies/brands including, but not limited to: PUMA, General Mills (Wheaties), Beats by Dre,
Chase Bank, Harper Collins, Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft
Heinz, Powerade (Coca-Cola), Biosteel and others.

123. That at all relevant times herein mentioned, after meeting with Defendant GINA
FORD in California on or about May 23, 2019 after Plaintiff ZION WILLIAMSON’S television
commercial shoot, Plaintiff ZION WILLIAMSON and his parents on Plaintiffs behalf
instructed, directed and further authorized Defendant GINA FORD to continue to discuss and
negotiate the terms and conditions of the contracts, on Plaintiff's behalf, for/with: PUMA,
General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro, Burger
King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola), BioSteel so that same
deals could be finalized with contracts and financial compensation for Plaintiff ZION
WILLIAMSON to enter into and execute.

124. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already
contracted with Defendants for Defendants to serve and be Plaintiffs exclusive Global
Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, Plaintiff ZION WILLIAMSON and his mother and/or stepfather on Plaintiffs behalf

were contacted by CAA, Brown and/or Metelus, and/or by their agents, servants and employees

 

to meet with them to discuss and negotiate CAA’s, Brown’s and/or Metelus’ representation of

Plaintiff ZION WILLIAMSON.

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125. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already
contracted with Defendants for Defendants to serve and be Plaintiffs exclusive Global
Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, and when Plaintiff ZION WILLIAMSON and his mother and/or stepfather on his
behalf were contacted and/or had communications, directly and/or indirectly, with CAA, Brown
and/or Metelus and/or with their agents, servants and employees, CAA, Brown and/or Metelus
had actual knowledge, were aware of and/or had reasons to know that Plaintiff ZION
WILLIAMSON had entered into a contract with Defendants on April 20, 2019 for Defendants to
serve as Plaintiff ZION WILLIAMSON’s exclusive Global Marketing and Branding
Firm/A gent.

126. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already
contracted with Defendants for Defendants to serve and be Plaintiff's exclusive Global
Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, and, when Plaintiff ZION WILLIAMSON and his mother and/or stepfather on his
behalf were contacted by CAA, Brown and/or Metelus, Plaintiff ZION WILLIAMSON and/or
his parents on his behalf actually informed CAA, Brown and/or Metelus that Plaintiff ZION
WILLIAMSON had entered into a contract with Defendants on April 20, 2019 for Defendants to
serve as Plaintiff's exclusive Global Marketing and Branding Firm/Agent.

127. That at all relevant times herein mentioned, based upon information and belief,

 

between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already

contracted with Defendants for Defendants to serve and be Plaintiff's exclusive Global

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Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, Plaintiff ZION WILLIAMSON and/or his mother and/or stepfather on his behalf
actually met with and/or had communications with CAA, Brown and/or Metelus in furtherance
of entering into a contract with CAA, Brown and/or Metelus and in furtherance of breaching
Plaintiff's contract with Defendants herein.

128. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already
contracted with Defendants for Defendants to serve and be Plaintiff's exclusive Global
Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, and when Plaintiff ZION WILLIAMSON and/or his parents on his behalf actually met
with and/or had communications with CAA, Brown and/or Metelus, Plaintiff ZION
WILLIAMSON and/or his parents on his behalf provided and/or caused to be provided to CAA,
Brown and/or Metelus a copy of the April 20, 2019 Contract between Plaintiff and Defendants, a
copy of the April 20, 2019 Letter of Authorization from Plaintiff ZION WILLIAMSON
appointing Defendant GINA FORD as Plaintiff ZION WILLIAMSON’s exclusive Global
Marketing Agent, and, a copy of Defendants’ extensive and comprehensive strategic marketing
plan/trade secrets/work product that included the numerous multi-million dollar strategic
branding and marketing endorsements, deals, contracts and/or opportunities that Defendants had
obtained for Plaintiff ZION WILLIAMSON with companies/brands including, but not limited to:
PUMA, General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro,

Burger King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola), BioSteel and

 

others.

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129. That on or about May 30, 2019, and at all relevant times herein mentioned, CAA,
Brown and/or Metelus publicly announced to the world that they had signed Plaintiff ZION
WILLIAMSON to a contract for all purposes including to serve as Plaintiff ZION
WILLIAMSON’s exclusive Global Marketing Firm/Agent.

130. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’S
signing of a contract with CAA, Brown and/or Metelus for all purposes including for CAA,
Brown and/or Metelus to serve as Plaintiff ZION WILLIAMSON’s Global Marketing
Firm/Agent, knowing that Plaintiff ZION WILLIAMSON had already contracted with
Defendants PRIME SPORTS MARKETING, LLC and GINA FORD for Defendants to serve as
Plaintiff's Global Marketing Firm/Agent, was intentional, willful and deliberate, and,
intentionally, willfully and deliberately interfered with, undermined, contradicted and breached
Plaintiff ZION WILLIAMSON’s April 20, 2019 contract with Defendants and with his April 20,
2019 Letter of Authorization appointing Defendant GINA FORD to serve as his exclusive
Global Marketing and Branding Agent and Firm.

131. That at all relevant times herein mentioned, based upon information and belief,
Plaintiff ZION WILLIAMSON has refused to perform and/or comply with the terms and
conditions of the Contract that Plaintiff ZION WILLIAMSON knowingly, intelligently and
voluntarily entered into with Defendants on April 20,2 019.

132. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s,
and/or his parents’ on Plaintiffs behalf, conduct/acts/omissions/failures including, but not

limited to: meeting with, negotiating with, communicating with, contracting with and providing

 

and/or causing to be provided a copy of Defendants’ extensive/strategic marketing plan/trade

secrets/work product for Plaintiff ZION WILLIAMSON to CAA, Brown and/or Metelus,

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including contracting with CAA, Brown and/or Metelus to serve as Plaintiff's exclusive global
Marketing/Branding Firm/Agent, was knowingly, intelligently and voluntarily committed by
Plaintiff ZION WILLIAMSON, was intentional, willful and deliberate, and, was an intentional,
willful and deliberate breach of Plaintiff ZION WILLIAMSON’s April 20, 2019 Contract with
Defendants PRIME SPORTS MARKETING, LLC and GINA FORD.

133. That at all relevant times herein mentioned, Defendants PRIME SPORTS
MARKETING, LLC and GINA FORD learned of the foregoing unlawful breach by Plaintiff
ZION WILLIAMSON, and learned of the foregoing unlawful interference by CAA, Brown
and/or Metelus with Defendants’ April 20, 2019 Contract Plaintiff ZION WILLIAMSON,
from/by CAA’s, Brown’s and/or Metelus’ public announcement to the world that they had
signed Plaintiff ZION WILLIAMSON to a contract for all purposes including to serve as
Plaintiff ZION WILLIAMSON’s Global Marketing Firm/Agent.

134. That at all relevant times herein mentioned, on or about June 3, 2019, Defendant
GINA FORD received an email communication from EA Entertainment, Inc./EA Sports -- one
of the companies/brands which Defendants identified, obtained, secured, negotiated and/or
presented to Plaintiff ZION WILLIAMSON as an_ endorsement/marketing/branding
deal/opportunity on Plaintiff's behalf, which was amongst those listed in Defendants’ strategic
and comprehensive marketing plan/work product/trade secrets for Plaintiff which Plaintiff ZION
WILLIAMSON requested and/or caused to be requested of Defendants for Defendants to
provide Plaintiff, and/or Plaintiff's parents on Plaintiffs behalf, with a copy of same which

Defendants did provide to Plaintiff and/or to Plaintiffs parents on his behalf on or about May 23,

 

2019. See Exhibit “H”’, supra.

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135. That at all relevant times herein mentioned, on or about June 4, 2019, Defendant
GINA FORD received an email communication regarding Biosteel -- one of the
companies/brands which Defendants identified, obtained, secured, negotiated and/or presented to
Plaintiff ZION WILLIAMSON as an endorsement/marketing/branding deal/opportunity on
Plaintiff's behalf, which was amongst those listed in Defendants’ strategic and comprehensive
marketing plan/work product/trade secrets for Plaintiff which Plaintiff ZION WILLIAMSON
requested and/or caused to be requested of Defendants for Defendants to provide Plaintiff and/or
to his parents on Plaintiff's behalf with a copy of same which, Defendants did provide on or
about May 23, 2019. See Exhibit “I”, supra.

136. That on or about June 20, 2019, Plaintiff ZION WILLIAMSON was the No. 1
Draft Pick of/for the 2019 NBA Draft during which he was drafted by the New Orleans Pelicans
and became a NBA player.

137. That subsequent to Plaintiff ZION WILLIAMSON ’s breach of his valid contract
with Defendants PRIME SPORTS MARKETING, LLC and GINA FORD and his signing of a
contract with CAA, Brown and Metelus to serve as Plaintiff's exclusive Global Marketing
Agent/Firm, and continuing to present date, Plaintiff ZION WILLIAMSON and CAA, Brown
and/or Metelus, upon information and belief, entered into and executed contracts for, and were
compensated for, marketing, branding and endorsement deals including, but not limited to,
marketing, branding and endorsement deals and/or opportunities that Defendants PRIME
SPORTS MARKETING, LLC and GINA FORD had identified, negotiated and secured for

Plaintiff ZION WILLIAMSON.

 

138. That subsequent to Plaintiff ZION WILLIAMSON’s breach of his valid contract

with Defendants PRIME SPORTS MARKETING, LLC and GINA FORD and his signing of a

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contract with CAA, Brown and Metelus to serve as Plaintiff's exclusive Global Marketing
Agent/Firm and continuing to present date, Plaintiff ZION WILLIAMSON and CAA, Brown
and/or Metelus, upon information and belief, entered into and executed contracts for, and were
compensated for, marketing, branding and endorsement deals including, but not limited to,
marketing, branding and endorsement deals and/or opportunities that Defendants PRIME
SPORTS MARKETING, LLC had identified, negotiated and secured for Plaintiff ZION
WILLIAMSON but, to date, have intentionally failed to compensate Defendants for same and, as
such, to date Plaintiff ZION WILLIAMSON and CAA, Brown and Metelus have been and
continue to be unjustly enriched therefrom.

139. That as a direct and proximate cause of Plaintiff ZION WILLIAMSON’s conduct,
acts, omissions and/or failures, individually and collectively with CAA, Brown and Metelus,
including his intentional breach of his April 20, 2019 Contract with Defendants and his unjust
enrichment from same, Defendants PRIME SPORTS MARKETING, LLC and GINA FORD
have suffered damages and injuries including, but not limited to: loss of income from secured
deals/endorsement and branding deals/opportunities, loss of income from derivative
endorsement/branding deals/opportunities, loss income from lost royalties, loss income from loss
of ownership rights, loss of income from other employment and/or marketing contracts with
other players and/or athletes, damage to business character and reputation and related/other

damages and injuries herein.

 

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AS AND FOR A SECOND COUNTERCLAIM
AGAINST PLAINTIFF ZION WILLIAMSON

FRAUD

140. Defendants repeat, re-allege, reiterate and reassert each and every fact and each
and every allegation contained in paragraphs of Defendants’ Counterclaims numbered ‘1”
through “139” with the same force and effect as if more fully set forth at length herein.

141. That at all relevant times herein mentioned, upon information and belief, in
furtherance of the duly entered and executed Consulting and Joint Marketing and Branding
Agreement/Contract, Defendants performed the contracted services and successfully identified,
sought out, obtained and/or negotiated on Plaintiff ZION WILLIAMSON’s behalf, numerous
potential multi-million dollar endorsement/branding deals with including, but not limited to:
PUMA, General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro,
Burger King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola), Biosteel, and
others.

142. That at all relevant times herein mentioned, upon information and belief, in
furtherance of the duly entered and executed Consulting and Joint Marketing and Branding
Agreement/Contract, Defendants performed the contracted services and successfully identified,
sought out, obtained and/or negotiated on Plaintiff ZION WILLIAMSON’s behalf, numerous
actual deals/endorsements on Plaintiff ZION WILLIAMSON’s behalf with: Activision
Publishing/Call of Duty Video Game Franchise, NBA Live/EA Sports, Fanatics Authentic &
Panini America (Sports Memorabilia and Trading Card Brand), NBA #2K and BioSteel -- all of
which-Defendants, in furtherance-of their-performance-of the April 20,-2019-Contract;.-had

presented to Plaintiff ZION WILLIAMSON, and/or to his parents on his behalf, for acceptance.

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143. That at all relevant times herein mentioned, subsequent to May 14, 2019 and
prior to May 29, 2019, Plaintiff ZION WILLIAMSON and/or his stepfather and his mother on
his behalf advised Defendant GINA FORD that, during this time period, they would be meeting
with and negotiating a contract with prospective NBA Agents to discuss Plaintiff ZION
WILLIAMSON signing a NBA Agent for his professional NBA career. That Plaintiff ZION
WILLIAMSON and/or his parents on Plaintiff's behalf advised Defendant GINA FORD that
they only intended to sign with and only needed a NBA Agent as Defendants already were
Plaintiff ZION WILLIAMSON’s exclusive Global Marketing Firm/Agent.

144. That at all relevant times herein mentioned, that on or about May 23, 2019,
Plaintiff ZION WILLIAMSON, and/or his parents on his behalf, requested that Defendant GINA
FORD provide them with a copy of Defendants’ extensive and comprehensive strategic
marketing plan/work product/trade secrets that included the numerous multi-million dollar
strategic branding and marketing endorsements, deals, contracts and/or opportunities that
Defendants had obtained for Plaintiff ZION WILLIAMSON with companies/brands including,
but not limited to: PUMA, General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins,
Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola),
Biosteel and others.

145. That at all relevant times herein mentioned, that on or about May 23, 2019,
Plaintiff ZION WILLIAMSON, and/or his parents on his behalf, told Defendant GINA FORD
that the reason Plaintiff wanted a copy of Defendants’ extensive and comprehensive strategic

marketing plan/work product/trade secrets that included the numerous multi-million dollar

 

strategic branding and marketing endorsements, deals, contracts and/or opportunities that

Defendants had obtained for Plaintiff ZION WILLIAMSON with companies/brands including,

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but not limited to: PUMA, General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins,
Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola),
Biosteel and others was, once Plaintiff ZION WILLIAMSON signs with a NBA Agent, to
establish and/or facilitate a direct working relationship between Plaintiff ZION WILLIAMSON’s
NBA Agent and Defendants as Plaintiff ZION WILLIAMSON’s exclusive Global Marketing
Firm/Agent.

146. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, Plaintiff ZION WILLIAMSON, his mother and/or
stepfather was contacted by CAA, Brown and/or Metelus, and/or by their agents, servants and
employees, to meet with them to discuss and negotiate their representation of Plaintiff ZION
WILLIAMSON.

147. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already
contracted with Defendants for Defendants to serve and be Plaintiffs exclusive Global
Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, and when Plaintiff ZION WILLIAMSON and his mother and/or stepfather on his
behalf were contacted and/or had communications, directly and/or indirectly, with CAA, Brown
and/or Metelus and/or with their agents, servants and employees, CAA, Brown and/or Metelus
had actual knowledge, were aware of and/or had reasons to know that Plaintiff ZION
WILLIAMSON had entered into a contract with Defendants on April 20, 2019 for Defendants to

serve as Plaintiff ZION WILLIAMSON’s exclusive Global Marketing and Branding

 

Firm/Agent.

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148. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already
contracted with Defendants for Defendants to serve and be Plaintiff's exclusive Global
Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, and, when Plaintiff ZION WILLIAMSON and his mother and/or stepfather on his
behalf were contacted by CAA, Brown and/or Metelus, Plaintiff ZION WILLIAMSON and/or
his parents on his behalf actually informed CAA, Brown and/or Metelus that Plaintiff ZION
WILLIAMSON had entered into a contract with Defendants on April 20, 2019 for Defendants to
serve as Plaintiff's exclusive Global Marketing and Branding Firm/Agent.

149. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already
contracted with Defendants for Defendants to serve and be Plaintiff's exclusive Global
Marketing Firm/Agent and while Defendants were already performing under said Contract with
Plaintiff, Plaintiff ZION WILLIAMSON and/or his mother and/or stepfather on his behalf
actually met with and/or had communications with CAA, Brown and/or Metelus in furtherance
of entering into a contract with CAA, Brown and/or Metelus and in furtherance of breaching
Plaintiff's contract with Defendants herein.

150. That at all relevant times herein mentioned, based upon information and belief,
between April 20, 2019 and May 29, 2019, while Plaintiff ZION WILLIAMSON had already
contracted with Defendants for Defendants to serve and be Plaintiffs exclusive Global

Marketing Firm/Agent and while Defendants were already performing under said Contract with

 

Plaintiff, and when Plaintiff ZION WILLIAMSON and/or his parents on his behalf actually met

with and/or had communications with CAA, Brown and/or Metelus, Plaintiff ZION

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WILLIAMSON and/or his parents on his behalf provided and/or caused to be provided to CAA,
Brown and/or Metelus a copy of the April 20, 2019 Contract between Plaintiff and Defendants, a
copy of the April 20, 2019 Letter of Authorization from Plaintiff ZION WILLIAMSON
appointing Defendant GINA FORD as Plaintiff ZION WILLIAMSON’s exclusive Global
Marketing Agent, and, a copy of Defendants’ extensive and comprehensive strategic marketing
plan/trade secrets/work product that included the numerous multi-million dollar strategic
branding and marketing endorsements, deals, contracts and/or opportunities that Defendants had
obtained for Plaintiff ZION WILLIAMSON with companies/brands including, but not limited to:
PUMA, General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro,
Burger King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola), BioSteel and
others.

151. That at all relevant times herein mentioned, when Plaintiff ZION WILIAMSON,
and/or his parents on his behalf, made and/or caused to be made, the representation to Defendant
GINA FORD that he was requesting that Defendants provide him with a copy of their strategic
marketing plan/work product/trade secrets, that included numerous multi-million dollar
deals/opportunities/contracts on his behalf, to establish and/or facilitate a direct working
relationship between Plaintiff ZION WILLIAMSON’s NBA Agent and Defendants as his
exclusive Global Marketing Firm/Agent, Plaintiff ZION WILLIAMSON, and/or his parents on
his behalf, made and/or caused the foregoing representation to be made to Defendants to induce
Defendants to provide said marketing plan/trade secrets to Plaintiff.

152. That at all relevant times herein mentioned, when Plaintiff ZION WILIAMSON,

 

and/or his parents on his behalf, made and/or caused to be mad, the foregoing representation to

Defendant GINA FORD that he was requesting that Defendants provide him with a copy of their

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strategic marketing plan/trade secrets and when Plaintiff and/or his parents on his behalf made
such representation knowing that his/their stated reason/intent that he/they told to Defendant
GINA FORD was false, misleading and untrue and that his/their true intentions, based upon
information and belief, was to provide same to CAA, Brown and/or Metelus in furtherance of
Plaintiff's contract with them for them to serve, instead of Defendants, as Plaintiff's exclusive
Global Marketing/Branding Firm/Agent, Plaintiff ZION WILLIAMSON further breached the
valid April 20, 2019 Contract with Defendants as Plaintiff had breached his agreement and duty
to: “...to keep, protect and hold confidential all information shared between the parties that is
related to the matters of this Agreement. Such information includes but is not limited to, any
trade secrets, business plans, strategies ... concerning the Client...” See Exhibit “B”, supra.

153. That at all relevant times herein mentioned, Plaintiff's true intentions in
fraudulently inducing Defendants to provide him with a copy of Defendants’ strategic marketing
plan/work  product/trade secrets that included numerous’ multi-million dollar
deals/opportunities/contracts on his behalf, was to fraudulently and unlawfully give same to
CAA, Brown and/or Metelus for them to take over and/or finalize the numerous multi-million
dollar endorsement/marketing/branding deals, contracts and/or opportunities that Defendants had
already identified, secured, obtained and/or negotiated on Plaintiff ZION WILLIAMSON’s
behalf.

154. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
foregoing stated representation(s) to Defendants to induce Defendants to provide him and/or

caused to be provided to him, with a copy of their strategic marketing plan/work product/trade

 

secrets on Plaintiffs behalf, was a material representation upon which Defendants relied, to their

detriment, and by which Defendants were induced to actually providing and/or causing to be

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provided to Plaintiff ZION WILLIAMSON, a copy of Defendants’ marketing plan/work
product/trade secrets which, in fact, Defendants did provide to Plaintiff.

155. That at all relevant times herein mentioned, Plaintiff ZION WILIAMSON and/or
his parents on his behalf, based upon information and belief, provided and/or caused to be
provided, a copy of Defendants’ strategic marketing plan/trade secrets that included numerous
multi-million dollar endorsement/marketing/branding deals, contracts and opportunities to CAA,
Brown and/or Metelus in furtherance of Plaintiff ZION WILLIAMSON’S contract with CAA,
Brown and/or Metelus for them to serve, instead of Defendants, as Plaintiff's exclusive Global
Marketing/Branding Firm/Agent, as well as, in furtherance of Plaintiff's breach of his April 20,
2019 Contract with Defendants and in furtherance of instructing CAA, Brown and/or Metelus to
take over and/or finalize the numerous multi-million dollar endorsement/marketing/branding
deals, contracts and/or opportunities that Defendants had already identified, secured, obtained
and/or negotiated on Plaintiff ZIONWILLIAMSON’s behalf.

159. That at all relevant times herein mentioned, Defendants’ marketing plan/trade
secrets/work product on behalf of Plaintiff ZION WILLIAMSON that included numerous multi-
million deals, contracts and/or opportunities on Plaintiff's behalf, was and remains to be
Defendants’ work product, business plan, marketing plan and/or trade secrets and, at all relevant
times herein mentioned, are proprietary and protected proprietary information/trade secrets to
Defendants herein.

160. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s

foregoing conduct was fraudulent and was in breach of the April 20, 2019 Contract with

 

Defendants.

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161. That subsequent to Plaintiff ZION WILLIAMSON’s breach of his valid contract
with Defendants PRIME SPORTS MARKETING, LLC and GINA FORD and his signing of a
contract with CAA, Brown and Metelus to serve as Plaintiff's exclusive Global Marketing
Agent/Firm, and continuing to present date, Plaintiff ZION WILLIAMSON and CAA, Brown
and/or Metelus, upon information and belief, entered into and executed contracts for, and were
compensated for, marketing, branding and endorsement deals including, but not limited to,
marketing, branding and endorsement deals and/or opportunities that Defendants PRIME
SPORTS MARKETING, LLC and GINA FORD had identified, negotiated and secured for
Plaintiff ZION WILLIAMSON.

162. That subsequent to Plaintiff ZION WILLIAMSON’s breach of his valid contract
with Defendants PRIME SPORTS MARKETING, LLC and GINA FORD and his signing of a
contract with CAA, Brown and Metelus to serve as Plaintiff's exclusive Global Marketing
Agent/Firm and continuing to present date, Plaintiff ZION WILLIAMSON and CAA, Brown
and/or Metelus, upon information and belief, entered into and executed contracts for, and were
compensated for, marketing, branding and endorsement deals including, but not limited to,
marketing, branding and endorsement deals and/or opportunities that Defendants PRIME
SPORTS MARKETING, LLC had identified, negotiated and secured for Plaintiff ZION
WILLIAMSON but, to date, have intentionally failed to compensate Defendants for same and, as
such, to date Plaintiff ZION WILLIAMSON and CAA, Brown and Metelus have been and
continue to be unjustly enriched therefrom.

163. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s

 

foregoing conduct, material representations, fraudulent representations and/or materially

fraudulent omissions that he, and/or his parents made to Defendants on Plaintiff's behalf, were

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false representations and/or concealment of a material fact, were reasonably calculated and
intended to deceive Defendants, did in fact deceive Defendants as Defendants did provide
Plaintiff with a copy of their proprietary work plan/trade secrets and, as a result of same,
Defendants were injured, and remain to be damaged and injured therefrom.

164. That at all times herein mentioned, Plaintiff, as per the valid April 20, 2019
Contract with Defendants, was under a duty not to disclose, share or provide Defendants’
marketing plan/work product/trade secrets as Plaintiff agreed to keep same confidential, to wit:
Plaintiff agreed: ‘“...to keep, protect and hold confidential all information shared between the
parties that is related to the matters of this Agreement. Such information includes but is not
limited to, any trade secrets, business plans, strategies ... concerning the Client...” See Exhibit
“B”, supra.

165. That at all relevant times herein mentioned, based upon Plaintiff's contractual
duty and obligation to keep Defendants’ marketing plan/trade secrets confidential, Plaintiff
ZION WILLIAMSON had a duty to speak and to tell/advise/warn/disclose to Defendants his true
intentions but, rather, in furtherance of his intentional fraud against Defendants and in
furtherance of his breach of the April 20, 2019 Contract, Plaintiff ZION WILLIAMSON
intentionally concealed the material fact that he was going to provide and, in fact, did
provide/cause to be provided Defendants’ marketing plan/trade secrets to CAA, Brown and/or
Metelus. Plaintiff ZION WILLIAMSON breached his duty to speak/disclose to Defendants that
he was not and would not keep Defendants’ marketing plan/trade secrets confidential and he
intentionally concealed same in furtherance of his contract with CAA, Brown and/or Metelus, in
furtherance of their representation of Plaintiff as his exclusive Global Marketing Firm/Agent and

in furtherance of instructing them to take over/finalize the numerous multi-million dollar

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endorsement/marketing/branding deals, contracts and/or opportunities that Defendants had
already identified, secured, obtained and/or negotiated on Plaintiff ZIONWILLIAMSON’s
behalf.

166. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
silence/concealment herein was/is fraudulent.

167. That at all relevant times herein mentioned, as a direct and proximate cause/result
of Plaintiff ZION WILLIAMSON’s foregoing acts, conduct, omissions, statements and/or
representations, Defendants have been damaged and injured therefrom including, but not limited
to: being denied the opportunity to serve as Plaintiff ZION WILLIAMSON’s exclusive Global
Marketing/Branding Firm./Agent; being denied the opportunity to earn income; being denied the
due compensation owed to Defendant; having Defendants’ trade  secrets/business
secrets/business plans/strategic marketing plan/work product unlawfully taken, used, usurped
and/or misappropriated; being damaged in reputation and character including business reputation
and character; being denied other employment opportunities, loss of income from secured
deals/endorsement and branding deals/opportunities, loss of income from derivative
endorsement/branding deals/opportunities, loss income from lost royalties, loss income from loss
of ownership rights, loss of income from other employment and/or marketing contracts with
other players and/or athletes and other related damages and injuries herein.

168. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
foregoing acts, conduct, omissions, statements and/or representations have caused and will

continue to cause Defendants economic loss, loss of future business opportunities, will prevent

 

Defendants’ performance of same April 20, 2019 Contract/Agreement and will prevent

Defendants from receiving the due compensation owed to Defendants therefrom.

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169, That at all relevant times herein mentioned, as a direct and proximate result of the
foregoing, Defendants have suffered and will continue to suffer damages herein.

170. That at all relevant times herein mentioned, Defendants claim damages herein in
excess of the jurisdictional limits of this Court and in an amount to be determined at Trial by
Jury.

AS AND FOR A THIRD COUNTERCLAIM AGAINST
PLAINTIFF ZION WILLIAMSON

CIVIL CONSPIRACY

171. Defendants repeat, re-allege, reiterate and reassert each and every fact and each
and every allegation contained in paragraphs of Defendants’ Counterclaims numbered “1”
through “170” with the same force and effect as if more fully set forth at length herein.

172, That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON
conspired with and entered into an agreement with his mother and/or stepfather and/or with
CAA, Brown and/or Metelus to engage in a course of conduct to induce, encourage and to have
Plaintiff ZION WILLIAMSON breach his April 20, 2019 Contract with Defendants so Plaintiff
ZION WILLIAMSON could sign and enter into a representation contract with CAA, Brown
and/or Metelus for them to represent Plaintiff as Plaintiffs exclusive Global Marketing
Agency/Firm and so that CAA, Brown and/or Metelus could serve as his exclusive global
marketing agent which, in fact Plaintiff ZION WILLIAMSON did breach.

173. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON
conspired with and entered into an agreement with his mother and/or stepfather and/or with
and unjust enrichment, the Defendants’ proprietary and protected work product/trade

secrets/business plan/strategic marketing plan that included numerous multi-million dollar

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endorsement/marketing/branding deals, contracts and/or opportunities that Defendants had
already identified, secured, obtained, and/or negotiated on Plaintiff ZION WILLIAMSON’s
behalf which, in fact Plaintiff ZION WILLIAMSON and/or his parents and/or CAA, Brown
and/or Metelus did, in fact, take, use, usurp, misappropriate/convert from Defendants; thereby
causing Defendants damages and injuries therefrom.

174. That at all relevant times herein mentioned, in furtherance of the conspiracy,
Plaintiff ZION WILLIAMSON conspired with and entered into an agreement with his mother
and/or stepfather and/or with CAA, Brown and/or Metelus to communicate, meet and discuss
and negotiate CAA’s, Brown’s and/or Metelus’ representation of Plaintiff ZION WILLIAMSON
and/or to induce, encourage, facilitate and/or to have Plaintiff ZION WILLIAMSON breach his
April 20, 2019 Contract with Defendants which, in fact, Plaintiff ZION WILLIAMSON did by
breaching his April 20, 2019 Contract with Defendants and by entering into a contract with
CAA, Brown and/or Metelus; thereby causing Defendants damages and injuries therefrom.

175. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON
conspired with and entered into an agreement with his mother and/or stepfather and/or with
CAA, Brown and/or Metelus to take, use, usurp and/or misappropriate, to their financial benefit
and unjust enrichment, a copy of Plaintiffs’ proprietary work product and extensive and
comprehensive marketing plan that included the numerous multi-million dollar strategic
branding and marketing endorsements and opportunities that Defendants had obtained for
Plaintiff ZION WILLIAMSON with companies/brands including, but not limited to: PUMA,

General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro, Burger

 

King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola), Biosteel and others

which, in fact, Plaintiff ZION WILLIAMSON did, in fact, take, use, usurp and misappropriate.

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176. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON
conspired with and entered into an agreement with his mother and/or stepfather and/or with
CAA, Brown and/or Metelus to take, use, usurp and/or misappropriate, to their financial benefit
and unjust enrichment, a copy of Plaintiffs’ proprietary work product and extensive and
comprehensive marketing plan that included the numerous multi-million dollar strategic
branding and marketing endorsements and opportunities that Defendants had obtained for
Plaintiff ZION WILLIAMSON with companies/brands including, but not limited to: PUMA,
General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro, Burger
King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola), Biosteel and others
which, in fact, Plaintiff ZION WILLIAMSON did, in fact, take, use, usurp and misappropriate
and did give to/provide to CAA, Brown and/or Metelus for them to take over/finalize the
numerous multi-million dollar endorsement/marketing/branding deals, contracts and/or
opportunities that Defendants had already identified, secured, obtained and/or negotiated on
Plaintiff ZIONWILLIAMSON’s behalf.

177. That subsequent to Plaintiff ZION WILLIAMSON’s breach of his valid contract
with Defendants PRIME SPORTS MARKETING, LLC and GINA FORD and his signing of a
contract with CAA, Brown and Metelus to serve as Plaintiff's exclusive Global Marketing
Agent/Firm, in furtherance of their conspiracy, and continuing to present date, Plaintiff ZION
WILLIAMSON and CAA, Brown and/or Metelus, upon information and belief, entered into and
executed contracts for, and were compensated for, marketing, branding and endorsement deals

including, but not limited to, marketing, branding and endorsement deals and/or opportunities

 

that Defendants PRIME SPORTS MARKETING, LLC and GINA FORD had identified,

negotiated and secured for Plaintiff ZION WILLIAMSON.

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178. That subsequent to Plaintiff ZION WILLIAMSON’s breach of his valid contract
with Defendants PRIME SPORTS MARKETING, LLC and GINA FORD and his signing of a
contract with CAA, Brown and Metelus to serve as Plaintiff's exclusive Global Marketing
Agent/Firm, in furtherance of their conspiracy, and continuing to present date, Plaintiff ZION
WILLIAMSON and CAA, Brown and/or Metelus, upon information and belief, entered into and
executed contracts for, and were compensated for, marketing, branding and endorsement deals
including, but not limited to, marketing, branding and endorsement deals and/or opportunities
that Defendants PRIME SPORTS MARKETING, LLC had identified, negotiated and secured
for Plaintiff ZION WILLIAMSON but, to date, have intentionally failed to compensate
Defendants for same and, as such, to date Plaintiff ZION WILLIAMSON and CAA, Brown and
Metelus have been and continue to be unjustly enriched therefrom.

179. That on or about May 30, 2019, and at all relevant times herein mentioned, in
furtherance of their conspiracy, CAA, Brown and/or Metelus, on their behalf and on behalf of
Plaintiff ZION WILLIAMSON, publicly announced to the world that Plaintiff ZION
WILLIAMSON signed a contract for all purposes with CAA, Brown and/or Metelus for them to
serve as Plaintiff ZION WILLIAMSON’s exclusive Global Marketing Firm/Agent including, but
not limited to, announcements declaring CAA as Plaintiff's Marketing Firm/Agency and
declaring Brown as Plaintiff's NBA agent and Metelus as Plaintiffs global marketing agent.

180. That at all relevant times herein mentioned, Plaintiff's conspiracy with his parents
and/or with CAA, Brown and/or Metelus was deliberate, knowing, intentional and willful and

same intentionally, willfully and deliberately interfered with, undermined, contradicted and

 

breached Plaintiff ZION WILLIAMSON’s April 20, 2019 contract with Defendants and

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Plaintiff's April 20, 2019 Letter of Authorization appointing Defendant GINA FORD to serve as
Plaintiff's exclusive Global Marketing and Branding Agent/Firm.

181. That at all relevant times herein mentioned, Plaintiff's conspiracy with his parents
and/or with CAA, Brown and/or Metelus was deliberate, knowing, intentional and willful and
same intentionally, willfully and deliberately interfered with, undermined and damaged
Defendants’ business, Defendants’ income/finances and Defendants’ business character and
reputation in the industry.

182. That at all relevant times herein mentioned, the acts, conduct, omissions and/or
representations of Plaintiff ZION WILLIAMSON and his parents and/or CAA, Brown and/or
Metelus constitute a civil conspiracy which existed for wrongful acts to be committed, which
acts were in fact committed by Plaintiff ZION WILLIAMSON and his co-conspirators herein for
the purpose of their civil conspiracy against Defendants herein.

183. That at all relevant times herein mentioned, as a direct and proximate cause/result
of Plaintiff ZION WILLIAMSON’s conspiracy herein, Defendants have been damaged and
injured therefrom including, but not limited to: having the April 20, 2019 Contract/Agreement
with Plaintiff ZION WILLIAMSON breached by Plaintiff ZION WILLIAMSON; being denied
the opportunity to serve as Plaintiff ZION WILLIAMSON’s exclusive Global
Marketing/Branding Firm./Agent; being denied the opportunity to earn income; being denied the
due compensation owed to Defendants; having Defendants’ trade  secrets/business
secrets/business plans/strategic marketing plan/work product unlawfully taken, used, usurped

and/or misappropriated; being damaged in reputation and character including business reputation

 

and character; being denied other employment opportunities, loss of income from secured

deals/endorsement and branding deals/opportunities, loss of income from derivative

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endorsement/branding deals/opportunities, loss income from lost royalties, loss income from loss
of ownership rights, loss of income from other employment and/or marketing contracts with
other players and/or athletes and other related damages and injuries herein.

184. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
conspiracy herein has caused and will continue to cause Defendants economic loss, loss of future
business opportunities, will prevent Defendants’ performance of same April 20, 2019
Contract/Agreement and will prevent Defendants from receiving the due compensation owed to
Defendants therefrom.

185. That at all relevant times herein mentioned, as a direct and proximate result of the
foregoing, Defendants have suffered and will continue to suffer damages herein.

186. That at all relevant times herein mentioned, Defendants claim damages herein in
excess of the jurisdictional limits of this Court and in an amount to be determined at Trial by
Jury.

AS AND FOR A FOURTH COUNTERCLAIM AGAINST
PLAINTIFF ZION WILLIAMSON

UNJUST ENRICHMENT
187. Defendants repeat, re-allege, reiterate and reassert each and every fact and each
and every allegation contained in paragraphs of Defendants’ Counterclaims numbered “1”
through “186” with the same force and effect as if more fully set forth at length herein.
188. That at all relevant times herein mentioned, this is an action for unjust enrichment

against Plaintiff within the jurisdiction of this Court for damages in excess of the jurisdictional

 

limits of this Court herein exclusive of Attorneys’ fees and costs pleaded in the alternative to =—SOS

and/or in addition to the other Counts of Defendants’ Counterclaims against Plaintiff herein.

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189. That at all relevant times herein mentioned, as a result of Plaintiff ZION
WILLIAMSON’s obtainment and procurement of Defendants’ proprietary and protected work
product/trade secrets/business plan/strategic marketing plan as detailed above, Defendants
conferred a benefit(s), including but not limited to financial and/or economic benefits, to Plaintiff
ZION WILLIAMSON as a result of the unlawful inducement and solicitation of same by
Plaintiff ZION WILLIAMSON.

190. That at all relevant times herein mentioned, as a result of Plaintiff ZION
WILLIAMSON’s fraudulent and unlawful obtainment and procurement of Defendants’
proprietary and protected work product/trade secrets/business plan/strategic marketing plan as
detailed above, Defendants conferred a benefit(s), including but not limited to financial and/or
economic benefits and the benefit of using and having Defendants’ trade secrets/property itself,
to Plaintiff ZION WILLIAMSON as a result of the unlawful inducement and solicitation of same
by Plaintiff ZION WILLIAMSON which gives rise to a legal and/or equitable obligation on the
part of Plaintiff ZION WILLIAMSON to account for the benefits he received.

191. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON knew
of the benefits conferred to him, at Plaintiff's solicitation and benefit, from/by Defendants and
knew and continues to know that he receives benefits therefrom to present date but, to date, has
intentionally failed to compensate Defendants for same nor accounted for the benefits he has
received and continues to receive to present date.

192. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON is are

aware of these benefits, solicited these benefits, accepted these benefits and, based upon his

 

 

respective conduct, omissions and actions as detailed above, he sought out and continues to seek

to gain further benefit therefrom by misappropriating Defendants’ work product/trade secrets and

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by contacting individuals and/or companies identified, listed and contained in Defendants’
marketing plan/work product/trade secrets for Plaintiff ZION WILLIAMSON, including directly
contacting individuals and/companies such as Biosteel and EA Entertainment, Inc.

193. That subsequent to Plaintiff ZION WILLIAMSON’s breach of his valid contract
with Defendants PRIME SPORTS MARKETING, LLC and GINA FORD and his signing of a
contract with CAA, Brown and Metelus to serve as Plaintiff's exclusive Global Marketing
Agent/Firm, in furtherance of their conspiracy, and continuing to present date, Plaintiff ZION
WILLIAMSON and CAA, Brown and/or Metelus, upon information and belief, entered into and
executed contracts for, and were compensated for, marketing, branding and endorsement deals
including, but not limited to, marketing, branding and endorsement deals and/or opportunities
that Defendants PRIME SPORTS MARKETING, LLC and GINA FORD had identified,
negotiated and secured for Plaintiff ZION WILLIAMSON.

194. That subsequent to Plaintiff ZION WILLIAMSON’s breach of his valid contract
with Defendants PRIME SPORTS MARKETIN G. LLC and GINA FORD and his signing of a
contract with CAA, Brown and Metelus to serve as Plaintiff's exclusive Global Marketing
Agent/Firm, in furtherance of their conspiracy, and continuing to present date, Plaintiff ZION
WILLIAMSON and CAA, Brown and/or Metelus, upon information and belief, entered into and
executed contracts for, and were compensated for, marketing, branding and endorsement deals
including, but not limited to, marketing, branding and endorsement deals and/or opportunities
that Defendants PRIME SPORTS MARKETING, LLC had identified, negotiated and secured

for Plaintiff ZION WILLIAMSON but, to date, have intentionally failed to compensate

 

Defendants for same and, as such, to date Plaintiff ZION WILLIAMSON and CAA, Brown and

Metelus have been and continue to be unjustly enriched therefrom.

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195. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON has
retained these benefits, has not compensated Defendants for these benefits and does not intend to
compensate Defendants for these benefits.

196. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON has
retained these benefits, has not compensated Defendants for these benefits and does not intend to
compensate Defendants for these benefits -- all to Defendants’ detriment including, but not
limited to, financial detriment and detriment to business character and reputation.

197. That at all relevant times herein mentioned, it would be inequitable to allow
Plaintiff ZION WILLIAMSON to retain these benefits and/or to allow him to seek to continue to
retain these benefits under the circumstances herein and to become unjustly enriched therefrom.

198. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON
continues and will continue to unjustly enrich himself in this fashion as detailed and complained
of herein.

199. That at all relevant times herein mentioned, Defendants have no adequate remedy
at law for Plaintiff ZION WILLIAMSON’s actions and continuing actions that led to his unjust
enrichment herein.

200. That at all relevant times herein mentioned, as a direct and proximate cause of
Plaintiff ZION WILLIAMSON’s unjust enrichment herein, Defendants have been damaged and
injured therefrom including, but not limited to: having the April 20, 2019 Contract/Agreement
with Plaintiff ZION WILLIAMSON breached by Plaintiff ZION WILLIAMSON; being denied
the opportunity to serve as Plaintiff ZION WILLIAMSON’s exclusive Global
Marketing/Branding Firm./Agent; being denied the opportunity to earn income; being denied the

due compensation owed to Defendants; having Defendants’ trade secrets/business

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secrets/business plans/strategic marketing plan/work product unlawfully taken, used, usurped
and/or misappropriated; being damaged in reputation and character including business reputation
and character; being denied other employment opportunities, loss of income from secured
deals/endorsement and branding deals/opportunities, loss of income from derivative
endorsement/branding deals/opportunities, loss income from lost royalties, loss income from loss
of ownership rights, loss of income from other employment and/or marketing contracts with
other players and/or athletes and other related damages and injuries herein.

201. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
unjust enrichment herein has caused and will continue to cause Defendants economic loss, loss
of future business opportunities, will prevent Defendants’ performance of same April 20, 2019
Contract/Agreement and will prevent Defendants from receiving the due compensation owed to
Defendants therefrom.

202. That at all relevant times herein mentioned, as a direct and proximate result of the
foregoing, Defendants have suffered and will continue to suffer damages herein.

203. That at all relevant times herein mentioned, Defendants claim damages herein in
excess of the jurisdictional limits of this Court and in an amount to be determined at Trial by
Jury.

AS AND FOR A FIFTH COUNTERCLAIM AGAINST
PLAINTIFF ZION WILLIAMSON

MISAPPROPRIATION AND VIOLATION OF NORTH CAROLINA TRADE SECRETS
PROTECTION ACT, ARTICLE 24, CHAPTER 66 OF NORTH CAROLINA GENERAL
STATUTES, N.C. GEN. STAT. §66-152, ET. SEQ.
~ 204. Defendants repeat, re-allege, reiterate and reassert each and every fact and each ==
and every allegation contained in paragraphs of Defendants’ Counterclaims numbered “1”

through “203” with the same force and effect as if more fully set forth at length herein.

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205. That at all relevant times herein mentioned, Defendants’ strategic, comprehensive
and extensive marketing plan for Plaintiff ZION WILLIAMSON that included the numerous
multi-million dollar strategic branding and marketing endorsements, contracts and/or
opportunities that Defendants had obtained for Plaintiff ZION WILLIAMSON with
companies/brands including, but not limited to: PUMA, General Mills (Wheaties), Beats by Dre,
Chase Bank, Harper Collins, Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft
Heinz, Powerade (Coca-Cola), Biosteel and others, was/is/remains to be the proprietary work
product, business plan and/or trade secrets of Defendants PRIME SPORTS MARKETING, LLC
and GINA FORD and, pursuant to the North Carolina trade Secrets Protection Act, NC Gen. Sta.
§66-152, et. seg., constitute(s) and satisfies the Statute’s definition of a “Trade Secret”.

206. That at all relevant times herein mentioned, Defendants’ strategic, comprehensive
and extensive marketing plan for Plaintiff ZION WILLIAMSON that included the numerous
multi-million dollar strategic branding and marketing endorsements, contracts and/or
opportunities that Defendants had obtained for Plaintiff ZION WILLIAMSON with
companies/brands including, but not limited to: PUMA, General Mills (Wheaties), Beats by Dre,
Chase Bank, Harper Collins, Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft
Heinz, Powerade (Coca-Cola), Biosteel and others, was/is/remains to be the proprietary work
product, business plan and/or trade secrets of Defendants PRIME SPORTS MARKETING, LLC
and GINA FORD, is Defendants’ business information, including but not limited to, Defendants’
program, compilation of information, method, technique and/or process that derives independent

actual or potential commercial value from not being generally known or readily ascertainable

 

 

through independent development or reverse engineering by persons who can obtain economic

value from its disclosure or use, and, is/are the subject of efforts that are reasonable under the

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circumstances, as detailed above and as agreed to in the April 20, 2019 Contract, to maintain its
secrecy. See Exhibit “B”, supra.

207. That at all relevant times herein mentioned, Defendants’ strategic, comprehensive
and extensive marketing plan/work product/business plan/trade secret(s) was confidential and
constitutes trade secrets because it yields and/or derives independent economic value, actual or
potential, from not being generally known to and not being readily ascertainable by proper
means by other persons who can obtain value from disclosure and use such as Plaintiff ZION
WILLIAMSON herein.

208. That at all relevant times herein mentioned, Defendants took reasonable steps to
protect their foregoing proprietary work product, business plan and/or trade secrets herein
including, but not limited to, the term and condition of the April 20, 2019 Contract/Agreement
with Plaintiff ZION WILLIAMSON, to which Defendant ZION WILLIAMSON in the presence
of and with the advice of his mother and stepfather knowingly, intelligently and voluntarily
discussed, negotiated and agreed to and covenanted, at Paragraph 10 of the April 20, 2019
Contract/Agreement which obligates Plaintiff ZION WILLIAMSON, as he knew and agreed to,
““’,.to keep, protect and hold confidential all information shared between the parties that is
related to the matters of this Agreement. Such information includes but is not limited to, any
trade secrets, business plans, strategies ... concerning the Client...” See Exhibit “B”, supra.

209. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON,
individually and acting in concert with his parents and/or with CAA, Brown and/or Metelus,

acquired/took/usurped and used Defendant’ strategic, comprehensive and extensive marketing

 

plan/ work product, business plan and/or trade secrets by improper means as detailed above

including, but not limited to, Plaintiff ZION WILLIAMSON falsely representing and/or causing

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to be falsely represented to Defendant GINA FORD, upon which Defendants relied, that Plaintiff
wanted a copy of Defendants’ extensive and comprehensive marketing plan/trade secrets so that,
once he signed with a NBA Agent, he could establish and/or facilitate a direct working
relationship between his NBA Agent and Defendants as Plaintiff ZION WILLIAMSON’s
exclusive Global Marketing Firm/Agent.

210. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON knew
and/or had reasons to know that Defendants’ strategic, comprehensive and extensive marketing
plan/work product/business plan was a trade secret(s) and that he acquired same by/through
improper means and not by an accident or mistake.

211. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON took
and misappropriated Defendants’ trade secrets herein fraudulently and unlawfully as detailed
above and, as such, he took same without the express consent or implied authority or consent
of/by Defendants herein.

212. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON was
and is aware of the unlawful benefits conferred to him by his unlawful misappropriation herein,
he has solicited these benefits, he has accepted these benefits and, based upon his conduct,
omissions and actions as detailed above, he sought out and continues to seek to gain further
benefit therefrom by misappropriating Defendants’ work product/trade secrets and by contacting
individuals and/or companies identified, listed and contained in Defendants’ work
product/strategic marketing plan for Plaintiff ZION WILLIAMSON, including directly

contacting individuals and/companies such as Biosteel and EA Entertainment, Inc. See Exhibits

 

“H” and “TI”, supra.

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213. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON has
retained these benefits, has not compensated Defendants for these benefits and does not intend to
compensate Defendants for these benefits.

214. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON has
retained these benefits, has not compensated Defendants for these benefits and does not intend to
compensate Defendants for these benefits to Defendants’ detriment including, but not limited to,
financial detriment and detriment to business character and reputation.

215. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
unlawful misappropriation of Defendants’ trade secrets was done in bad faith and was willful and
malicious and, as such, pursuant to North Carolina Trade Secrets Protection Act, NC General
Statute §66-154(b) (c) and (d), Defendants herein are entitled to recover their Attorneys’ fees, are
entitled to recover punitive damages and are entitled to recover actual damages of economic loss
and/or unjust enrichment caused by Plaintiff's misappropriation herein. Defendants are further
entitled to injunctive relief, to order Plaintiff to stop violating Defendant’ rights, to stop using
and misappropriating Defendants’ work product/trade secrets/business plan and to take
reasonable steps to preserve the secrecy of Defendants’ information pursuant to North Carolina
Trade Secrets Protection Act, NC General Statute §66-154(a)(1), (a)(2).

216. That at all relevant times herein mentioned, as a direct and proximate cause of
Plaintiffs unlawful misappropriation herein, Defendants have been damaged and injured
therefrom including, but not limited to: having the April 20, 2019 Contract/Agreement with

Plaintiff ZION WILLIAMSON breached by Plaintiff ZION WILLIAMSON; being denied the

 

opportunity to serve as Plaintiff ZION WILLIAMSON’s exclusive Global Marketing/Branding

Firm./Agent; being denied the opportunity to earn income; being denied the due compensation

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owed to Defendants; having Defendants’ trade secrets/business secrets/business plans/strategic
marketing plan/work product unlawfully taken, used, usurped and/or misappropriated; being
damaged in reputation and character including business reputation and character; being denied
other employment opportunities, loss of income from secured deals/endorsement and branding
deals/opportunities, loss of income from derivative endorsement/branding deals/opportunities,
loss income from lost royalties, loss income from loss of ownership rights, loss of income from
other employment and/or marketing contracts with other players and/or athletes and other related
damages and injuries herein.

217. That at all relevant times herein mentioned, Plaintiff's unlawful misappropriation
herein has caused and will continue to cause Defendants economic loss, loss of future business
opportunities, will prevent Defendants’ performance of same April 20, 2019 Contract/Agreement
and will prevent Defendants from receiving the due compensation owed to Defendants
therefrom,

218. That at all relevant times herein mentioned, all conditions precedent have
occurred, been waived or have otherwise been satisfied.

219. That at all relevant times herein mentioned, as a direct and proximate result of the
foregoing, Defendants have suffered and will continue to suffer damages herein.

220. That at all relevant times herein mentioned, Defendants respectfully request that
this Honorable Court enter judgment against Plaintiff ZION WILLIAMSON herein and in favor
of Defendants for all remedies available under North Carolina Trade Secrets Protection Act, NC
General Statute §66-152, ef. seg. including, but not limited to, damages for: actual loss, for

potential loss, unjust enrichment, costs, interest and Attorneys’ fees, injunctive relief, for

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Defendants’ profits, for punitive damages and for such other relief, in law and/or in equity that
this Court deems just and proper.

221. That at all relevant times herein mentioned, Defendants claim damages herein in
excess of the jurisdictional limits of this Court and in an amount to be determined at Trial by
Jury.

AS AND FOR A SIXTH COUNTERCLAIM AGAINST
PLAINTIFF ZION WILLIAMSON

CONVERSION

222. Defendants repeat, re-allege, reiterate and reassert each and every fact and each
and every allegation contained in paragraphs of Defendants’ Counterclaims numbered “1”
through “221” with the same force and effect as if more fully set forth at length herein.

223. That at all relevant times herein mentioned, Defendants’ strategic, comprehensive
and extensive marketing plan for Plaintiff ZION WILLIAMSON that included the numerous
multi-million dollar strategic branding and marketing endorsements, contracts and/or
opportunities that Defendants had obtained for Plaintiff ZION WILLIAMSON with
companies/brands including, but not limited to: PUMA, General Mills (Wheaties), Beats by Dre,
Chase Bank, Harper Collins, Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft
Heinz, Powerade (Coca-Cola), Biosteel and others, was/is/remains to be the proprietary work
product, business plan, property and/or trade secrets of Defendants PRIME SPORTS
MARKETING, LLC and GINA FORD.

224. That at all relevant times herein mentioned, Defendants’ strategic, comprehensive

~~and extensive marketing plan for Plaintiff ZION WILLIAMSON that included the numerous

multi-million dollar strategic branding and marketing endorsements, contracts and/or

opportunities that Defendants had obtained for Plaintiff ZION WILLIAMSON with

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companies/brands including, but not limited to: PUMA, General Mills (Wheaties), Beats by Dre,
Chase Bank, Harper Collins, Monster Hydro, Burger King, Mercedes Benz, T-Mobile, Kraft
Heinz, Powerade (Coca-Cola), Biosteel and others, was/is/remains to be the proprietary work
product, business plan and/or trade secrets of Defendants PRIME SPORTS MARKETING, LLC
and GINA FORD, is Defendants’ business information/business property/property that Plaintiff
ZION WILLIAMSON agreed, as detailed above, to keep Confidential pursuant to the April 20,
2019 Contract. See Exhibit “B”, supra.

225. That at all relevant times herein mentioned, Defendants’ strategic, comprehensive
and extensive marketing plan/work  product/business  plan/trade _ secret(s)/business
property/property was confidential and constitutes trade secrets because it yields and/or derives
independent economic value, actual or potential, from not being generally known to and not
being readily ascertainable by proper means by other persons who can obtain value from
disclosure and use such as Plaintiff ZION WILLIAMSON herein.

226. That at all relevant times herein mentioned, Defendants took reasonable steps to
protect their foregoing proprietary work product, business plan, property, business property
and/or trade secrets herein including, but not limited to, the term and condition of the April 20,
2019 Contract/Agreement with Plaintiff ZION WILLIAMSON, to which Defendant ZION
WILLIAMSON in the presence of and with the advice of his mother and stepfather knowingly,
intelligently and voluntarily discussed, negotiated and agreed to and covenanted, at Paragraph 10
of the April 20, 2019 Contract/Agreement which obligates Plaintiff ZION WILLIAMSON, as he

knew and agreed to, “...to keep, protect and hold confidential all information shared between the

 

 

parties that is related to the matters of this Agreement. Such information includes but is not

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limited to, any trade secrets, business plans, strategies ... concerning the Client...” See Exhibit
“B”, supra.

227. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON,
individually and acting in concert with his parents and/or with CAA, Brown and/or Metelus,
acquired/took/usurped and used Defendant’ strategic, comprehensive and extensive marketing
plan/ work product, business plan, property, business property and/or trade secrets by improper
means as detailed above including, but not limited to, Plaintiff ZION WILLIAMSON falsely
representing and/or causing to be falsely represented to Defendant GINA FORD, upon which
Defendants relied, that Plaintiff wanted a copy of Defendants’ extensive and comprehensive
marketing plan/trade secrets so that, once he signed with a NBA Agent, he could establish and/or
facilitate a direct working relationship between his NBA Agent and Defendants as Plaintiff
ZION WILLIAMSON’s exclusive Global Marketing Firm/Agent.

228. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON knew
and/or had reasons to know that Defendants’ strategic, comprehensive and extensive marketing
plan/work product/business plan/property/business property was a trade secret(s) and that he
acquired same by/through improper means and not by an accident or mistake.

229. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON took
and converted Defendants’ trade secrets/property/business property herein fraudulently and
unlawfully as detailed above and, as such, he took same without the express consent or implied
authority or consent of/by Defendants herein.

230. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON was

 

 

and is aware of the unlawful benefits conferred to him by his unlawful conversion herein, he has

solicited these benefits, he has accepted these benefits and, based upon his conduct, omissions

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and actions as detailed above, he sought out and continues to seek to gain further benefit
therefrom by misappropriating Defendants’ work product/trade secrets/property/business
property and by contacting individuals and/or companies identified, listed and contained in
Defendants’ work product/strategic marketing plan for Plaintiff ZION WILLIAMSON, including
directly contacting individuals and/companies such as Biosteel and EA Entertainment, Inc. See
Exhibits “H” and “I”, supra.

231. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON has
retained these benefits, has not compensated Defendants for these benefits and does not intend to
compensate Defendants for these benefits.

232. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON has
retained these benefits, has not compensated Defendants for these benefits and does not intend to
compensate Defendants for these benefits to Defendants’ detriment including, but not limited to,
financial detriment and detriment to business character and reputation.

233. That at all relevant times herein mentioned, Defendants are the proper owner of
Defendants’ strategic marketing plan/work  product/trade __ secrets/property/business
property/property herein and same has been and continues to be wrongfully possessed and
converted by Plaintiff ZION WILLIAMSON.

234. That at all relevant times herein mentioned, Defendants are the proper owner of
Defendants’ strategic marketing plan/work  product/trade _ secrets/property/business
property/property herein and same has been and continues to be wrongfully possessed and

converted by Plaintiff ZION WILLIAMSON to Plaintiffs benefit and to Defendants’ detriment.

 

 

 

 

235. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON has,

without authorization, or consent or permission by/from Defendants, assumed and exercised the

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right of ownership of Defendants’ strategic marketing plan/work product/trade
secrets/property/business property/property herein to the alteration of its condition and to the
exclusion of Defendants’ rights as owner thereof.

236. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON
wrongfully deprived Defendants of their ownership of their strategic marketing plan/work
product/trade secrets/property/business property/property herein and his actions, conduct and
omissions as detailed above, denies and violates Defendants’ dominion over and rights to/in their
property herein.

237. That at all relevant times herein mentioned, as a direct and proximate cause of
Plaintiff's unlawful conversion herein, Defendants have been damaged and injured therefrom
including, but not limited to: having the April 20, 2019 Contract/Agreement with Plaintiff ZION
WILLIAMSON breached by Plaintiff ZION WILLIAMSON; being denied the opportunity to
serve as Plaintiff ZION WILLIAMSON’s exclusive Global Marketing/Branding Firm./Agent;
being denied the opportunity to earn income; being denied the due compensation owed to
Defendants; having Defendants’ trade secrets/business secrets/business plans/strategic marketing
plan/work product unlawfully taken, used, usurped and/or misappropriated; being damaged in
reputation and character including business reputation and character; being denied other
employment opportunities, loss of income from secured deals/endorsement and branding
deals/opportunities, loss of income from derivative endorsement/branding deals/opportunities,
loss income from lost royalties, loss income from loss of ownership rights, loss of income from

other employment and/or marketing contracts with other players and/or athletes and other related

 

damages and injuries herein.

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238. That at all relevant times herein mentioned, Plaintiffs unlawful conversion herein
has caused and will continue to cause Defendants economic loss, loss of future business
opportunities, will prevent Defendants’ performance of same April 20, 2019 Contract/Agreement
and will prevent Defendants from receiving the due compensation owed to Defendants
therefrom.

239. That at all relevant times herein mentioned, as a direct and proximate result of the
foregoing, Defendants have suffered and will continue to suffer damages herein.

240. That at all relevant times herein mentioned, Defendants claim damages herein in
excess of the jurisdictional limits of this Court and in an amount to be determined at Trial by
Jury.

AS AND FOR A SEVENTH COUNTERCLAIM AGAINST
PLAINTIFF ZION WILLIAMSON

BREACH OF IMPLIED DUTY OF GOOD FAITH AND FAIR DEALING
241. Defendants repeat, re-allege, reiterate and reassert each and every fact and each
and every allegation contained in paragraphs of Defendants’ Counterclaims numbered “1”
through “240” with the same force and effect as if more fully set forth at length herein.
242. That at all relevant times herein mentioned, this is an action against Plaintiff
ZION WILLIAMSON for breach of the implied duty of good faith and fair dealings and for
damages in excess of the jurisdictional limits of this Court, exclusive of Attorneys’ fees and costs
pleaded in the alternative to, or in addition to, the other Counts of this Complaint.
243. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON
~pbreached express terms of the April 20, 2019 Contract/Agreement with Defendants by: meeting
with, discussing, negotiating and entering into a contract with CAA, Brown and/or Metelus for

them, not Defendants, to serve as his exclusive Global Marketing/Branding Firm/Agents;

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sharing/providing with/to, and/or causing to be shared/provided to CAA, Brown and/or Metelus
Defendants’ strategic marketing plan/trade secrets for Plaintiff ZION WILLIAMSON that
included numerous multi-million dollar endorsement/branding deals/opportunities that
Defendants and identified/secured/obtained/negotiated on Plaintiff ZION WILLIAMSON’s
behalf.

244, That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON
breached express terms of the April 20, 2019 Contract/Agreement with Plaintiffs and did so with
the intent for Defendants to usurp, take, use, convert and misappropriate Defendants’
trade/business secrets/business plans/work product and to usurp, convert and misappropriate the
due compensation owed to Defendants therefrom pursuant to the April 20, 2019 Contract for
same; authorizing/instructing CAA, Brown and/or Metelus to publicly announce to the world
that Plaintiff ZION WILLIAMSON had signed with them for them to serve as his Global
Marketing/Branding Firm/Agent; refusing to, honor, adhere to and perform the terms and
conditions of his April 20, 2019 Contract/Agreement with Defendants; failing to and/or refusing
to pay Defendants the due compensation owed to Defendants pursuant to the April 20, 2019
Contract/Agreement -- all while knowing that he already had a valid and enforceable contract for
same services with Defendants herein.

245. That at all relevant times herein mentioned, a duty of good faith and fair dealings
is implicit in all enforceable contracts under the laws of the State of North Carolina, and implied
in the performance of every term of an express and/or written contract, including the April 20,

2019 Contract/Agreement between Plaintiff ZION WILLIAMSON and Defendants herein is

 

Plaintiff's duty and obligation to act fairly and in good faith in carrying out the agreement which,

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in the instant matter, Plaintiff ZION WILLIAMSON intentionally failed and refused to do and
continues to refuse to do.

246. That at all relevant times herein mentioned, by repeatedly and systematically
engaging in conduct that is contrary to and in breach of the terms and conditions of the April 20,
2019 Contract/Agreement between Plaintiff ZION WILLIAMSON and Defendants herein,
Plaintiff ZION WILIAMSON demonstrated and continues to demonstrate bad faith and unfair
dealings in performing and/or failing to perform in accordance with the express terms of the
enforceable April 20, 2019 Contract/Agreement between him and Defendants herein.

247. That at all relevant times herein mentioned, as a direct and proximate cause of
Plaintiff ZION WILLIAMSON’s breach of duty of good faith and fair dealings herein,
Defendants have been damages and injured therefrom including, but not limited to: being denied
the opportunity to serve as Plaintiff ZION WILLIAMSON’s exclusive Global
Marketing/Branding Firm./Agent; being denied the opportunity to earn income; being denied the
due compensation owed to Defendants; having Defendants’ | trade secrets/business
secrets/business plans/strategic marketing plan/work product unlawfully taken, used, usurped
and/or misappropriated and/or converted; being damaged in reputation and character including
business reputation and character; being denied other employment opportunities, loss of income
from secured deals/endorsement and branding deals/opportunities, loss of income from
derivative endorsement/branding deals/opportunities, loss income from lost royalties, loss
income from loss of ownership rights, loss of income from other employment and/or marketing
contracts with other players and/or athletes and other related damages and injuries herein.

248. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s

ongoing failure to perform consistent with the terms and conditions of the April 20, 2019

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Contract/Agreement with Defendants, its promises and assurances, have caused and will
continue to cause Defendants to suffer economic loss, loss of future business opportunities, will
prevent Defendants’ performance of same April 20, 2019 Contract/Agreement and will prevent
Defendants from receiving the due compensation owed to Defendants therefrom.

249. That at all relevant times herein mentioned, as a direct and proximate result of the
foregoing, Defendants have suffered and will continue to suffer damages herein.

250. That at all relevant times herein mentioned, Defendants claim damages herein in
excess of the jurisdictional limits of this Court and in an amount to be determined at Trial by
Jury.

AS AND FOR AN EIGHTH COUNTERCLAIM
AGAINST PLAINITFF ZION WILLIAMSON

ACTION FOR DECLARATORY JUDGMENT

251. Defendants repeat, re-allege, reiterate and reassert each and every fact and each
and every allegation contained in paragraphs of Defendants’ Counterclaims numbered “1”
through “250” with the same force and effect as if more fully set forth at length herein.

252. That at all relevant times herein mentioned, this is an action for Declaratory
Judgment against Plaintiff pursuant to North Carolina General Statutes, including but not limited
to, NC. General Statute §66-152 et. seg., the North Carolina Trade Secrets Protection Act, within
the jurisdiction of this Court pleaded in the alternative to and/or in addition to the other Counts
of Defendants’ Counterclaims herein.

253. That at all relevant times herein mentioned, Defendants believe the existing April

20, 2019, Contract/agreement they have with Plaintiff ZION WILLIAMSON, and the applicable

North Carolina Statutes, apply to Plaintiff and should be interpreted in such a manner as to

require Plaintiff to pay the claims made by Defendant as alleged herein.

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254. That at all relevant times herein mentioned, furthermore, a Declaratory Judgment
is required so as to guide the parties in their future relations and/or anticipated future conduct and
to secure Defendants’ interest relative to derivative earnings from any and all relationship,
revenue, income and/or financial gain that arose from and/or will arise from the April 20, 2019,
Contract/agreement and/or Defendants’ performance of/services provided to pursuant to same
contract and/or from Defendants’ strategic and comprehensive market plan/business plan/work
product/trade secrets herein.

255. That at all relevant times herein mentioned, a bona fide, actual, present practical
need for a Declaratory Judgment exists.

256. That at all relevant times herein mentioned, the Declaration requested concerns a
present, ascertained or ascertainable state of facts for present controversy as to a state of facts.

257. That at all relevant times herein mentioned, a privilege or right of the Defendants
is dependent upon the facts or the law applicable to the facts.

258. That at all relevant times herein mentioned, Plaintiff and Defendants have an
actual, present, adverse and antagonist interest in the subject manner either in law, equity and in
fact.

259. That at all relevant times herein mentioned, the relief sought by Defendants is not
merely giving of legal advice or the answer to questions propounded for curiosity.

260. That at all relevant times herein mentioned, Defendants request a Declaratory
Judgment declaring the April 20, 2019 Contract/agreement with Plaintiff ZION WILLIAMSON
to be valid and enforceable under which Defendants seeks specific performance of the terms and

conditions thereof by Plaintiff ZION WILLIAMSON.

 

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261. That at all relevant times herein mentioned, Defendants request Declaratory
Judgment declaring the contract between Plaintiff ZION WILLIAMSON and CAA, Brown
and/or Metelus, to be void, voidable and/or unenforceable.

262. That at all relevant times herein mentioned, Defendants request a Declaratory
Judgment setting forth Defendants’ rights under North Carolina Law and in accordance with the
April 20, 2019 Contract Defendants have with Plaintiff ZION WILLIAMSON concerning
Plaintiffs obligation to pay Defendants the compensation claimed by Defendants herein now and
in the future.

AS AND FOR A NINTH COUNTERCLAIM
AGAINST PLAINTIFF ZION WILLIAMSON

ACTION FOR INJUNCTIVE RELIEF

263. Defendants repeat, re-allege, reiterate and reassert each and every fact and each
and every allegation contained in paragraphs of nafendants Counterclaims numbered “1”
through “262” with the same force and effect as if more fully set forth at length herein.

264. That at all relevant times herein mentioned, this is an action for Injunction Relief,
both temporary and permanent, within the jurisdiction of this Court pleaded in the alternative to
and/or in addition to the other Counts of this Complaint.

265. That at all relevant times herein mentioned, as set forth in detail above, Plaintiff
has violated and continues to violate North Carolina Statutes, including by not limited to North
Carolina trade Secrets Protection Act, NC. Gen. Statute §66-152, et. seg. and, based upon
information and belief, will continue to do so in the future.

266. That at all relevant times herein mentioned, Plaintiffs conduct, acts and
omissions as detailed above, including, but not limited to the unlawful misappropriation of,

conversion of and unjust enrichment from Defendants’ work product/trade secrets, are ongoing

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problems that will continue to cause Defendants to sustain economic losses and threaten
Defendants’ ability to serve as Marketing and Branding Consultants and/or to otherwise work in
the market place for Marketing and Branding.

267. That at all relevant times herein mentioned, a money judgment alone in this case,
may only compensate Defendants for past losses and will not stop Plaintiffs unlawful
misappropriation, unlawful conversion and/or unjust enrichment, as detailed above, and will not
stop Plaintiff from continuing to unlawfully take/misappropriate/convert the monies duly earned
and owed to Defendants and that is necessary to maintain Defendants’ practice on an ongoing
basis.

268. That at all relevant times herein mentioned, Defendants will suffer irreparable
harm from the acts of Plaintiff and enjoining Plaintiff from committing these violations in the
future and declaring their invalidity, is appropriate as Defendants do not have any adequate
remedy at law.

269. That at all relevant times herein mentioned, Defendants will suffer irreparable
harm unless the relief requested herein is granted and maintained until a trial on merits.

270. That at all relevant times herein mentioned, Defendants have no adequate remedy
to protect them in the law.

271. That at all relevant times herein mentioned, Defendants have a substantial
likelihood of success of the merits of the claims herein alleged.

272. That at all relevant times herein mentioned, an injunction will serve the public

interest.

273. That at all relevant times herein mentioned, Defendants will suffer additional

hardship if Plaintiff is allowed to continue his injurious conduct.

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274. That at all relevant times herein mentioned, the interest of third persons and of the
public will be served by the entry of a permanent injunction.

275. That at all relevant times herein mentioned, an injunction can be practicable and
adequately framed and enforced.

276. That at all relevant times herein mentioned, Defendants request a permanent
and/temporary injunction pending trial on the merits of the within matter, which includes, but is
not limited to, enjoining Plaintiff:

a. From performing any of the terms or conditions of the contract between
Plaintiff and CAA, Brown and/or Metelus for them to serve/represent Plaintiff as his exclusive
Global Marketing Agency/Agent;

b. From receiving any financial compensation from any of the
individual/companies/entities/ideas identified/listed/contained in Defendants’
strategic/comprehensive marketing plan/trade secrets. relative to Plaintiff ZION
WILLIAMSON’s marketing branding and/or endorsements; .

C. From having CAA, Brown and/or Metelus serve as Plaintiff's global
marketing agency/agent, exclusive or otherwise;

d. From having CAA, Brown and/or Metelus, on Plaintiff's behalf, hold
themselves out as Plaintiff ZION WILLIAMSON’s global marketing agency/agent to any and all
third parties, from contacting Plaintiff or his family to introduce any endorsement opportunities,
overseeing any marketing opportunities brought to or available to Plaintiff, defining analyzing or

costing the benefit size to Plaintiff of any endorsement opportunities, negotiating any marketing

branding or endorsement deals on behalf of Plaintiff, forwarding draft contracts to Plaintiff or his

family to facilitate Plaintiff's review and negotiation of any such contracts with any endorsement

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entity or third party, facilitate or negotiate in any way with any third party, an contract,
endorsement or opportunity on behalf of Plaintiff; providing any advice to Plaintiff or his family
on the building of his marketing brand domestically or internationally and the granting of such
further and other injunction relief as to this Honorable Court seems just and proper;

e. From taking, publishing, using, usurping, deriving any benefit and/or financial
benefit/compensation from, misappropriating and/or not protecting the secrecy of Defendants’
proprietary and protected business plan/work product/trade secrets;

f. From violating Defendants’ rights; and

g. From acting on or in furtherance of the breach of Defendants’ April 20, 2019
contract/Agreement with Plaintiff ZION WILLIAMSON and/or in furtherance of Plaintiffs
unlawful contract with CAA, Brown and/or Metelus for them to serve as Plaintiff ZION
WILLIAMSON’s Global Marketing and branding agency/firm/agent.

AS AND FOR A TENTH COUNTERCLAIM
AGAINST PLAINITFF ZION WILLIAMSON

VIOLATION OF NORTH CAROLINA’S UNFAIR & DECEPTIVE TRADE
PRACTICES ACT, N.C. GEN. STAT §75-1.1

277. Defendants repeat, re-allege, reiterate and reassert each and every fact and each
and every allegation contained in paragraphs of Defendants’ Counterclaims numbered “1”
through “276” with the same force and effect as if more fully set forth at length herein.

278. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
acts, conduct, failures and omissions against Defendants PRIME SPORTS MARKETING, LLC

and GINA FORD as detailed above, are in violation of North Carolina’s Unfair and Deceptive

Trade Practices Act, N. C. Gen. Stat §75-1.1.

 

 

279. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s

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acts, conduct, failures and omissions against Defendants PRIME SPORTS MARKETING, LLC
and GINA FORD as detailed above, constitute and was unfair methods of competition in or
affecting commerce and/or constitute/was unfair or deceptive acts or practices in or affecting
commerce and, as such, are unlawful and in violation of North Carolina Gen. Sta. §75-1.1.

280. That at all relevant times herein mentioned, Defendants PRIME SPORTS
MARKETING, LLC’S and GINA FORD’S business/business activities constitute commerce
herein.

281. That at all relevant times herein mentioned, North Carolina’s Gen. Stat. §75-1.1,
declares unfair methods of competition in or affecting commerce and/or unfair or deceptive acts
or practices in or affecting commerce to be unlawful.

282. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON
violated North Carolina Gen. Stat. §75-1.1 by his acts, conduct and/or omissions that were
intentional, willful, deceitful, unfair, fraudulent, deceptive and made in bad faith including, but
not limited to: misappropriating, converting, taking, using and deriving unjust enrichment from
Defendants’ strategic marketing plan/work product/trade secrets that Defendants created and
made, in performance of the April 20, 2019 Contract, which included numerous multi-million
dollar strategic branding and marketing endorsements, contracts and/or opportunities that
Defendants had obtained for Plaintiff with companies/brands including, but not limited to:
PUMA, General Mills (Wheaties), Beats by Dre, Chase Bank, Harper Collins, Monster Hydro,
Burger King, Mercedes Benz, T-Mobile, Kraft Heinz, Powerade (Coca-Cola), Biosteel and

others; misappropriating, converting, taking, using and deriving unjust enrichment from

Defendants’ strategic marketing plan/work product/trade secrets and providing it to and/or

causing it to be provided to third parties including CAA, Brown and/or Metelus for Plaintiff,

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CAA, Brown and/or Metelus to use and derive financial benefit/compensation from, and,
misappropriating, converting, taking, using and deriving unjust enrichment from Defendants’
strategic marketing plan/work product/trade secrets and being unjustly enriched therefrom with
no intention, continuing to present date, to duly compensate Defendants for same. That to date,
Plaintiff ZION WILLIAMOSN has received and continues to receive benefits and monetary
compensation, as well as other economic benefits, from using and misappropriating/converting
Defendants’ strategic marketing plan/work product/trade secrets which included multi-million
dollar endorsement deals that Defendants already secured on his behalf, and, Plaintiff continues
to refuse to compensate Defendants for same.

283. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON
further violated North Carolina Gen. Stat. §75-1.1 by demanding and taking monies from
Defendants guising same as a Contract Advance to Defendants when Plaintiff knew he had
intentions to, and in fact, did, breach the April 20, 2019 Contract and intended to keep same
monies without reimbursement of same to Defendants. That to date, despite his unlawful breach
of the April 20, 2019 Contract with Defendants, Plaintiff ZION WILLIAMSON has still refused
to give back/reimburse same monies to Defendants.

284. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
conduct, acts and/or omissions herein and, in particular, his fraudulent and deceitful obtainment
of Defendants’ trade secrets herein, is a violation of the North Carolina Trade Secrets Protection
Act, Article 24, Chapter 66 Of North Carolina General Statutes, N.C. Gen. Stat. §66-152, Et.

285. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s

violation of the North Carolina Trade Secrets Protection Act, Article 24, Chapter 66 Of North

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Carolina General Statutes, N.C. Gen. Stat. §66-152, Ez. Seg. is a per se violation of the North
Carolina Unfair & Deceptive Trade Practices Act, North Carolina Gen. Stat. §75-1.1.

286. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
false representations and omissions of material fact that he intentionally made to Defendants in
an effort to deceive them when his true intentions were to, and he in fact did: breach the April
20, 2019 Contract, fraudulently obtain Defendants’ trade secrets for him to utilize same without
compensating Defendants, give/provide Defendants’ trade secrets to CAA, Brown and/or
Metelus for them to use on Plaintiffs behalf so he could receive compensation therefrom without
compensating Defendants, and, obtain monies form Defendants as a guised contract advance
when Plaintiff knew he was going to breach the April 20, 2019 Contract and that he was not
going to give back/reimburse Defendants with same monies, were unfair acts and practices
herein as same were immoral, unethical and unscrupulous—all such acts/conduct which are
clearly prohibited by the North Carolina Unfair & Deceptive Trade Practices Act, North Carolina
Gen. Stat. §75-1.1 herein.

287. That at all relevant times herein mentioned, Plaintiff ZION WILLIAMSON’s
acts, conduct and practices against Defendants were done willfully, knowingly, voluntarily,
intentionally, maliciously and fraudulently and had the capacity and tendency to deceive and
mislead, to create the likelihood of deception and, in fact, did deceive Defendants herein.

288. That as a direct and proximate result of Plaintiff ZION WILLIAMSON’S unfair
and deceptive practices, Defendants PRIME SPORTS MARKETING, LLC and GINA FORD
have suffered and continue to suffer damages and injury including, but not limited to: being

denied the opportunity to serve as Plaintiff ZION WILLIAMSON’s exclusive Global

 

Marketing/Branding Firm./Agent; being denied the opportunity to earn income; being denied the

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due compensation owed to Defendants; having Defendants’ trade  secrets/business
secrets/business plans/strategic marketing plan/work product unlawfully taken, used, usurped
and/or misappropriated and/or converted; being damaged in reputation and character including
business reputation and character; being denied other employment opportunities, loss of income
from secured deals/endorsement and branding deals/opportunities, loss of income from
derivative endorsement/branding deals/opportunities, loss income from lost royalties, loss
income from loss of ownership rights, loss of income from other employment and/or marketing
contracts with other players and/or athletes and other related damages and injuries herein.

289. That as a direct and proximate result of the foregoing, Defendants PRIME
SPORTS MARKETING, LLC and GINA FORD have been damaged in an amount that exceeds
the jurisdictional limits of this Court and in an amount to be determined at trial.

290. That, in addition, pursuant to of the North Carolina Unfair & Deceptive Trade
Practices Act, North Carolina Gen. Stat. §75-1.1, §75-16 and §75-16.1, Defendants are entitled
to, and demand judgment against Plaintiff for herein, treble damages and attoreys’ fees and seek
treble damages herein in the amount of One Hundred Million Dollars ($100,000,000.00).

AS AND FOR AN ELEVENTH COUNTERCLAIM
AGAINST PLAINITFF ZION WILLIAMSON

PUNITIVE DAMAGES
291. Defendants repeat, re-allege, reiterate and reassert each and every fact and each
and every allegation contained in paragraphs of Defendants’ Counterclaims numbered “1”
through “290” with the same force and effect as if more fully set forth at length herein.
—=S—_= 292. That at all times herein mentioned, Plaintiff's conduct complained of herein, and
as set for above, were intentional, malicious, reckless, wanton, extreme, outrageous, in total

and/or reckless disregard and deliberate indifference to the lawful rights and entitlements of

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Defendants.

293. That at all times herein mentioned, Plaintiff's omissions, conduct and/or failures,
complained of herein, and as set for above, were intentional, malicious, reckless, wanton,
extreme, outrageous, in total and/or reckless disregard and deliberate indifference to the lawful
rights and entitlements of Defendants.

294, That at all times herein mentioned, Plaintiff's conduct, as complained of herein,
warrants and mandates that the jury should be instructed to affixed a monetary award so as to
punish Plaintiff for same outrageous conduct and to further serve as a deterrent to this Plaintiff
and other entities/individuals/parties similarly situated as Plaintiff from engaging in the same
and/or similar conduct who may be considering and/or engaging in intentional, malicious,
reckless, wanton, extreme, outrageous conduct in total and/or reckless disregard and deliberate
indifference to the lawful rights and entitlements of others, such Defendants herein, and to
further serve the interest of the public at large.

295. That pursuant to North Carolina Trade Secrets Protection Act, §66-152, et. seq.,
Defendants are entitled to and demand herein, punitive damages against Plaintiff ZION
WILLIAMSON herein.

296. Defendants claim damages herein and request that a judgment be granted against
Plaintiff in the amount of One Hundred Million Dollars, ($100,000,000.00) and/or in an amount

to be determined at trial by the Jury.

DAMAGES, DEMAND FOR JURY TRIAL AND PRAYER FOR RELIEF

WHEREFORE, Defendants PRIME SPORTS MARKETING, LLC AND GINA FORD,
pray for the following damages and relief against Plaintiff ZION WILLIAMSON:

I. Damages in Excess of the jurisdictional limits of this Court and/or in an amount to

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be determined at trial by jury;

2. Compensatory Damages in an amount to be determined at trial by jury;

3. Consequential Damages in an amount to determined at trial by jury;

4. Post Judgment interest;

5 Declaratory Judgment against Plaintiff as set forth above in Defendants’ Eighth
Counterclaim;

6. A Temporary Injunction against Plaintiff as set forth above in Defendants’ Ninth

Counterclaim until a final decision can be had in this case;

Z A Permanent Injunction against Plaintiff as set forth above in Defendants’ Ninth
Counterclaim;
8. Treble Damages as against Plaintiff in the amount of One Hundred Million

Dollars, ($100,000,000.00), and Attorneys’ fees as set forth above in Defendants’
Tenth Counterclaim;

9, Punitive Damages against Plaintiff in the amount of One Hundred Million
Dollars, ($100,000,000.00) as set forth above in Defendants’ Eleventh
Counterclaim;

10. Attorneys fees and costs as authorized by contract and/or by applicable North
Carolina Statutes;

11. All remedies including monetary, injunctive and/or declaratory available to
Defendants pursuant to North Carolina Trade Secrets Protection Act, Section 66-
152, et. seq.; and ; 7 ee

12. Such other relief as this Court may deem just and proper, in law or in equity.

ALL CONDITIONS PRECEDENT, HAVE BEEN MET, SATISFIED AND/OR WAIVED
DEFENDANTS REQUEST TRIAL BY JURY

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Dated: May 8, 2020

/s/ Willie E. Gary

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*Local Rule 83.1(d) Special Appearance

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Case 1:19-cv-00593-LCB-JLW Document 32 Filed 05/08/20 Page 129 of 132

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CERTIFICATE OF SERVICE
We hereby certify that the foregoing DEFENDANTS’ ANSWER TO
PLAINTIFF’S FIRST AMENDED COMPLAINT WITH AFFIRMATIVE
DEFENSES AND COUNTERCLAIMS AGAINST PLAINTIFF was filed with the

Clerk of the Court using the CM/ECF system and, as such, was served on all parties via ECF.
Dated: May 8, 2020

/s/ Willie E. Gary

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

Civil Action No.: 1:19-cv-00593-LCB-JLW

ZION WILLIAMSON,
Plaintiff,
Vv.

PRIME SPORTS MARKETING, LLC,
and GINA FORD,

Defendants.

 

 

 

DEFENDANTS’ ANSWER TO PLAINTIFE’S FIRST AMENDED COMPLAINT
WITH AFFIRMATIVE DEFENSES AND COUNTERCLAIMS AGAINST
PLAINTIFF

 

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